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                      EXHIBIT A
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                                                           Execution Version




             ASSET PURCHASE AGREEMENT

                     BY AND AMONG

              LORDSTOWN MOTORS CORP.,

            LORDSTOWN EV CORPORATION,

               LORDSTOWN EV SALES LLC,

                    LAS CAPITAL LLC,

                            AND

     STEPHEN S. BURNS (solely for purposes of Article X)

            DATED AS OF SEPTEMBER 29, 2023
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                               ASSET PURCHASE AGREEMENT

        This Asset Purchase Agreement (this “Agreement”) is made and entered into as of
September 29, 2023 by and among Lordstown Motors Corp., a Delaware corporation (the
“Seller”), Lordstown EV Corporation, a Delaware corporation (“Lordstown EV”), Lordstown EV
Sales LLC, a Delaware limited liability company (“Lordstown Sales,” and together with the Seller
and Lordstown EV, the “Selling Entities”), LAS Capital LLC, a Delaware limited liability
company (the “Buyer”), and, for purposes of Article X only, Stephen S. Burns, an individual (the
“Guarantor”). Capitalized terms used but not otherwise defined herein have the meanings set forth
in Article I.

                                             RECITALS

       WHEREAS, the Selling Entities commenced voluntary cases under the Bankruptcy Code
in the Bankruptcy Court on June 27, 2023 (the “Petition Date”), which cases are being jointly
administered for procedural purposes as In re Lordstown Motors Corp., et al., Bankr. D. Del. Case
No. 23-10831 (MFW) (collectively, the “Bankruptcy Cases”);

       WHEREAS, each Selling Entity continues in possession of its assets and is authorized
under the Bankruptcy Code to continue the operation of its businesses as a debtor-in-possession;

        WHEREAS, the Buyer desires to purchase from the Selling Entities, and the Selling
Entities desire to sell to the Buyer, the Purchased Assets (as defined below), and the Buyer desires
to assume from the Selling Entities, the Assumed Liabilities (as defined below), in each case
pursuant to the terms and subject to the conditions set forth herein;

        WHEREAS, the Selling Entities and the Buyer have agreed that the sale, assignment,
conveyance, delivery and transfer of the Purchased Assets by the Selling Entities to the Buyer and
the assumption of the Assumed Liabilities by the Buyer from the Selling Entities, shall be effected
pursuant to sections 105, 363, and 365 of the Bankruptcy Code on the terms and subject to the
conditions of this Agreement; and

        WHEREAS, in connection with the Bankruptcy Cases and on the terms and subject to the
conditions contained herein, following entry of the Sale Order finding the Buyer as the prevailing
bidder at the Auction (if any), the Selling Entities shall sell and transfer to the Buyer, and the Buyer
shall purchase and acquire from the Selling Entities, pursuant to sections 105, 363, and 365 of the
Bankruptcy Code, the Purchased Assets, and the Buyer shall assume from the Selling Entities the
Assumed Liabilities, all as more specifically provided herein and in the Sale Order.

        NOW, THEREFORE, in consideration of the premises and of the mutual covenants and
agreements contained herein and for other good and valuable consideration, the receipt and
sufficiency of which are hereby acknowledged, the parties, intending to be legally bound, hereby
agree as follows:
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                                            ARTICLE I

                                          DEFINITIONS

       Section 1.1 Definitions. A defined term has its defined meaning throughout this
Agreement and in each Exhibit and Schedule to this Agreement, regardless of whether it appears
before or after the place where it is defined. As used in this Agreement, the following terms have
the meanings specified below:

        “Accounts Receivable” means any and all (i) accounts receivable, notes receivable and
other amounts receivable owed to the Selling Entities (whether current or non-current), together
with all security or collateral therefor and any interest or unpaid financing charges accrued thereon,
including all causes of action pertaining to the collection of amounts payable, or that may become
payable, to the Selling Entities with respect to products sold or services performed on or prior to
the Closing Date, (ii) license and royalty receivables, (iii) rebate receivables from suppliers or
vendors and (iv) other amounts due to the Selling Entities, classified as accounts receivable in
accordance with GAAP.

        “Affiliate” means, with respect to any specified Person, any other Person that directly or
indirectly, through one or more intermediaries, controls, is controlled by or is under common
control with, such specified Person. For purposes of this definition, “control” (and any similar
term) means the power of one or more Persons (directly or indirectly through one or more
intermediaries) to direct, or cause the direction of, the management or affairs of another Person by
reason of ownership of voting interests or by Contract or otherwise.

       “Agreement” has the meaning given to such term in the Preamble hereto.

       “Allocation” has the meaning given to such term in Section 3.3.

        “Alternative Transaction” means the sale, transfer or other disposition, directly or
indirectly, including through an asset sale, share sale, merger, plan of arrangement, issuance,
financing, recapitalization, amalgamation, liquidation or other similar transaction, including a plan
of reorganization approved by the Bankruptcy Court, or resulting from the Auction, of a material
portion of the Purchased Assets in one transaction or a series of transactions with one or more
Persons other than the Buyer or its Affiliates.

       “Assignment and Assumption Agreement” means the Assignment and Assumption
Agreement to be executed and delivered by the Buyer and the Selling Entities at the Closing, in
form and substance reasonably satisfactory to each of the Buyer and the Seller.

       “Assumed Agreements” has the meaning given to such term in Section 2.1(e).

       “Assumed Liabilities” has the meaning given to such term in Section 2.3.

       “Auction” has the meaning given to such term in Section 7.10(a).

       “Back-Up Bidder” has the meaning given to such term in Section 7.10(c).


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       “Bankruptcy Cases” has the meaning given to such term in the Recitals hereto.

      “Bankruptcy Code” means Title 11 of the United States Code, 11 U.S.C. §§ 101, et seq, as
amended.

       “Bankruptcy Court” means the United States Bankruptcy Court for the District of Delaware
or such other court having competent jurisdiction over the Bankruptcy Cases.

        “Benefit Plan” means each material (i) “employee benefit plan” as defined in Section 3(3)
of ERISA, whether or not subject to ERISA, (ii) end of service or severance, termination
protection, retirement, pension, profit sharing, deferred compensation, equity or equity-based,
health or welfare, employment, independent contractor, vacation, change in control, transaction,
retention, bonus or other incentive, fringe benefit, paid time off or similar plan, agreement,
arrangement, program or policy, or (iii) other plan, Contract, policy, or arrangement providing
compensation or benefits, and in the case of each clause (i) through (iii) whether or not written.

         “Bidding Procedures and Sale Motion” means the Debtors’ Motion for Entry of an Order
(I) (A) Establishing Bidding and Auction Procedures, (B) Scheduling Certain Dates With Respect
Thereto, (C) Approving the Form and Manner of Notice Thereof, (D) Approving Contract
Assumption and Assignment Procedures, and (E) Granting Other Related Relief; and
(II) (A) Authorizing the Debtors to Enter Into a Definitive Purchase Agreement and (B) Granting
Other Related Relief [Docket No. 16].

        “Bidding Procedures Order” means the Order of the Bankruptcy Court dated as of
August 8, 2023, among other matters, (i) approving implementation in all material respects of the
bidding procedures attached to the Bidding Procedures and Sale Motion, (ii) approving
implementation of procedures for the assumption and the assignment of the Assumed Agreements
and the Assumed Real Property Leases, (iii) authorizing the Selling Entities to select one or more
Stalking Horse Bidders (as defined in the Bidding Procedures Order) and provide bid protections
to the Stalking Horse Bidder, subject to further approval by the Bankruptcy Court; and (iv) other
related relief.

        “Bill of Sale” means the Bill of Sale to be executed and delivered by the Selling Entities to
the Buyer at the Closing, in form and substance reasonably satisfactory to each of the Buyer and
the Seller.

       “Business” means the business of design, production and sale of electric light duty vehicles
focused on the commercial fleet market, as conducted by the Selling Entities as of the Closing.

        “Business Day” means any day that is not a Saturday, Sunday or other day on which banks
are required by Law to be closed in New York, New York.

       “Buyer” has the meaning given to such term in the Preamble hereto.

       “Buyer Default Termination” has the meaning given to such term in Section 3.2(b).

       “Cap” has the meaning given to such term in Section 10.17(a).


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         “Cash” means the aggregate of all of the Selling Entities’ cash (including petty cash and
checks received on the Closing Date), checking account balances, marketable securities, short-
term instruments, bankers’ acceptances, and any other cash equivalents, whether on hand, in
transit, in banks or other financial institutions, or otherwise held.

       “Cash Purchase Price” has the meaning given to such term in Section 3.1(a).

       “Claim” has the meaning given to such term in Section 101(5) of the Bankruptcy Code.

       “Closing” has the meaning given to such term in Section 4.1.

       “Closing Date” has the meaning given to such term in Section 4.1.

       “Code” means the U.S. Internal Revenue Code of 1986.

       “Competing Bid” means any bid, offer or proposal contemplating an Alternative
Transaction.

        “Confidentiality Agreement” means the Confidentiality Agreement by and between the
Seller and the Buyer, dated July 17, 2023.

        “Consent” means any approval, consent, ratification, permission, waiver or authorization
(including any Order of the Bankruptcy Court that deems, or renders unnecessary, the same),
including Governmental Authorizations.

        “Contract” means any written, legally binding agreement, lease, contract, deed, mortgage,
license, note, undertaking, arrangement or other commitment.

       “Cure Payments” has the meaning set forth in Section 2.5(e).

       “Current Representation” has the meaning given to such term in Section 10.16(a).

        “Deal Communications” means, at any time at or prior to the Closing, all communications
(whether before, at or after the Closing and whether in writing, electronic or other form) between
internal or external legal counsel, on the one hand, and any Selling Entity or any of their respective
Affiliates or any of their respective Representatives, on the other hand, that relate in any way to
the Transactions or the Bankruptcy Cases that are entitled to any attorney-client privilege or an
expectation of client confidence or any other rights to any evidentiary privilege.

       “Deposit” has the meaning given to such term in Section 3.2(a).

       “Disclosure Limitations” has the meaning given to such term in Section 7.2(a).

       “Disclosure Schedule” has the meaning given to such term in the Preamble to Article V.

       “Due Diligence Materials” has the meaning given to such term in Section 6.8(a)(i).

       “Elaphe Amendment” has the meaning given to such term in Section 7.17.


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       “Elaphe License Agreement” means the License Agreement, dated as of March 16, 2020,
by and between Elaphe Propulsion Technologies Ltd. and Seller, as amended.

        “Employees” means all employees of the Selling Entities, including those on disability or
a leave of absence, whether paid or unpaid.

        “Encumbrances” means any charge, claim, lien (statutory or otherwise), possessory
interest, mortgage, lease, hypothecation, encumbrance, pledge, security interest or similar right,
option, right of use, first offer or first refusal, preemptive right, easement, servitude, restrictive
covenant or condition, encroachment or similar restriction or “Interests” (as defined in the Sale
Order), whether arising prior to or subsequent to the commencement of the Bankruptcy Cases (but,
in any event, prior to the Closing), and whether voluntarily incurred or arising by operation of
Law.

       “Endurance Truck” means the electric full-size pickup truck manufactured by the Seller.

       “Enforcement Costs” has the meaning given to such term in Section 9.2.

       “ERISA” means the Employee Retirement Income Security Act of 1974.

       “Escrow Agent” means Citibank, N.A.

       “Escrow Agreement” means that certain Escrow Agreement, dated as of September 7,
2023, by and between the Seller and the Escrow Agent.

       “Exchange Act” means the United States Securities Exchange Act of 1934.

       “Excluded Assets” has the meaning given to such term in Section 2.2.

       “Excluded Liabilities” has the meaning given to such term in Section 2.4.

       “Excluded Server” has the meaning given to such term in Section 2.2(y).

       “Final Allocation” has the meaning given to such term in Section 3.3.

        “Final Order” means (a) an Order of the Bankruptcy Court or (b) an Order of any other
court having jurisdiction over any appeal from (or petition seeking certiorari or other review of)
any Order of the Bankruptcy Court, in each case as to which the time to file an appeal, a motion
for rehearing or reconsideration or a petition for writ of certiorari has expired and no such appeal,
motion or petition is pending; provided, however, that the possibility of a motion under Rule 60
of the Federal Rules of Civil Procedure, or any analogous rule under the Federal Rules of
Bankruptcy Procedure or local rules of the Bankruptcy Court, may be filed relating to such Order
shall not prevent such Order from being a Final Order.

        “Fraud” means, with respect to any party hereto, such party’s actual and intentional
common law fraud, meaning that such party (a) made a materially false representation or warranty
set forth in Article V or Article VI, (b) knew that such representation or warranty was materially
false when such representation or warranty was made and (c) the other party relied on such

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breached representations and warranties to its detriment; provided that Fraud shall not include any
equitable fraud, negligent misrepresentation, promissory fraud, unfair dealings, extra-contractual
fraud or any other fraud or torts based on recklessness or negligence.

        “Fundamental Representations” means the representations and warranties of the Selling
Entities set forth in Sections 5.1, 5.2, 5.8(a) and 5.9.

       “GAAP” means generally accepted accounting principles in the United States.

        “Government List” means any list maintained by any agency or department of any
applicable Governmental Authority of Persons, organizations or entities subject to international
trade, export, import or transactions restrictions, controls or prohibitions, including (a) the Denied
Persons List and Entities List maintained by the U.S. Department of Commerce, (b) the List of
Specially Designated Nationals and Blocked Persons and the List of Sectoral Sanctions
Identification maintained by the U.S. Department of Treasury, and (c) the Foreign Terrorist
Organizations List and the Debarred Parties List maintained by the U.S. Department of State.

        “Governmental Authority” means any United States or non-United States national, federal,
municipal, state, provincial, territorial, or local governmental or quasi-governmental,
administrative or regulatory authority, department, agency, board, bureau, official, commission,
body or other similar authority or instrumentality (including any self-regulatory authority,
securities exchange, court or similar tribunal).

       “Governmental Authorization” means any permit, license, certificate, approval, consent,
waiver, permission, clearance, designation, qualification or authorization issued, granted, given or
otherwise made available by or under the authority of any Governmental Authority or pursuant to
any applicable Law.

       “Guaranteed Obligations” has the meaning given to such term in Section 10.17.

       “Guarantor” has the meaning given to such term in the Preamble hereto.

        “Intellectual Property Rights” means all intellectual property rights, including the
following types, which may exist or be created under the Laws of any jurisdiction in the world,
whether subject to registration, application for registration, or otherwise: (a) copyrights and any
other rights associated with works of authorship and copyrightable subject matter (whether
registered or unregistered), including moral rights or any other special rights of authorship
(“Copyrights”), (b) Trademarks, (c) Trade Secrets, and (d) patent rights, (e) Technology, (f) rights
of publicity, privacy rights, and rights to personal information, (g) any rights in or relating to
registrations, renewals, extensions, continuations, divisions, and reissues of, and applications for,
any of the foregoing rights, and (h) all rights and remedies (including the right to sue for and
recover damages) against past, present, and future infringement, misappropriation, or other
violation relating to any of the foregoing.

        “Inventory” means all inventory (including raw materials, component parts, spare parts,
products in-process, finished products and goods in transit, but excluding vehicles) owned or used
(or held for use) by any of the Selling Entities, wherever located and whether in the Selling
Entities’ facilities, held by any third parties or otherwise.

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        “IP Assignment Agreement” means one or more intellectual property assignment
agreements to be executed and delivered by the Selling Entities, as applicable, to the Buyer at the
Closing, in each case in form and substance reasonably satisfactory to each of the Buyer and the
Seller.

       “IP Contract” means any Contract (a) pursuant to which a license or non-assertion is
granted to a Selling Entity with respect to any Intellectual Property Right that is material to the
Purchased Assets, or (b) that materially affects a Selling Entity’s ownership of, or the validity or
enforceability of, any material Seller IP, in each case ((a) and (b)), other than (i) Contracts for non-
exclusive rights to generally commercially available software, services, hardware or other
technology and (ii) Open Source Software, in each case ((i) and (ii)), entered into in the ordinary
course of business.

       “IRS” means the U.S. Internal Revenue Service.

        “Knowledge” means, as to a particular matter, with respect to any Selling Entity, the actual
knowledge of any of the individuals listed on Section 1.1(a)(i) of the Disclosure Schedule without
inquiry or investigation and, with respect to the Buyer, the actual knowledge of any of the
individuals listed on Section 1.1(a)(ii) of the Disclosure Schedule without inquiry or investigation.
Where any representation, warranty or other provision of any Selling Entity in this Agreement
refers to a notice or written notice having been delivered or received by any Selling Entity, or any
of their respective Affiliates, such representation, warranty or other provision shall be interpreted
to include only any notice to the individuals listed in the immediately preceding sentence or any
notice of which one of such individuals has actual knowledge, without any implication that any
such Person has made any inquiry or investigation as to the sending or receipt of such notice.

        “Law” means any federal, state, provincial, local, municipal, foreign or other law, statute,
legislation, constitution, principle of common law, resolution, ordinance, code, edict, decree,
proclamation, treaty, convention, rule, regulation, ruling, directive, pronouncement, requirement,
determination, decision or opinion of any Governmental Authority.

       “Legal Restraint” has the meaning given to such term in Section 8.1(a).

         “Liability” means any and all Claims, debts, indebtedness, liens, losses, damages, adverse
Claims, liabilities, fines, penalties, duties, responsibilities, obligations and expenses (including
reasonable attorneys’ fees and reasonable costs of investigation and defense) of any kind,
character, or description, in each case, whether known or unknown, direct or indirect, fixed,
absolute or contingent, matured or unmatured, accrued or unaccrued, asserted or unasserted,
ascertained or ascertainable, disputed or undisputed, liquidated or unliquidated, secured or
unsecured, joint or several, vested or unvested, executory, determined, determinable, in contract,
tort, strict liability, or otherwise, or otherwise due or to become due, and whether or not required
to be recorded or reflected on a balance sheet under GAAP.

       “Lordstown EV” has the meaning given to such term in the Preamble hereto.

       “Lordstown Sales” has the meaning given to such term in the Preamble hereto.



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        “Material Adverse Effect” means any event, change, condition, occurrence or effect that
individually or in the aggregate has had a material adverse effect on the Purchased Assets, taken
as a whole; provided, however, that none of the following events, changes, conditions,
circumstances, developments or effects (or the results thereof) shall be deemed to constitute a
“Material Adverse Effect” and shall not be taken into account, individually or in the aggregate, in
determining whether a Material Adverse Effect has occurred: (a) the execution, announcement or
pendency of this Agreement or the filing of the Petitions (including any action or inaction by the
customers, suppliers, landlords, employees, consultants or competitors of the Selling Entities and
their respective Affiliates as a result thereof) and compliance with the express provisions of this
Agreement or the consummation of the Transactions (including the impact thereof on the
relationships, contractual or otherwise, of the Business with labor unions, financing sources,
customers, employees, suppliers or partners or other business relationships), (b) the filing or
pendency of the Petitions, the Auction or the Bankruptcy Cases, including, any objections in the
Bankruptcy Court to (i) this Agreement or the Transactions, (ii) the Sale Order or the
reorganization or liquidation of the Selling Entities and their respective Affiliates, (iii) the Bidding
Procedures and Sale Motion or the Bidding Procedures Order or (iv) any other Order of the
Bankruptcy Court or any actions or omissions of the Selling Entities in compliance therewith,
(c) actions or omissions taken or not taken by or on behalf of the Selling Entities or any of their
respective Affiliates at the written request of the Buyer or its Affiliates, (d) actions taken by the
Buyer or its Affiliates, (e) the failure of any Selling Entity or its Affiliates to meet any internal or
published projections, forecasts, estimates or predictions (provided, that this clause (e) shall not
prevent a determination that any change, event, circumstance or effect underlying such failure has
resulted in a Material Adverse Effect, unless such change, event, circumstance or effect is
otherwise excepted by this definition), (f) changes in Law or GAAP or other applicable accounting
principles or standards in the United States or elsewhere, or changes in the interpretation or
enforcement of any of the foregoing; (g) volcanic eruptions, tsunamis, effects of climate change,
earthquakes, floods, storms, hurricanes, tornadoes, fires, epidemics, pandemics, disease outbreak,
public health crises, acts of god or natural or man-made disasters, in each case, including any direct
or indirect consequence or condition thereof, including outbreaks or additional waves of outbreaks
of any contagious diseases (including influenza, COVID-19 or any variation thereof), (h) changes
in general economic conditions, currency exchange rates or United States or international
securities, currency, debt or equity markets, (i) general trends, events or conditions generally
affecting the industry, markets or geographic areas in which the Business operates, including
supply chain disruptions, labor strikes and changes in customer or supplier behavior, (j) national
or international hostilities, acts of terror, police actions, civil unrest, sabotage, cyber attacks, war
(whether or not declared), any local, regional, national or international political or social conditions
or any escalation or worsening of any of the foregoing and (k) the cessation of business activity
by the Selling Entities; provided, however, that, in the case of clauses (f), (g), (h), (i) and (j), such
events, changes, conditions, circumstances, developments or effects shall be taken into effect in
determining whether any such material adverse effect has occurred to the extent that any such
events, changes, conditions, circumstances, developments or effects have a material and
disproportionate adverse effect on the Purchased Assets, taken as a whole, relative to similar assets
being used in similar businesses operating in the industry or markets in which the Business
operates, but only to the extent of such disproportionate impact.

        “Nonparty Affiliate” has the meaning given to such term in Section 10.7.


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        “Non-Real Property Contracts” means the Contracts to which any Selling Entity is a party
other than the Real Property Leases.

       “Offered Employee” has the meaning given to such term in Section 7.7(a).

        “Open Source Software” means any software that is licensed pursuant to a license approved
by the Open Source Initiative and listed at http://www.opensource.org/licenses/alphabetical or that
is considered “free” or “open source software” by the Free Software Foundation.

       “Order” means any order, writ, judgment, injunction, decree, rule, ruling, directive,
determination or award made, issued or entered by or with any arbitrator or Governmental
Authority, whether preliminary, interlocutory or final, including by the Bankruptcy Court in the
Bankruptcy Cases (including the Sale Order).

       “Outside Date” has the meaning given to such term in Section 9.1(b)(iii).

       “Permitted Encumbrances” means: (a) Encumbrances for Taxes, special assessments or
other governmental charges not yet due and payable or that are being contested in good faith by
appropriate proceedings, in each case for which there is no material risk of foreclosure or seizure,
(b) non-exclusive licenses of, or other grants of rights to use, Seller IP, granted in the ordinary
course of business, (c) Encumbrances arising from applicable Laws of general application which
do not interfere with the current operation of the Purchased Assets in any material respect, (d)
Encumbrances contained in the Assumed Agreements and (e) any Encumbrance that will be
removed or released upon entry and by operation of the Sale Order.

         “Person” means any individual, corporation, partnership, limited partnership, limited
liability company, syndicate, group, trust, association or other organization or entity or
Governmental Authority. References to any Person include such Person’s successors and
permitted assigns.

      “Petition” means the voluntary petition under the Bankruptcy Code filed with the
Bankruptcy Court by the Selling Entities that are debtors in the Bankruptcy Cases.

       “Petition Date” has the meaning given to such term in the Recitals hereto.

       “Pre-Closing Tax Period” means any taxable period ending on or prior to the Closing Date
and the portion of a Straddle Period ending on (and including) the Closing Date.

       “Proceeding” has the meaning given to such term in Section 5.4(a).

       “Purchase Price” has the meaning given to such term in Section 3.1(a).

       “Purchased Assets” has the meaning given to such term in Section 2.1.

       “Purchased Server” has the meaning given to such term in Section 2.1(f).

        “Real Property Leases” means all leases, subleases and other occupancy Contracts with
respect to real property to which any Selling Entity is a party.

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        “Registered IP” means all Seller IP that is registered, or applied for with the United States
Patent and Trademark Office, United States Copyright Office, domain name registry or any foreign
equivalent office, including as set forth in Section 1.1(b) of the Disclosure Schedule, and any rights
in or relating to registrations, renewals, extensions, continuations, divisions, and reissues of, and
applications for, any of the foregoing rights.

       “Representatives” means, with respect to a particular Person, any director, officer,
employee or other authorized representative of such Person or its Subsidiaries, including such
Person’s attorneys, accountants, financial advisors and other advisors, each in their capacities as
such.

       “Sale Hearing” means the hearing at which the Bankruptcy Court considers approval of the
Sale Order.

       “Sale Order” has the meaning given to such term in Section 8.1(b).

       “SEC” means the United States Securities and Exchange Commission.

        “SEC Documents” means collectively, all reports, schedules, forms, statements,
registration statements, prospectuses and other documents (including all exhibits, amendments and
supplements thereto) filed or furnished by the Seller with the SEC under the Securities Act or the
Exchange Act since January 1, 2022 and prior to the date hereof.

       “Securities Act” means the United States Securities Act of 1933.

       “Seller” has the meaning given to such term in the Preamble hereto.

       “Seller Brand Names” means Trademarks owned by any of the Selling Entities and used
or held for use in the production and sale of Endurance Trucks, and any associated goodwill,
including as set forth on Section 1.1(c) of the Disclosure Schedule.

       “Seller IP” means all Seller Brand Names, Technology and other Intellectual Property
Rights, in each case, owned by the Selling Entities and used or held for use in the Business,
including as set forth on Section 1.1(d) of the Disclosure Schedule.

       “Selling Entities” has the meaning given to such term in the Preamble hereto.

       “Straddle Period” means any taxable period beginning on or before and ending after the
Closing Date.

        “Subsidiary” means, with respect to any Person, (a) any corporation or similar entity of
which more than 50% of the securities or interests having, by their terms, ordinary voting power
to elect a majority of the members of the board of directors, or other persons performing similar
functions with respect to such corporation or similar entity, is held, directly or indirectly by such
Person and (b) any partnership, limited liability company or similar entity of which (i) such Person
is a general partner or managing member or has the power, directly or indirectly, to direct the
policies, management or affairs of such partnership, limited liability company or similar entity, or


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(ii) such Person possesses, directly or indirectly, a 50% or greater interest in the total capitalization
or total income of such partnership, limited liability company or similar entity.

         “Tax” means (a) any and all U.S. federal, state and local, non-U.S. and other taxes, charges,
fees, duties, levies, tariffs, imposts, tolls, customs or other similar assessments, including all net
income, gross income, gross receipts, license, lease, service, service use, payroll, employment,
fringe, fringe benefits, excise, severance, stamp, occupation, premium, environmental, customs
duties, capital stock, ad valorem, value added, unclaimed property, escheat, inventory, franchise,
profits, branch profits, profit share, withholding, social security, unemployment, pension plan,
health, disability, real property, personal property, windfall profits, wealth, net wealth, net worth,
export fees and charges, registration fees, deposits, sales, use, transfer, registration, alternative or
add-on minimum or estimated tax, fee, assessment, custom, duty, levy, tariff, impost, toll or charge
of any kind whatsoever imposed by any Governmental Authority, together with any interest,
penalty, inflationary adjustment, addition to tax, fine, or other addition thereto, (b) any and all
liability for the payment of any item described in clause (a) above arising from, through,
attributable to, or with respect to a place of business, permanent establishment, or a branch or as a
result of being (or ceasing to be) a member of a fiscal unity, affiliated, consolidated, combined,
unitary or other similar group (or being included) in any Tax Return related to such group, (c) any
and all liability for the payment of any amount as a result of any successor or transferee liability,
in respect of any item described in clause (a) or (b) above, and (d) any and all liability for the
payment of any item described in clause (a) or (b) above as a result of, or with respect to, any
express or implied obligation to indemnify any other Person pursuant to any tax sharing, tax
indemnity or tax allocation agreement or similar agreement or arrangement with respect to taxes.

       “Tax Return” means any return, Claim for refund, declaration, report, statement,
information return or other similar document (including any related or supporting information,
amendments, schedule or supplements of any of the foregoing) filed or required to be filed with,
or supplied or required to be supplied to, any Governmental Authority with respect to Taxes.

        “Technology” means algorithms, applied programming interfaces, apparatus, designs,
drawings, data collections, Truck Data, diagrams, systems, procedures, processes, methods,
methodologies, models, formulas, inventions (whether or not patentable), discoveries,
improvements, know-how, methods, network configurations and architectures, processes,
proprietary information, protocols, schematics, specifications, software, software code (in any
form, including source code and executable or object code), subroutines, techniques, tools, user
interfaces, technical engineering and manufacturing information and materials including
engineering plans and bills of materials, web sites, works of authorship and other forms of
technology (whether or not embodied in any tangible form and including all tangible embodiments
of the foregoing, such as instruction manuals, laboratory notebooks, prototypes, samples, studies
and summaries).

        “Termination Fee” has the meaning given to such term in Section 9.2.

       “Trade Secrets” means any trade secret or other material confidential or non-public
information and know-how, that derives any economic value from its ongoing confidentiality.



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        “Trademarks” means trademarks, service marks, trade name rights, business names,
corporate names, domain names, social media addresses and handles, trade dress, logos, slogans,
design rights and other similar indicia of origin, together with the goodwill symbolized by any of
the foregoing.

      “Transaction Documents” means this Agreement, the Assignment and Assumption
Agreement, the Bill of Sale, the IP Assignment Agreement(s), and the Escrow Agreement.

       “Transactions” means the transactions contemplated by this Agreement and the other
Transaction Documents, including the purchase and sale of the Purchased Assets in exchange for
the Purchase Price and the assumption of the Assumed Liabilities.

       “Transfer Taxes” has the meaning given to such term in Section 7.8(a).

       “Transferred Employee” has the meaning given to such term in Section 7.7(a).

       “Transition Period” has the meaning given to such term in Section 7.2(b).

        “Truck Data” means all vehicle operating data (i.e., telematics) in the possession and
control of the Selling Entities and to the extent related to the Purchased Assets, to the extent and
in the form that such Truck Data is owned by the Selling Entities as of the Closing.

       “W&C” has the meaning given to such term in Section 10.16(a).

        Section 1.2 Construction. The terms “hereby,” “hereto,” “hereunder” and any similar
terms as used in this Agreement refer to this Agreement in its entirety and not only to the particular
portion of this Agreement where the term is used. The term “or” shall not be exclusive. The terms
“including,” “includes” or similar terms when used herein means “including, without limitation.”
The meaning of defined terms shall be equally applicable to the singular and plural forms of the
defined terms, and the masculine gender shall include the feminine and neuter genders, and vice
versa, as the context shall require. Any reference to a Law hereunder shall mean such Law as from
time to time amended, modified or supplemented, including all rules and regulations promulgated
thereunder, unless the context requires otherwise. When calculating the period of time before
which, within which or following which any act is to be done or step taken pursuant to this
Agreement, the date that is the reference date in calculating such period will be excluded. If the
last day of such period is a day other than a Business Day, the period in question will end on the
next succeeding Business Day. Any reference to “days” means calendar days unless Business Days
are expressly specified. The word “will” shall be construed to have the same meaning and effect
as the word “shall.” When a reference is made in this Agreement to a Section, Article, Exhibit or
Schedule such reference shall be to a Section, Article, Exhibit or Schedule of this Agreement
unless otherwise indicated. The table of contents and headings contained in this Agreement or in
any Exhibit or Schedule are for convenience of reference purposes only and shall not affect in any
way the meaning or interpretation of this Agreement. Unless otherwise specifically indicated, any
reference herein to “$” means U.S. dollars. Words imparting the singular number only shall include
the plural and vice versa. The word “extent” in the phrase “to the extent” means the degree to
which a subject or other thing extends, and such phrase shall not mean simply “if”.



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                                            ARTICLE II

                                     PURCHASE AND SALE

        Section 2.1 Purchase and Sale of Assets. Pursuant to sections 105, 363, and 365 of the
Bankruptcy Code and on the terms and subject to the conditions contained in this Agreement and
subject to entry by the Bankruptcy Court of the Sale Order, at the Closing, the Selling Entities
shall sell, assign, convey, transfer and deliver to the Buyer, and the Buyer shall purchase, acquire
and accept from the Selling Entities, all of the Selling Entities’ right, title and interest, free and
clear of all Encumbrances (other than Permitted Encumbrances), in, to and under all of the
properties, rights, interests and other tangible and intangible assets of the Selling Entities as at the
Closing to the extent set forth in this Section 2.1, wherever located, in each case, except as
otherwise specified in this Section 2.1 (collectively, the “Purchased Assets”); provided, however,
that the Purchased Assets shall not include any Excluded Assets:

              (a)    except as set forth in Section 2.2(x) of the Disclosure Schedule, all vehicles
owned by the Selling Entities;

                (b)    all items of machinery owned by the Selling Entities, including the hub
motor assembly lines, the battery module assembly lines, the battery pack assembly lines and
related or associated machinery;

              (c)    all Seller IP, and any Claims or causes of action for past, present and future
misappropriation, misuse or infringement of the Seller IP against any Person;

                 (d)     all Inventory owned by any of the Selling Entities, whether in the Selling
Entities’ facilities, held by any third parties or otherwise;

               (e)     subject to modification pursuant to Section 2.5, all IP Contracts set forth on
Section 2.1(e) of the Disclosure Schedule (the “Assumed Agreements”);

                (f)    subject to Section 2.2(y), all desktops and laptops owned by any of the
Selling Entities, whether in the Selling Entities’ facilities, held by any third parties or otherwise,
only to the extent such items are allocated to any Transferred Employee by the Selling Entities and
all CAD terminals and servers (each, a “Purchased Server”) owned by any of the Selling Entities
that are used or held for use in the design and production of the Endurance Trucks or any other
vehicle or product intended for production, research and development or demonstration;

                (g)     all books, records, information, files, data and plans (whether written,
electronic or in any other medium), advertising and promotional materials and similar items of the
Selling Entities, in each case, to the extent relating to the Purchased Assets, including (i) customer
and supplier lists and mailing lists, (ii) Tax Returns and Tax records related to any Taxes imposed
on or with respect to a Purchased Asset or any Assumed Liability, and (iii) passwords necessary
to access any of the Purchased Assets;

                (h)    subject to Section 2.2(l) and excluding Claims or rights set forth in Section
2.1(h) of the Disclosure Schedule or under Chapter 5 of the Bankruptcy Code, to the extent arising
out of events occurring on or prior to the Closing (including, for the avoidance of doubt, events

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arising prior to the commencement of the Bankruptcy Cases), (i) all rights, Claims and causes of
action of the Selling Entities, against Persons (including, suppliers, vendors, merchants and
manufacturers) and (ii) all rights of indemnity, warranty rights, rights of contribution, rights to
refunds, rights of reimbursement and other rights of recovery possessed by the Selling Entities, in
each case of clauses (i) and (ii), (A) solely to the extent related to the other Purchased Assets and
Assumed Liabilities and (B) not related to Taxes; and

               (i)    all rights of the Selling Entities under non-disclosure or confidentiality
agreements to the extent relating to any of the foregoing Purchased Assets.

        Section 2.2 Excluded Assets. Notwithstanding any provision herein to the contrary, the
Selling Entities shall retain all of their existing rights, title and interest to, all assets, rights and
properties that are not specifically identified for inclusion in the Purchased Assets in accordance
with Section 2.1, which shall be excluded from the sale, conveyance, assignment, transfer or
delivery to the Buyer hereunder, and the Purchased Assets shall exclude, without limitation, all of
the following, wherever located, in each case, except as otherwise specified in this Section 2.2
(collectively, the “Excluded Assets”):

              (a)    except as set forth in Section 2.1(e) of the Disclosure Schedule, all Non-
Real Property Contracts and Real Property Leases of the Selling Entities;

                (b)     all Cash of the Selling Entities and their Affiliates;

               (c)      all accounting records and internal reports to the extent relating to the
business activities of the Selling Entities unrelated to the Purchased Assets;

             (d)     any records, documents or other information relating to current or former
Employees that are not Transferred Employees, and any materials containing information about
any Transferred Employee, disclosure of which would violate Law or such Transferred
Employee’s reasonable expectation of privacy;

               (e)     except as specifically set forth in Section 2.1, all hand tools, office
equipment, supplies, furniture, fixtures, leasehold improvements and other tangible personal
property and fixed assets owned, leased or used (or held for use) by any of the Selling Entities,
whether in the Selling Entities’ facilities, held by any third parties or otherwise;

                (f)      except as set forth in Section 2.1(g), each Selling Entity’s respective federal,
state, provincial, territorial, local or non-U.S. income, franchise or margin tax files and records;

                (g)      except as set forth in Section 2.1(g), the Selling Entities’ (i) minute books
and other corporate books and records relating to the organization and existence of the Selling
Entities, including all stock ledgers, corporate seals and stock certificates, and the Selling Entities’
books and records relating to Taxes of the Selling Entities, including Tax Returns filed by or with
respect to the Selling Entities, and (ii) books, records, information, files, data and plans (whether
written, electronic or in any other medium), advertising and promotional materials and similar
items related to any Excluded Assets or Excluded Liabilities (and not related to any Purchased
Assets or Assumed Liabilities);


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               (h)    the Selling Entities’ rights, Claims or causes of action under this
Agreement, the other Transaction Documents or the Confidentiality Agreement, and all cash and
non-cash consideration payable or deliverable to the Selling Entities pursuant to this Agreement
or any other Transaction Document;

            (i)    all Contracts to which any of the Selling Entities is party, other than the
Assumed Agreements;

                (j)     all rights, Claims, defenses and causes of action of the Selling Entities
against Persons and, without limiting the generality of the foregoing, all rights of indemnity,
warranty rights, rights of contribution, rights to refunds, setoff rights, recoupment rights, rights of
reimbursement and other rights of recovery, including rights to insurance proceeds, of the Selling
Entities (regardless of whether such rights are currently exercisable), in each case to the extent
related to (A) any Excluded Assets or Excluded Liabilities, and (B) or arising under chapter 5 of
the Bankruptcy Code;

                (k)     all director and officer insurance policies, and such other insurance policies
listed in Section 2.2(k) of the Disclosure Schedule, including all insurance recoveries thereunder
and rights to assert claims with respect to any such insurance policies or recoveries;

                (l)    all rights, Claims and causes of action against the Selling Entities or any
current or former director, manager, officer, independent contractor, employee, or equityholder of
any Selling Entity or its Affiliates, and all rights, Claims and causes of action under director and
officer, fiduciary, employment practices and similar insurance policies maintained by any Selling
Entity, excluding any Claim by Buyer for Fraud in connection with the Transactions;

                (m)     any shares of capital stock or other equity interests in any of the Selling
Entities, or any securities convertible into, exchangeable or exercisable for shares of capital stock
or other equity interests in any of the Selling Entities;

                (n)     all Accounts Receivable of the Selling Entities as of the Closing;

                (o)     any Benefit Plan or stock option, restricted stock or other equity-based
benefit plan of the Selling Entities, and the Selling Entities’ right, title and interest in any assets of
or relating thereto;

                (p)     any rights, demands, Claims, credits, allowances, rebates (including any
vendor or supplier rebates), reimbursements or rights of setoff (other than against the Selling
Entities) to the extent not included in the Purchased Assets;

               (q)     all Claims arising under sections 544, 547, 548, 549, and 550 of the
Bankruptcy Code or applicable state fraudulent conveyance, fraudulent transfer, or similar Laws,
including any and all proceeds thereof;

                (r)     the proceeds of the sale of any Excluded Assets;

               (s)     all Tax assets, including any net operating loss (or net operating loss
carryover), capital loss carryover, Tax receivable, Tax refund, Tax credit, or prepaid Tax to the

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extent paid by a Selling Entity, attributable to any Tax imposed on a Selling entity (but not
including any tax basis step up resulting from the purchase of the Purchased Assets pursuant to the
Transactions) or attributable to a Pre-Closing Tax Period;

                (t)     all royalties, advances, prepaid assets or deferred charges and expenses
(including all lease and rental payments), deposits (including maintenance, customer, and security
and other deposits);

                (u)    all Deal Communications and any attorney-client privilege or expectation
of client confidence or any other rights to any evidentiary privilege related thereto;

               (v)     all goodwill and other intangible assets owned by the Selling Entities;

               (w)     except as set forth in Section 2.1(i), all rights of the Selling Entities under
non-disclosure or confidentiality, non-compete, or non-solicitation agreements with current or
former Employees, or current or former directors, consultants, independent contractors and agents
of any of the Selling Entities;

               (x)     all vehicles set forth in Section 2.2(x) of the Disclosure Schedule; and

                (y)     any server (each, an “Excluded Server”) owned by any of the Selling
Entities that contains exclusively information and data constituting Excluded Assets;

                (z)     the Selling Entities’ right, title and interest to the other assets, if any, set
forth in Section 2.2(z) of the Disclosure Schedule.

        Section 2.3 Assumed Liabilities. On the terms and subject to the conditions set forth
herein, effective as of the Closing, the Buyer shall assume from the Selling Entities, and the Selling
Entities shall irrevocably convey, transfer, assign and deliver to the Buyer, only the following
Liabilities (collectively, the “Assumed Liabilities”):

                 (a)    All Liabilities arising from the ownership or operation of the Purchased
Assets by the Buyer or its Affiliates at and after the Closing (including all Liabilities for (A)
warranties and product Liability in respect of the Purchased Assets sold or leased by Buyer or its
Affiliates following the Closing, (B) all customer warranty, product liability and recall obligations
related to any Endurance Truck that are (i) owned at the Closing by Persons other than any Selling
Entity and that are purchased by Buyer or any of its Affiliates or (ii) owned by Buyer, Guarantor
or any of their Affiliates, and (C) Taxes arising from the ownership or operation of the Purchased
Assets by the Buyer at or after the Closing but excluding (i) any Taxes unrelated to the Purchased
Assets or the Business imposed on or payable by any Selling Entity or its Affiliates and (ii) any
Taxes imposed on or with respect to the Purchased Assets or the Business for any Pre-Closing Tax
Period); provided that, for the avoidance of doubt, in no event shall the Buyer assume any such
Liabilities to the extent arising out of actions or omissions occurring prior to the Closing;

                 (b)    the Liabilities of the Selling Entities under the Assumed Agreements arising
at or after the Closing (other than Cure Payments) except as determined by Section 2.5; and

               (c)     all of the Cure Payments payable by Buyer pursuant to Section 2.5.

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        Section 2.4 Excluded Liabilities. The Buyer shall not assume, be obligated to pay,
perform or otherwise discharge or in any manner be liable or responsible for any Liabilities of, or
Claim against, the Selling Entities or relating to the Purchased Assets, of any kind or nature
whatsoever, whether absolute, accrued, contingent or otherwise, liquidated or unliquidated, due or
to become due, known or unknown, currently existing or hereafter arising, matured or unmatured,
direct or indirect, and however arising, whether existing on the Closing Date or arising thereafter,
other than the Assumed Liabilities, and the Selling Entities shall not convey, transfer, assign or
deliver to Buyer, any other Liabilities (collectively, the “Excluded Liabilities”, whether incurred
or accrued before, at or after the Closing); provided, that, if the Buyer, Guarantor or their Affiliates
acquire any Endurance Trucks that are currently owned by Persons other than any Selling Entity,
or if the Buyer, Guarantor or their Affiliates currently own any Endurance Trucks, the Buyer
assumes all customer warranty, product liability and recall obligations related to any such vehicles
and such obligations shall be treated as Assumed Liabilities.

       Section 2.5 Assumption and Assignment of Certain Contracts. The Sale Order shall
provide for the assumption by the Buyer, and the Sale Order shall, to the extent permitted by Law,
provide for the assignment by the Selling Entities to the Buyer, effective upon the Closing, of the
Assumed Agreements in accordance with Section 2.1(e) and this Section 2.5.

               (a)     Prior to the Sale Hearing and in accordance with the Bidding Procedures
Order, the Selling Entities shall have commenced appropriate proceedings before the Bankruptcy
Court and otherwise taken all reasonably necessary actions in order to effectuate transfer and
assignment of the Assumed Agreements, including to determine the Cure Payments.

               (b)    At the Closing, the Selling Entities shall assign to the Buyer, and the Buyer
shall assume, the Assumed Agreements and all Assumed Liabilities relating thereto.

               (c)    From and after the date of this Agreement until the date that is three (3)
Business Days prior to the Closing, the Buyer may, after consultation with the Selling Entities,
designate any Contract of any Selling Entity as an Assumed Agreement, or remove any such
Contract from Section 2.1(e) of the Disclosure Schedule, such that it is not an Assumed Agreement
and is instead designated as an Excluded Asset, in which case Section 2.1(e) of the Disclosure
Schedule shall be deemed to be amended to include or remove, as applicable, such Contract as an
Assumed Agreement.

              (d)    In the case of any amendment by the Buyer of Section 2.1(e) of the
Disclosure Schedule pursuant to this Section 2.5, the Seller shall give notice, in each case in
accordance with the Bidding Procedures Order, to the other parties to any Contract to which such
amendment relates of the removal or addition of such Contract from Section 2.1(e) of the
Disclosure Schedule within three (3) Business Days of the Buyer notifying the Seller of such
amendment or such lesser time as is provided in the Bidding Procedures Order.

               (e)     The applicable Selling Entity shall pay, on or before the Closing, all of the
amounts, if any (such amounts, the “Cure Payments”), necessary to cure all defaults, if any, and to
pay all actual or pecuniary losses that have resulted from such defaults under the Assumed
Agreements set forth in Section 2.1(e) of the Disclosure Schedule as of the date hereof; provided,
however, if the Buyer adds any Contract to Section 2.1(e) of the Disclosure Schedule the Buyer

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shall pay any Cure Payments for any such Contract added to Section 2.1(e) of the Disclosure
Schedule. The Buyer shall have no liability for such Cure Payments other than as expressly set
forth in the preceding sentence. Notwithstanding anything contained herein to the contrary, the
Buyer shall only assume, and shall only be responsible for, Contracts designated by it as an
Assumed Agreement, and which Assumed Agreements are in fact assumed and assigned to the
Buyer at Closing, pursuant to this Section 2.5.

                (f)    If the Selling Entities are unable to assign any Assumed Agreement to the
Buyer pursuant to an Order of the Bankruptcy Court, then the Buyer and the Seller shall use
commercially reasonable efforts prior to the Closing to obtain, and to cooperate in obtaining, all
Consents and Governmental Authorizations from Governmental Authorities and third parties
necessary to assign such Assumed Agreement to the Buyer and for the Buyer to assume such
Assumed Agreement, provided, however, that, the Selling Entities shall not be required to pay any
amount or incur any obligation other than payment of Cure Payments required to be paid by the
Selling Entities under Section 2.5(e) to any Person from whom any such Consent or Governmental
Authorization may be required in order to obtain such Consent.

                 (g)     Notwithstanding any provision herein to the contrary, a Contract shall not
be an Assumed Agreement hereunder and shall not be assigned to or assumed by the Buyer to the
extent that such Contract (i) terminates or expires by its terms prior to the Closing and is not
continued or otherwise extended upon assumption or (ii) requires a Consent (other than, and in
addition to, that of the Bankruptcy Court) in order to permit the sale or transfer to the Buyer of the
Selling Entities’ rights under such Contract, if such Consent has not been obtained prior to the
Closing. In such event, the Closing will proceed with respect to the remaining Purchased Assets
upon the terms and subject to the conditions hereof, and there will be no reduction in the Purchase
Price as a result thereof, and, until the earliest of the date that is twelve (12) months after the
Closing Date, the end of the remaining term of such Contract and the liquidation or dissolution of
the Selling Entities, (A) the applicable Selling Entity and the Buyer will use their respective
reasonable best efforts to obtain the Consents with respect to any such Contract for the assignment
or transfer thereof to the Buyer and (B) the applicable Selling Entity and the Buyer shall cooperate
in good faith in any lawful and commercially reasonable arrangement to provide the Buyer with
all of the benefits of such Contract, including subleasing, subcontracting, licensing or sublicensing
to the Buyer, all of the applicable Selling Entity’s rights and obligations with respect to any such
Contract; provided, in each case, nothing in this Section 2.5(g) shall (i) require the Selling Entities
to pay any consideration other than the Cure Payments to be paid by the Selling Entities pursuant
to Section 2.5(e), grant any accommodation therefor to any third party from whom Consent is
requested, or to initiate any Proceedings to obtain any such Consent; (ii) prohibit any Selling Entity
from ceasing operations, terminating employees or winding up its affairs following the Closing or
(iii) prohibit the Selling Entities from taking such actions as would otherwise be permitted under
Section 7.1. Once the Consents with respect to any such Contract are obtained, the Seller shall
promptly assign such Contract to the Buyer.

                                           ARTICLE III

                                 PURCHASE PRICE; DEPOSIT

       Section 3.1     Purchase Price.

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              (a)     The aggregate consideration for the sale and transfer of the Purchased
Assets from the Selling Entities to the Buyer shall be as follows:

                      (i)    an amount in cash equal to $10,000,000.00 (inclusive of the
       Deposit) (the “Cash Purchase Price”); and

                        (ii)     the assumption of the Assumed Liabilities (including Cure
       Payments required to be paid by Buyer pursuant to Section 2.5(e), if any) (such amounts
       in clauses (i)-(ii), collectively, the “Purchase Price”).

                (b)     On the Closing Date, the Buyer shall pay or cause to be paid to the Seller or
its designee(s), by wire transfer of immediately available funds to an account or series of accounts
designated by the Seller prior to the Closing, an amount in cash equal to the Cash Purchase Price,
less the Deposit, which shall be released to the Seller pursuant to Section 3.2 on the Closing Date.

       Section 3.2     Deposit Escrow.

              (a)     The Buyer has deposited into a deposit escrow account with the Escrow
Agent an amount equal to $1,000,000.00 (such amount, the “Deposit”) by wire transfer of
immediately available funds.

               (b)     The Seller shall give written notice to the Escrow Agent to release the
Deposit to the Seller upon the earliest to occur of (i) the Closing, or (ii) two (2) Business Days
following the termination of this Agreement by (A) the Seller pursuant to Section 9.1(c) (other
than clause (iv) thereof) or (B) the Buyer or the Seller for any reason at a time when the Seller
could have terminated this Agreement pursuant to Section 9.1(c) (other than clause (iv) thereof)
(any such termination described in the foregoing clause (ii)(A) or (ii)(B), a “Buyer Default
Termination”).

                (c)    If this Agreement or the Transactions are terminated other than for a
termination which constitutes a Buyer Default Termination, the Seller shall provide written
instructions to the Escrow Agent to, within two (2) Business Days after such instruction, return to
the Buyer the Deposit by wire transfer of immediately available funds.

        Section 3.3 Allocation. The Buyer shall, as promptly as reasonably practicable after the
Closing Date, prepare and deliver to the Seller a statement containing an allocation of the Purchase
Price (and any other amounts, to the extent properly taken into account under the Code) among
the Purchased Assets in accordance with Section 1060 of the Code and the Treasury Regulations
promulgated thereunder (the “Allocation”). The Seller and the Buyer shall work in good faith to
resolve any disagreements regarding the Allocation. If the Seller and the Buyer are unable to reach
an agreement within fifteen (15) Business Days after the Seller’s receipt from Buyer of the
statement setting forth the Allocation, any such disagreement shall be submitted for resolution and
determination to a mutually agreed upon nationally-recognized accounting firm. The accounting
firm will deliver to the Buyer and the Seller a written determination of the disputed Allocation
within twenty (20) Business Days of the submission of the dispute to the accounting firm. One-
half of all fees, costs and expenses of retaining the accounting firm shall be borne by Seller and
one-half of such fees, costs and expenses of retaining the accounting firm shall be borne by Buyer.
Any resolution by the Seller and the Buyer or determination by the accounting firm shall be
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conclusive and binding on such parties hereto once set forth in writing (any such conclusive and
binding Allocation, or the Seller’s originally prepared and delivered Allocation in the event there
is no disagreement as to such Allocation, the “Final Allocation”). The Buyer and the Selling
Entities agree to, and to cause their respective Affiliates to, (a) be bound by the Final Allocation
for the purpose of determining Taxes, (b) timely file with each Governmental Authority all forms
and Tax Returns required to be filed in connection with the Final Allocation (including the filing
of IRS Form 8594 with a U.S. federal income Tax Return for the taxable year that includes the
date of the Closing) consistent with the Final Allocation, (c) prepare and file all Tax Returns on a
basis consistent with the Final Allocation, and (d) not take any position inconsistent with the Final
Allocation in any Tax Return, in any audit or proceeding related to Taxes before any Governmental
Authority or in any report made for Tax purposes; provided, however, that nothing contained
herein shall (i) prevent the Buyer or any Selling Entity from settling, solely on its own behalf, any
proposed Tax deficiency or adjustment by any Governmental Authority based upon or arising out
of the Final Allocation, or (ii) prevent the Buyer or any Selling Entity from taking a position
inconsistent with the Final Allocation if required to do so by a determination within the meaning
of Section 1313 of the Code.

        Section 3.4 Withholding. Notwithstanding anything in this Agreement to the contrary,
the Buyer and any Affiliate or agent of the Buyer shall be entitled to deduct and withhold from
any amount (or portion thereof) payable under this Agreement such Taxes as may be required to
be deducted and withheld from such amount under the Code or any other applicable provision of
U.S. or foreign Tax Law; provided, however, Buyer shall use commercially reasonable efforts to
provide notice to the Seller of its intent to withhold and the basis for such withholding at least five
(5) days prior to the Closing. To the extent that any amounts are so deducted or withheld, such
deducted and withheld amounts shall be treated for all purposes of this Agreement as having been
paid to the Person in respect of which such deduction and withholding was made.

                                           ARTICLE IV

                                          THE CLOSING

        Section 4.1 Time and Place of the Closing. On the terms and subject to the conditions
contained in this Agreement, the closing of the sale of the Purchased Assets and the assumption of
the Assumed Liabilities contemplated by this Agreement (the “Closing”) shall take place remotely
via the exchange of electronic documents and signatures by electronic mail at 10:00 a.m. New
York Time no later than the third (3rd) Business Day following the date on which the conditions
set forth in Article VIII have been satisfied or, to the extent permitted by applicable Law, waived
in writing by either the Buyer or the Seller, as applicable (other than conditions which by their
nature are to be satisfied at the Closing, but subject to the satisfaction or, to the extent permitted
by applicable Law, waiver of such conditions at or prior to the Closing), or at such other place and
time as the Buyer and the Seller may mutually agree in writing. The date on which the Closing
actually occurs is herein referred to as the “Closing Date.”

       Section 4.2     Deliveries by the Seller.

               (a)    At or prior to the Closing, the Seller shall deliver, or cause to be delivered,
the following to the Buyer:

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                       (i)     the Bill of Sale, duly executed by the Selling Entities;

                   (ii)   each of the Assignment and Assumption Agreement and the IP
       Assignment Agreement, duly executed by the applicable Selling Entities;

                       (iii)   the duly executed certificate contemplated by Section 8.2(c);

                       (iv)    a duly executed IRS Form W-9 from each Selling Entity (or, if a
       Selling Entity is a disregarded entity for U.S. federal tax purposes, the Person owning such
       Selling Entity that is not disregarded for such purposes); and

                       (v)     a copy of the Sale Order.

                       For the avoidance of doubt, the Seller shall make the Purchased Assets
       available to the Buyer during normal business hours wherever such assets are located as of
       the Closing. Without limitation to Sections 7.2, 7.4, and 7.12, it shall be the Buyer’s sole
       obligation to take possession of and transport the Purchased Assets; provided that, in
       connection therewith, the Buyer shall minimize any disruption to the Seller’s Business and
       operations; provided, further, that, in connection therewith, the Buyer shall, and shall cause
       its Representatives to, comply with all reasonable safety and security rules and regulations
       applicable to the relevant facilities.

                (b)    At or prior to the Closing, the Seller shall make the Cure Payments required
to be made by the Selling Entities pursuant to Section 2.5(e) and shall provide evidence, reasonably
satisfactory to Buyer, of the same.

               (c)     At or substantially concurrently with the Closing, the Seller shall deliver, or
cause to be delivered, written notice to the Escrow Agent to release the Deposit to the Seller.

       Section 4.3 Deliveries by the Buyer. At or prior to the Closing, the Buyer shall deliver,
or cause to be delivered, the following to the Seller:

               (a)     the Cash Purchase Price (less the Deposit);

               (b)     evidence of payment of the Cure Payments required to be paid by Buyer
pursuant to Section 2.5(e), if any;

             (c)    each of the Assignment and Assumption Agreement and the IP Assignment
Agreement, duly executed by the Buyer; and

               (d)     the duly executed certificate contemplated by Section 8.3(c).

                                           ARTICLE V

       REPRESENTATIONS AND WARRANTIES OF THE SELLING ENTITIES

       Except (a) as set forth in the disclosure schedule delivered by the Seller to the Buyer (the
“Disclosure Schedule”) concurrently with the execution of this Agreement (with specific reference

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to the representations and warranties in this Article V to which the information in such schedule
relates; provided, however, that, disclosure in the Disclosure Schedule as to a specific
representation or warranty shall qualify any other sections of this Agreement to the extent
(notwithstanding the absence of a specific cross reference) it is reasonably apparent on its face that
such disclosure relates to such other sections) or (b) as otherwise disclosed or identified in the SEC
Documents (other than any forward-looking disclosures contained in the “Forward Looking
Statements” and “Risk Factors” sections of the SEC Documents); the Selling Entities hereby
represent and warrant to the Buyer as follows:

        Section 5.1 Organization, Standing and Power. Each Selling Entity is an entity duly
organized, validly existing and has all requisite power (corporate or otherwise) and authority to
own, lease and operate all of the Purchased Assets and, except as would not prevent the
Transactions or have a material impact on the Purchased Assets, to the extent applicable, is in good
standing under the laws of the jurisdiction of its organization. Each Selling Entity is duly licensed
or qualified to do business in each jurisdiction in which the nature of the Purchased Assets or the
character or location of the Purchased Assets makes such licensing or qualification necessary,
except where the failure to be so licensed or qualified is the result of the filing of the Bankruptcy
Cases or as would not prevent the Transactions or have a material impact on the Purchased Assets.

         Section 5.2 Authority; Execution and Delivery; Enforceability. Subject to the
applicable provisions of the Bankruptcy Code and the entry and effectiveness of the Sale Order,
each Selling Entity has all necessary power and authority to execute and deliver this Agreement
and the other Transaction Documents to which it is a party, to perform and comply with each of
its obligations hereunder and thereunder and, upon entry and effectiveness of the Sale Order, in
accordance with the terms hereof, to consummate the transactions contemplated hereby and
thereby. The execution and delivery by the Selling Entities of this Agreement and the other
Transaction Documents to which any Selling Entity is a party, the performance and compliance
by the Selling Entities with each of their obligations herein and therein, and the consummation by
it of the transactions contemplated hereby and thereby have been duly authorized by all necessary
corporate or similar action on the part of the Selling Entities, and no other corporate or similar
proceedings on the part of the Selling Entities and no other equityholder votes are necessary to
authorize this Agreement and the other Transaction Documents, or the consummation by the
Selling Entities of the transactions contemplated hereby or thereby, subject to the entry and
effectiveness of the Sale Order. Each Selling Entity has duly and validly executed and delivered
this Agreement and will (as of the Closing) duly and validly execute and deliver the other
Transaction Documents to which it is a party and, assuming the due authorization, execution and
delivery by the Buyer of this Agreement and the other Transaction Documents to which it is party,
and by the other parties to the Transaction Documents, this Agreement constitutes and the other
Transaction Documents will constitute (as of the Closing) legal, valid and binding obligations of
each Selling Entity, enforceable against such Selling Entity in accordance with its terms, subject
in all cases to (a) the entry and effectiveness of the Bidding Procedures Order and the Sale Order
and (b) limitations on enforceability imposed by applicable bankruptcy, insolvency,
reorganization, moratorium or other similar Laws affecting the enforcement of creditors’ rights
generally or by general equitable principles.

       Section 5.3     No Conflicts.


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                (a)      The execution and delivery of the Transaction Documents to which the
Selling Entities are party do not, or, to the extent executed after the date hereof, will not, and the
performance by the Selling Entities of the Transaction Documents to which they are a party will
not, except to the extent excused by or unenforceable as a result of the filing of the Bankruptcy
Cases and following the entry and effectiveness of the Bidding Procedures Order and the Sale
Order, (i) conflict with or violate any provision of any Selling Entity’s organizational or governing
documents, (ii) assuming that all Consents and permits described in Section 5.3(b) have been
obtained and all filings and notifications described in Section 5.3(b) have been made and any
waiting periods thereunder have terminated or expired, conflict with or violate any Law or Order
applicable to any Selling Entity or by which any Purchased Asset is bound or affected, or (iii)
require any Consent under, result in any breach of or any loss of any benefit under, constitute a
violation, breach or default (or an event which with notice or lapse of time or both would become
a violation, breach or default) under or give to others any right of termination, vesting, amendment,
acceleration or cancellation of, or result in the creation of a Encumbrance on any Purchased Assets
pursuant to, any Contract or permit to which any Selling Entity is party, except, with respect to
clauses (ii) and (iii), for any such conflicts, violations, breaches, defaults or other occurrences
which have not resulted in and would not reasonably be expected to result in a material impact to
the Purchased Assets or would otherwise prevent the Transactions.

               (b)      Assuming the accuracy of the representations and warranties of the Buyer
in Section 6.3(a), the execution and delivery by the Selling Entities of the Transaction Documents
do not and will not, and the consummation by the Selling Entities of the Transactions and
compliance by the Selling Entities with any of the terms or provisions hereof will not, require any
Consent or permit of, or filing with or notification to, any Governmental Authority, except
(i) under the Exchange Act and (ii) the entry and effectiveness of the Bidding Procedures Order
and the Sale Order by the Bankruptcy Court.

       Section 5.4     Legal Proceedings; Compliance with Law.

                (a)    Other than in connection with the Bankruptcy Cases, there is no action, suit,
arbitration, proceeding (including any civil, criminal, administrative, investigative or appellate
proceeding or any informal proceeding) or investigation pending or being heard by or before, or
otherwise involving, any Governmental Authority or any arbitrator or arbitration panel (each a
“Proceeding”) and, to the Knowledge of Seller, no Person has threatened in writing to commence
any Proceeding in respect of the Purchased Assets or Assumed Liabilities that would reasonably
be expected to have a material impact on the Purchased Assets, or have the effect of preventing
the Transactions.

                (b)    The Business is being conducted in material compliance with, and the
Selling Entities have in all material respects complied with, all applicable Laws relating to the
ownership and operation of the Purchased Assets. There are no pending or, to the Knowledge of
the Seller, threatened, claims from any Governmental Authority relating to any material non-
compliance of the Business or the Purchased Assets.

       Section 5.5     Intellectual Property.



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               (a)    A true, correct and complete list of all Registered IP and material
proprietary software included in the Seller IP is set forth on Section 5.5(a) of the Disclosure
Schedule.

               (b)     A Selling Entity is the sole and exclusive owner of the Seller IP, and the
execution and performance of this Agreement will not result in the loss or impairment of any such
rights by any of the Selling Entities. To the Knowledge of Seller, the Selling Entities have valid
and enforceable rights to use all material Intellectual Property Rights used in the conduct of the
Business as currently conducted.

                (c)    A Selling Entity is the sole and exclusive beneficial and record owner of the
Registered IP, and all such Registered IP is subsisting, and (excluding any pending applications
included in the Registered IP), to the Knowledge of Seller, valid and enforceable. Except as set
forth on Section 5.5(c) of the Disclosure Schedule, the Selling Entities have paid all filing,
examination and maintenance fees for the Registered IP, and have not received notice since
January 1, 2021 of any proceeding or action, or to the Knowledge of Seller, written threat thereof,
challenging the validity, enforceability or ownership of such Registered IP. Except for (i) readily
commercially available, off-the-shelf software and (ii) any Intellectual Property Rights granted to
a Selling Entity pursuant to an IP Contract included in the Purchased Assets, there is no Intellectual
Property Right that is material to the conduct of the Business other than the Seller IP and other
than any IP Contract removed by Buyer from Schedule 2.1(e) of the Disclosure Schedule pursuant
to Section 2.5(c).

                (d)    Except as set forth on Section 5.5(d) of the Disclosure Schedule, the conduct
of the Business does not infringe, misappropriate or otherwise violate (and, since January 1, 2021
has not infringed, misappropriated or otherwise violated) in any material respect any Person’s
Intellectual Property Rights, and none of the Selling Entities has received written notice of any
Claim or demand since January 1, 2021 alleging any such infringement, misappropriation or other
violation.

              (e)     To the Knowledge of the Seller, no Person is currently infringing,
misappropriating or otherwise violating any Seller IP, and no Claim of such infringement,
misappropriation or other violation of Seller IP has been asserted or threatened in writing against
any Person since January 1, 2021 by any Selling Entity.

                (f)     The Selling Entities have taken commercially reasonable steps to safeguard
and maintain the confidentiality of all Trade Secrets that constitute Seller IP, including by using
good faith efforts to require all Persons having access thereto to execute written non-disclosure
agreements. To the Knowledge of the Seller, there has not been unauthorized disclosure of material
Trade Secrets of any Selling Entity that has resulted or is reasonably likely to result in the loss of
trade secret or other rights in and to such information.

              (g)     To the Knowledge of Seller, (i) the Selling Entities are in material
compliance with the terms and conditions of all contracts pursuant to which a Selling Entity obtains
or uses any Open Source Software in the Business and (ii) no Selling Entity has (A) incorporated
Open Source Software into, or combined Open Source Software with, any material Technology
included in the Seller IP; (B) distributed Open Source Software in conjunction with any such

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Technology; or (C) used Open Source Software, in each case ((A)-(C)), in such a way that requires
any such Technology to be (1) disclosed or distributed in source code form, (2) licensed for the
purpose of making derivative works or (3) redistributable at no charge.

               (h)     Except as would not have a material impact on the Purchased Assets, each
Selling Entity’s information technology systems are each in good working condition and are
adequate for the operation of the Business as currently conducted. Each Selling Entity undertakes
commercially reasonable efforts to maintain the security and integrity of its information
technology systems. The Selling Entities comply, and since January 1, 2021 have complied in all
material respects, with all applicable Laws, internal policies and contractual obligations relating
to privacy, data protection and cybersecurity. Since January 1, 2021, there have not been any
security breaches in any information technology systems of any Selling Entity or with respect to
personally identifiable information contained therein, in each case, relating to the Purchased
Assets, for which notice to any Governmental Authority or individual was given or required to be
given.

       Section 5.6     Taxes.

                 (a)    All material Tax Returns relating to the Purchased Assets or the Assumed
Liabilities that are required by applicable Law to be filed by or with respect to any Selling Entity
have been timely filed (taking into account any extension of time within which to file), and all
such Tax Returns are true, complete and accurate in all material respects.

                 (b)    Each of the Selling Entities has timely paid all material Taxes relating to
the Purchased Assets or the Assumed Liabilities due and owing by it (whether or not shown to be
due on a Tax Return), including any Taxes required to be withheld from amounts owing to, or
collected from, any employee, creditor, or other third party, other than Taxes not due as of the date
of the filing of the Bankruptcy Cases as to which subsequent payment was not required by reason
of the Bankruptcy Cases.

               (c)    No Encumbrances for Taxes (other than Permitted Encumbrances) are
outstanding with respect to any of the Purchased Assets, and no deficiencies for material Taxes
relating to the Purchased Assets or the Assumed Liabilities have been Claimed, proposed or
assessed by any Governmental Authority in writing against any of the Selling Entities except for
deficiencies which have been fully satisfied by payment, settled or withdrawn.

               (d)     There are no audits, examinations, investigations or other proceedings
ongoing or pending against or with respect to any of the Selling Entities with respect to any
material Taxes relating to the Purchased Assets or the Assumed Liabilities and no written
notification has been received by any of the Selling Entities that such an audit, examination,
investigation or other proceeding has been proposed or threatened in writing.

                (e)     None of the Purchased Assets constitutes, stock, partnership interests or
other equity interest in any Person for U.S. federal income tax purposes.

        Section 5.7 Title to Assets. Subject to requisite Bankruptcy Court approvals and except
as a result of the commencement of the Bankruptcy Cases:


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                (a)     The Selling Entities have good and valid title to, or have good and valid
leasehold interests in, and owns and possesses all rights and interests in, including the right to use,
all tangible personal property comprising Purchased Assets, free and clear of all Encumbrances
other than Permitted Encumbrances, except (i) to the extent that such Encumbrances will not be
enforceable against such tangible personal property following the Closing in accordance with the
Sale Order, or (ii) as would not have a material impact on the Purchased Assets.

                (b)     This Agreement and the instruments and documents to be delivered by the
Selling Entities to the Buyer at the Closing shall be adequate and sufficient to transfer (i) the
Selling Entities’ entire right, title and interest in and to the Purchased Assets and (ii) to the Buyer,
good title to the Purchased Assets, free and clear of all Encumbrances (other than Permitted
Encumbrances), claims, and interests, other than Assumed Liabilities, subject to (A) the
Bankruptcy Cases and (B) entry of the Sale Order.

        Section 5.8 Absence of Certain Changes. Since January 1, 2023, other than the
commencement of the Bankruptcy Cases and this Agreement, the negotiation, preparation or
execution hereof and the process conducted by the Selling Entities and their Affiliates in
connection therewith, (a) there has not occurred any event, change, condition, occurrence or effect
that, individually or in the aggregate, has had or would reasonably be expected to have, a Material
Adverse Effect and (b) the Selling Entities have not taken, or omitted to take, any action that, if it
had been, or omitted to be, taken after the date hereof and prior to the Closing Date, would require
the prior written consent of the Buyer pursuant to Section 7.1(a)(ii) or Section 7.1(a)(iii), in each
case, solely in respect of CAD terminals or servers.

       Section 5.9 Brokers. No Person is entitled to any brokerage, financial advisory, finder’s
or similar fee or commission payable by any Selling Entity in connection with the Transactions
for which the Buyer is or will become liable.

        Section 5.10 Exclusivity of Representations and Warranties. None of the Selling Entities
or any of their Affiliates or Representatives is making, and none of the Buyer or any of its Affiliates
or Representatives is relying on, any representation or warranty of any kind or nature whatsoever,
oral or written, express or implied (including any relating to financial condition or results of
operations of the Business or maintenance, repair, condition, design, performance, value,
merchantability or fitness for any particular purpose of the Purchased Assets), except as expressly
set forth in this Article V (as modified by the Disclosure Schedule). The Selling Entities disclaim
on their own behalf and on behalf their Affiliates and their respective Representatives, all Liability
and responsibility whatsoever for any other representations or warranties, including any
representation, warranty, projection, forecast, statement or information made, communicated or
furnished (orally or in writing) to the Buyer or its Affiliates or Representatives (including any
opinion, information, projection or advice that may have been or may be provided to the Buyer by
any Representative of the Seller or any of the Seller’s Affiliates). None of the Selling Entities, their
Affiliates or their respective Representatives are, directly or indirectly, and no other Person on
behalf of any Selling Entity is, making any representations or warranties regarding any pro-forma
financial information, financial projections or other forward-looking prospects, risks or statements
(financial or otherwise) of the Business or the Purchased Assets made, communicated or furnished
(orally or in writing) to the Buyer or its Affiliates or their respective Representatives (including
any opinion, information, projection or advice in any management presentation or the confidential

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information memorandum provided to the Buyer and its Affiliates and their respective
Representatives). It is understood that any Due Diligence Materials made available to the Buyer
or its Affiliates or their respective Representatives do not, directly or indirectly, and shall not be
deemed to, directly or indirectly, contain representations or warranties of the Selling Entities, their
Affiliates or their respective Representatives.

                                           ARTICLE VI

               REPRESENTATIONS AND WARRANTIES OF THE BUYER

       The Buyer hereby represents and warrants to the Selling Entities as follows:

        Section 6.1 Organization and Good Standing. The Buyer is a Delaware limited liability
company duly organized, validly existing and, to the extent applicable, in good standing under the
laws of Delaware and has the requisite power (corporate or otherwise) and authority and all
necessary governmental licenses, authorizations, permits, consents and approvals to own, lease
and operate all of its properties and assets and to carry on its business as it is being conducted on
the date hereof. The Buyer is duly licensed or qualified to do business in each jurisdiction in which
the nature of the business conducted by it or the character or location of the properties and assets
owned or leased by it makes such licensing or qualification necessary, except for those licenses or
qualifications where the absence of which would not prevent the Transactions.

         Section 6.2 Authority; Execution and Delivery; Enforceability. The Buyer has all
necessary power and authority to execute and deliver this Agreement and the other Transaction
Documents to which it is party, to perform and comply with each of its obligations hereunder and
thereunder and to consummate the Transactions. The execution and delivery by the Buyer of this
Agreement and the other Transaction Documents to which it is party, the performance and
compliance by the Buyer with each of its obligations herein and therein and the consummation by
the Buyer of the Transactions have been duly authorized by all necessary corporate action on the
part of the Buyer and no other corporate proceedings on the part of the Buyer and no equityholder
votes are necessary to authorize this Agreement, the other Transaction Documents to which it is
party or the consummation by the Buyer of the Transactions. The Buyer has duly and validly
executed and delivered this Agreement, and the other Transaction Documents to which it is party
will be duly executed and delivered by the Buyer and, assuming entry by the Bankruptcy Court of
the Sale Order and the due authorization, execution and delivery by the Selling Entities of this
Agreement and the other Transaction Documents to which they are a party and by the other parties
to the Transaction Document, this Agreement constitutes and the other Transaction Documents to
which the Buyer is party will constitute (as of the Closing) the Buyer’s legal, valid and binding
obligation, enforceable against the Buyer in accordance with its terms, subject in all cases to
limitations on enforceability imposed by applicable bankruptcy, insolvency, reorganization,
moratorium or other similar Laws affecting the enforcement of creditors’ rights generally or by
general equitable principles.

       Section 6.3     No Conflicts.

              (a)      The execution and delivery of the Transaction Documents by the Buyer
does not and will not, and the performance by the Buyer of the Transaction Documents to which

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it is party will not, (i) conflict with or violate any provision of the organizational documents of
Buyer, (ii) assuming that all Consents and permits described in Section 6.3(b) have been obtained
and all filings and notifications described in Section 6.3(b) have been made and any waiting
periods thereunder have terminated or expired, conflict with or violate any Law or Order applicable
to the Buyer or any of its Affiliates, or by which any property or asset of the Buyer is bound or
affected or (iii) require any consent or approval under, result in any breach of or any loss of any
benefit under, constitute a change of control or default (or an event which with notice or lapse of
time or both would become a default) under or give to others any right of termination, vesting,
amendment, acceleration or cancellation of, or result in the creation of an Encumbrance on any
property or asset of the Buyer, pursuant to, any Contract or permit to which the Buyer is a party,
except, with respect to clauses (ii) and (iii), for any such conflicts, violations, breaches, defaults or
other occurrences which would not reasonably be expected, individually or in the aggregate, to
prevent the Transactions.

                (b)     Assuming the accuracy of the representations and warranties of the Selling
Entities in Section 5.3(a), the execution and delivery by the Buyer of the Transaction Documents
to which it is party does not and will not, and the consummation by the Buyer of the Transactions
and compliance by the Buyer with any of the terms or provisions hereof will not, require any
Consent or permit of, or filing with or notification to, any Governmental Authority, except (i) the
entry of the Sale Order by the Bankruptcy Court and (ii) such other Consents where failure to
obtain such Consents would not reasonably be expected, individually or in the aggregate, to
prevent the Transactions.

        Section 6.4 Legal Proceedings. There is no Proceeding pending, or, to the Knowledge
of the Buyer, no Person has threatened in writing to commence any Proceeding that, would
reasonably be expected to have the effect of preventing the Transactions or have a material adverse
effect on the Buyer’s performance of any of its obligations and covenants under the Transaction
Documents to which it is a party that are to be performed prior to, at or after Closing.

        Section 6.5 Brokers. No Person is entitled to any brokerage, financial advisory, finder’s
or similar fee or commission payable by the Buyer or any of its Affiliates in connection with the
Transactions, the other Transaction Documents or the transactions contemplated hereby or thereby
for which the Selling Entities or any of their respective Affiliates or Representatives is or will
become liable.

         Section 6.6 Proof of Funds. The Buyer (i) will have on the Closing Date, sufficient
unrestricted funds (without giving effect to any unfunded financing regardless of whether any such
financing is committed), taken together with the Deposit, available to enable Buyer to make all
necessary payments of amounts owing in connection with the Transactions, including to pay the
Purchase Price and all of the Buyer’s fees and expenses associated with the Transactions to
perform its obligations hereunder in connection with the Transactions, and (ii) has not incurred,
and as of the Closing will not have incurred, any obligation, condition, commitment, restriction or
liability of any kind that would materially impair or materially adversely affect its ability to
perform such obligations.

        Section 6.7     Anti-Money Laundering, Anti-Terrorism and Similar Laws.


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               (a)    None of the Buyer or any of its Affiliates, or, to the Knowledge of the Buyer,
any of the Buyer’s beneficial owners is included on a Government List or is owned in any amount
or controlled by any Person on a Government List, as amended from time to time.

               (b)    None of the Buyer or any of its Affiliates, or, to the Knowledge of the Buyer,
any of the Buyer’s beneficial owners is acting, directly or indirectly, on behalf of terrorists, terrorist
organizations or narcotics traffickers, including those Persons or entities that appear on any
Government List, as amended from time to time.

               (c)    None of the funds to be used to purchase the Purchased Assets or in
connection with the Transactions shall be knowingly derived from any activities that contravene
any applicable Laws concerning money laundering, terrorism, narcotics trafficking, or bribery, or
from any Person, entity, country, or territory on a Government List.

       Section 6.8 Independent Evaluation; Reliance by the Buyer; Exclusivity of
Representations and Warranties.

                (a)      The Buyer has conducted its own independent investigation, verification,
review and analysis of the business, operations, assets, Liabilities, results of operations, financial
condition, technology and prospects of the Business, the Purchased Assets and the Assumed
Liabilities, which investigation, verification, review and analysis was conducted by the Buyer and
its Affiliates and, to the extent the Buyer deemed appropriate, by Buyer’s Representatives. In
entering into this Agreement, the Buyer acknowledges that it has relied solely upon the
aforementioned investigation, verification, review and analysis and not on any factual
representation, warranty, inducement, promise, understanding, omission, condition or opinion of
the Selling Entities or any of their Affiliates or their respective Representatives (except the specific
representations and warranties set forth in Article V, in each case, as qualified by the Disclosure
Schedule thereto) and the Buyer acknowledges and agrees, to the fullest extent permitted by Law,
that:

                        (i)    except for the specific representations and warranties set forth in
        Article V, none of the Selling Entities or any of their respective Affiliates, or any of their
        respective Representatives, direct or indirect equityholders or members or any other Person
        makes or has made any representation or warranty, either express or implied, as to the
        accuracy or completeness of (A) any of the information set forth in management
        presentations relating to the Business, the Purchased Assets or the Assumed Liabilities
        made available to the Buyer, its Affiliates or its Representatives, in materials made
        available in any “data room” (virtual or otherwise), including any cost estimates delivered
        or made available, financial projections or other projections, in presentations by the
        management of the Selling Entities or their respective Affiliates, in “break-out”
        discussions, in responses to questions submitted by or on behalf of the Buyer, its Affiliates
        or their respective Representatives, whether orally or in writing, in materials prepared by
        or on behalf of any Selling Entity or its Affiliates or Representatives, or in any other form
        (such information, collectively, “Due Diligence Materials”), or (B) any information
        delivered or made available pursuant to Section 7.2(a) or (C) pro-forma financial
        information, projections or other forward-looking statements with respect to the Business,
        in each case in expectation or furtherance of the Transactions;

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                       (ii)    except for the specific representations and warranties set forth in
       Article V, none of the Selling Entities or any of their Affiliates, or any of their respective
       Representatives, direct or indirect equityholders or members or any other Person shall have
       any Liability or responsibility whatsoever to the Buyer, its Affiliates or their respective
       Representatives on any basis (including in contract, tort or equity, under federal or state
       securities Laws or otherwise) based on any information provided or made available, or
       statements made (including set forth in management summaries relating to the Business,
       the Purchased Assets or the Assumed Liabilities provided to the Buyer, in materials
       furnished in the Selling Entities’ data site (virtual or otherwise), in presentations by the
       management of any Selling Entity or its Affiliates or Representatives), to the Buyer, its
       Affiliates or their respective Representatives (or any omissions therefrom);

                      (iii) without limiting the generality of the foregoing, except for the
       specific representations and warranties set forth in Article V, the Selling Entities, their
       respective Affiliates and their respective Representatives make no representation or
       warranty regarding any third-party beneficiary rights or other rights which the Buyer might
       claim under any studies, reports, tests or analyses prepared by any third parties for the
       Selling Entities or any of their respective Affiliates or Representatives, even if the same
       were made available for review by the Buyer or its Representatives; and

                        (iv)     without limiting the generality of the forgoing, the Buyer expressly
       acknowledges and agrees that none of the documents, information or other materials
       provided to them at any time or in any format by the Selling Entities, their respective
       Affiliates or their respective Representatives constitute legal advice, and the Buyer waives
       all rights to assert that it received any legal advice from any of the Selling Entities, any of
       their respective Affiliates, or any of their respective Representatives or counsel, or that it
       had any sort of attorney-client relationship with any of such Persons.

                (b)     None of the Buyer or any of its Affiliates or Representatives is making, and
none of the Selling Entities or any of their respective Affiliates or Representatives is relying on,
any representation or warranty of any kind or nature whatsoever, oral or written, express or
implied, except as expressly set forth in this Article VI. The Buyer disclaims on its own behalf and
on behalf of its Affiliates and Representatives, all Liability and responsibility whatsoever for any
other representations or warranties, including any representation, warranty, projection, forecast,
statement or information made, communicated or furnished (orally or in writing) to the Selling
Entities or any of their respective Affiliates or Representatives (including any opinion,
information, projection or advice that may have been or may be provided to any Selling Entity by
any Representative of the Buyer or any of its Affiliates).

           (c)  EXCEPT AS SET FORTH IN ARTICLE V OF THIS AGREEMENT (AS
MODIFIED OR QUALIFIED BY THE SCHEDULES HERETO OR OTHERWISE AS
PROVIDED HEREIN), THE BUYER ACKNOWLEDGES AND AGREES THAT THE
SELLING ENTITIES ARE CONVEYING THE PURCHASED ASSETS WITHOUT
REPRESENTATION OR WARRANTY, EITHER EXPRESS OR IMPLIED AT COMMON
LAW, BY STATUTE, OR OTHERWISE (ALL OF WHICH THE SELLER HEREBY
DISCLAIMS), RELATING TO (I) TITLE, SUITABILITY OR ADEQUACY (II) THE
MERCHANTABILITY, DESIGN, OR QUALITY OF THE BUSINESS OR THE PURCHASED

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ASSETS, (III) THE FITNESS OF THE PURCHASED ASSETS FOR ANY PARTICULAR
PURPOSE OR QUALITY WITH RESPECT TO THE BUSINESS AND ANY OF THE
PURCHASED ASSETS OR THE CONDITION OF THE WORKMANSHIP THEREOF OR THE
ABSENCE OF ANY DEFECTS THEREIN, WHETHER LATENT OR PATENT, (IV) ANY
REAL OR PERSONAL PROPERTY OR ANY FIXTURES, (V) THE ABSENCE OF PATENT,
LATENT OR REDHIBITORY VICES OR DEFECTS, (VI) THE ENVIRONMENTAL OR
PHYSICAL CONDITION OF THE PURCHASED ASSETS (SURFACE AND SUBSURFACE),
(VII) COMPLIANCE WITH APPLICABLE LAWS, (VIII) THE CONTENTS, CHARACTER
OR NATURE OF ANY INFORMATION MEMORANDUM OR MANAGEMENT
PRESENTATION, (IX) ANY ESTIMATES OF THE VALUE OF THE PURCHASED ASSETS
OR FUTURE REVENUES GENERATED BY THE PURCHASED ASSETS, (X)
CONTRACTUAL, ECONOMIC, FINANCIAL INFORMATION AND/OR OTHER DATA
AND ANY RELATED ESTIMATIONS OR PROJECTIONS MADE IN SALE
PRESENTATIONS OR MARKETING MATERIALS, (XI) CONTINUED FINANCIAL
VIABILITY, INCLUDING PRESENT OR FUTURE VALUE OR ANTICIPATED INCOME OR
PROFITS, (XII) THE CONTENT, CHARACTER OR NATURE OF ANY INFORMATION
MEMORANDUM, REPORTS, BROCHURES, CHARTS OR STATEMENTS PREPARED BY
THIRD PARTIES, (XIII) ANY IMPLIED OR EXPRESS WARRANTY OF FREEDOM FROM
INTELLECTUAL PROPERTY INFRINGEMENT, MISAPPROPRIATION OR OTHER
VIOLATION OR (XIV) ANY OTHER MATTER WHATSOEVER (INCLUDING THE
ACCURACY OR COMPLETENESS OF ANY INFORMATION PROVIDED TO THE
BUYER), IT BEING EXPRESSLY UNDERSTOOD AND AGREED BY THE PARTIES THAT
THE BUYER WILL BE DEEMED TO BE OBTAINING THE PURCHASED ASSETS IN
THEIR PRESENT STATUS, CONDITION AND STATE OF REPAIR, “AS IS” AND WITH
ALL FAULTS AND THAT THE BUYER HAS MADE OR CAUSED TO BE MADE SUCH
INSPECTIONS AS THE BUYER DEEMS APPROPRIATE AND THE BUYER
IRREVOCABLY WAIVES ANY AND ALL CLAIMS IT MAY HAVE AGAINST THE
SELLING ENTITIES ASSOCIATED WITH THE SAME. THE BUYER FURTHER
ACKNOWLEDGES AND AGREES THAT THE CONSIDERATION FOR THE PURCHASED
ASSETS SPECIFIED IN THIS AGREEMENT HAS BEEN AGREED UPON BY THE SELLING
ENTITIES AND THE BUYER AFTER GOOD-FAITH ARMS-LENGTH NEGOTIATION IN
LIGHT OF THE BUYER’S AGREEMENT TO PURCHASE THE PURCHASED ASSETS “AS
IS”, “WHERE IS” AND “WITH ALL FAULTS.”

                                        ARTICLE VII

                             COVENANTS OF THE PARTIES

       Section 7.1    Conduct of Business of Selling Entities.

               (a)    Except (A) as set forth on Section 7.1 of the Disclosure Schedule, (B) as
required or approved by any Order of the Bankruptcy Court, (C) as required by applicable Law
(including the Bankruptcy Code) or Order, (D) as expressly required by the terms of this
Agreement or any other Transaction Document or (E) as otherwise consented to in writing by the
Buyer (such consent not to be unreasonably withheld, conditioned or delayed), during the period
commencing on the date of this Agreement and continuing through the Closing or the earlier valid
termination of this Agreement in accordance with its terms, the Selling Entities shall not:

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             (i)    acquire any material assets, tangible or intangible, other than
Excluded Assets and other than the acquisition of Inventory, in the ordinary course of
business;

                (ii)   sell, lease (as lessor), transfer or otherwise dispose of (or permit to
become subject to any additional Encumbrance, other than Permitted Encumbrances,
Encumbrances arising under any Bankruptcy Court Orders relating to the use of cash
collateral (as defined in the Bankruptcy Code) and Encumbrances arising in connection
with any debtor-in-possession financing of the Selling Entities) any Purchased Assets;

                (iii) sell, assign, transfer, lease, abandon, license or sublicense, allow to
let lapse, terminate or expire, grant an Encumbrance with respect to, or otherwise dispose
of any Seller IP, except (A) Permitted Encumbrances, (B) expirations of contractual
obligations pursuant to their terms, and (C) abandonment or expiration of Registered IP
upon the expiration of its term or in the ordinary course of business;

               (iv)   enter into any joint venture agreement that involves a sharing of
profits, cash flows, expenses or losses with other Persons related to or affecting the
Purchased Assets;

               (v)    take any action (other than any actions required by the Bankruptcy
Court or applicable Law) in breach of the Bidding Procedures Order or the Sale Order;

               (vi)    with respect to any Purchased Asset, (A) agree to allow any form of
relief from the automatic stay in the Bankruptcy Cases or (B) fail to use reasonable best
efforts to oppose any action by a third party to obtain relief from the automatic stay in the
Bankruptcy Cases;

               (vii) voluntarily pursue or seek, or fail to use commercially reasonable
efforts to oppose any third party in pursuing or seeking, a conversion of the Bankruptcy
Cases to cases under Chapter 7 of the Bankruptcy Code, the appointment of a trustee under
Chapter 11 or Chapter 7 of the Bankruptcy Code and/or the appointment of an examiner
with expanded powers;

                (viii) with respect to any Purchased Asset or Assumed Liability, change,
make or revoke any material Tax election, change any method of accounting with respect
to Taxes, file any amended Tax Return, surrender or compromise any right to claim a Tax
refund, settle or compromise any claim, notice, audit, assessment or other proceeding
related to Taxes, enter into any agreement affecting any Tax liability or any refund or file
any request for ruling or special Tax incentives with any Governmental Authority, enter
into any Tax allocation, sharing or indemnity agreement, or extend or waive the statute of
limitations period applicable to any Tax or Tax Return or take or cause (or cause any other
Person to take or cause) any action, in each case, if such action would reasonably be
expected to (A) adversely affect the Purchased Assets in any period other than the Pre-
Closing Tax Period or (B) increase the Buyer’s or any of its Affiliates’ Liability for Taxes
with respect to the Purchased Assets or the Assumed Liabilities; or



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                        (ix)    authorize any of the foregoing, or commit or agree to do any of the
        foregoing.

                (b)     The Buyer agrees that, between the date of this Agreement and the Closing
or the earlier valid termination of this Agreement in accordance with its terms, it shall not, and
shall cause its Affiliates not to, directly or indirectly, take any action that would, or would
reasonably be expected to, individually or in the aggregate, prevent or materially impede, interfere
with or delay the consummation of the Transactions, except as required by any Order of the
Bankruptcy Court, as required by applicable Law, or as otherwise consented to in writing by the
Selling Entities.

        Section 7.2     Access to and Delivery of Information; Maintenance of Records.

                (a)       Between the date of this Agreement and the Closing Date or the earlier valid
termination of this Agreement in accordance with its terms, to the extent permitted by Law, the
Selling Entities shall, during ordinary business hours and upon the reasonable prior request from
the Buyer, give the Buyer and the Buyer’s Representatives reasonable access (at the Buyer’s sole
expense) to (i) the Seller’s Representatives possessing information relating to the Purchased Assets
and Assumed Liabilities, (ii) all books, records and other documents and data relating to the
Purchased Assets and Assumed Liabilities in the locations in which they are normally maintained,
and (iii) subject to all applicable Law, all offices and other facilities of the Selling Entities included
in the Purchased Assets, to make such investigation and physical inspection of the Purchased
Assets and the Assumed Liabilities as it reasonably requests; provided, however, that, in
connection with such access, the Buyer and the Buyer’s Representatives shall minimize disruption
to the Business, the Bankruptcy Cases and the Auction; provided, further, that in connection with
the Buyer’s and/or the Buyer’s Representatives’ access of such offices and other facilities, the
Buyer and/or the Buyer’s Representatives shall be accompanied at all times by a Representative
of the Selling Entities unless the Seller otherwise agrees, shall not materially interfere with the use
and operation of such offices and other facilities, and shall comply with all reasonable safety and
security rules and regulations for such offices and other facilities. Notwithstanding anything to the
contrary contained in this Agreement, the Selling Entities may restrict the foregoing access and
shall not be required to (A) provide any information or access that the Selling Entities reasonably
believe would violate applicable Law, including antitrust Laws and data protection Laws or the
terms of any applicable Contract (including confidentiality obligations) or jeopardize any attorney-
client privilege or an expectation of client confidence or any other rights to any evidentiary
privilege (such limitations, “Disclosure Limitations”); provided that if any such information or
access is withheld pursuant to a Disclosure Limitation, the Seller shall, to the extent possible
without violating legal restrictions or losing attorney-client privilege, inform the Buyer of such
fact and provide a description of the general nature of what is being withheld, and the parties hereto
shall use commercially reasonable efforts to obtain any consents necessary, restructure the form
of access or make other arrangements, so as to permit the access requested, (B) provide any
information relating to the sale process, bids received from other Persons in connection with the
Transactions and information and analysis (including financial analysis) relating to such bids or
(C) conduct, or permit the Buyer or any of its Representatives to conduct, any Phase I or Phase II
environmental site assessment or investigation, or other environmental sampling relating to any
real property leased, subleased or otherwise occupied by any Selling Entity.


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                 (b)      From and after the Closing, for a period of five (5) years following the
Closing Date (or, if later, the closing of the Bankruptcy Cases), the Buyer will provide the Selling
Entities (and their respective successors) and their respective Representatives, at the Seller’s sole
expense, with reasonable access, during normal business hours, and upon reasonable advance
notice, subject to reasonable denials of access or delays to the extent any such access would
unreasonably interfere with the operations of the Buyer or the Business, to the books and records,
including work papers, schedules, memoranda, and other documents (for the purpose of examining
and copying) relating to the Purchased Assets or the Assumed Liabilities with respect to periods
or occurrences prior to the Closing Date, for the purposes of (i) complying with the requirements
of any Governmental Authority, including the Bankruptcy Court, (ii) the closing of the Bankruptcy
Cases and the wind down of the Selling Entities’ estates (including reconciliation of Claims), (iii)
making insurance Claims, (iv) complying with applicable Laws and (v) any Proceeding to which
any Selling Entity is a party (other than any Proceeding involving the Buyer or any of its
Affiliates); provided that the Buyer shall not be obligated to provide any such access that would
conflict with the Disclosure Limitations; provided, further, that if any such information or access
is withheld pursuant to a Disclosure Limitation, the Buyer shall, to the extent possible without
violating legal restrictions or losing attorney-client privilege, inform the Seller of such fact and
provide a description of the general nature of what is being withheld, and the parties hereto shall
use commercially reasonable efforts to obtain any consents necessary, restructure the form of
access or make other arrangements, so as to permit the access requested. From and after the Closing
until the date that is sixty (60) days following the Closing Date (the “Transition Period”), the Seller
will provide or cause to be provided to the Buyer and its Representatives, at the Buyer’s sole
expense, reasonable access, during normal business hours, and upon reasonable advance notice,
subject to reasonable denials of access or delays to the extent any such access would unreasonably
interfere with the operations of the Seller (provided that, in the event of any such denial or delay
of access, the Transition Period shall be extended by the number of days for which such access
was denied or delayed), (i) to the Seller’s employees possessing information relating to the
Purchased Assets and (ii) to all owned or leased offices and other facilities of the Selling Entities
for the purpose of allowing the Buyer to remove the tangible Purchased Assets from the Selling
Entities to facilities owned, leased or designated by the Buyer (including, for the avoidance of
doubt, the Lordstown Assembly plant in Lordstown, Ohio). In connection with such access, the
Buyer and the Buyer’s Representatives shall be subject to the Disclosure Limitations and shall be
accompanied at all times by a Representative of the Selling Entities unless the Seller otherwise
agrees, shall not materially interfere with the use and operation of such offices and other facilities
or the obligations of such employees to the Selling Entities, and shall comply with all reasonable
safety and security rules and regulations for such offices and other facilities; provided, that if any
such information or access is withheld pursuant to a Disclosure Limitation, the Seller shall, to the
extent possible without violating legal restrictions or losing attorney-client privilege, inform the
Buyer of such fact and provide a description of the general nature of what is being withheld, and
the parties hereto shall use commercially reasonable efforts, at the Buyer’s sole cost, to obtain any
consents necessary, restructure the form of access or make other arrangements, so as to permit the
access requested. Nothing in this Agreement shall restrict or prohibit any Selling Entity from
retaining physical or electronic copies of any books, records or files for the purpose of the Selling
Entities’ bona fide ordinary course internal record-keeping or as otherwise required by applicable
Laws or by any Order.



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               (c)     All information obtained by the Buyer or the Buyer’s Representatives
pursuant to Section 7.2(a) shall be subject to the terms of the Confidentiality Agreement.

       Section 7.3 Expenses. Except to the extent otherwise specifically provided herein or the
Sale Order, whether or not the Transactions are consummated, all costs and expenses incurred in
connection with this Agreement and the Transactions shall be borne by the party hereto incurring
such costs and expenses. Notwithstanding anything to the contrary herein, the removal, transport
and any other transfer of the Purchased Assets shall be at the sole cost and expense of the Buyer.

       Section 7.4     Further Assurances.

                 (a)    Subject to the terms and conditions of this Agreement, at all times prior to
the earlier of the Closing and the termination of this Agreement in accordance with its terms, each
of the Buyer and each Selling Entity shall use its commercially reasonable efforts to take, or cause
to be taken, all actions, and to do, or cause to be done, all things reasonably necessary, proper or
advisable under applicable Laws to consummate and make effective the Transactions.

                (b)      From time to time, on or after the Closing Date until the dissolution and
liquidation of the Selling Entities, to the extent the applicable officers, contractors or employees
of the Selling Entities continue in such position at such time, the Selling Entities shall execute and
deliver such other instruments of transfer to the Buyer as are reasonably necessary and as the Buyer
may reasonably request in order to more effectively vest in the Buyer all of the Selling Entities’
right, title and interest to the Purchased Assets, free and clear of all Encumbrances (other than
Permitted Encumbrances).

                (c)     Nothing in this Section 7.4 shall (i) require the Selling Entities to make any
expenditure or incur any obligation on their own or on behalf of the Buyer, (ii) prohibit any Selling
Entity from ceasing operations, terminating employees or winding up its affairs following the
Closing, or (iii) prohibit the Selling Entities from taking such actions as are necessary to conduct
the Auction, as are required by the Bankruptcy Court or as would otherwise be permitted under
Section 7.1.

        Section 7.5 Public Statements. The initial press release relating to this Agreement shall
be a joint press release, the text of which shall be agreed to in writing by the Buyer, on the one
hand, and the Seller, on the other hand. Unless otherwise required by or reasonably necessary to
comply with applicable Law, Bankruptcy Court requirements or the rules or regulations of any
applicable securities exchange, and except for disclosure of matters that become a matter of public
record as a result of the Bankruptcy Cases and any filings or notices related thereto, the Buyer, on
the one hand, and the Seller, on the other hand, shall consult with each other before either such
party or their respective Affiliates or Representatives issue any other press release or otherwise
makes any public statement with respect to this Agreement, the Transactions or the activities and
operations of the other parties hereto and shall not, and shall cause their respective Affiliates and
Representatives not to, issue any such release or make any such statement without the prior written
consent of the Seller or the Buyer, respectively (such consent not to be unreasonably withheld,
conditioned or delayed), except that no such consent shall be necessary to the extent disclosure is
made by the Seller or its Affiliates in any filing made to with Bankruptcy Court in connection with
this Agreement or the Bankruptcy Cases; provided that nothing in this Agreement shall restrict or

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prohibit the Seller, the Buyer or their respective Affiliates from making any announcement to their
respective employees, customers and other business relations to the extent such announcement is
consistent in all material respects with previous press releases, public disclosures or public
statements made by any party hereto in accordance with this Agreement, including in investor
conference calls, SEC filings, Q&As or other publicly disclosed statements or documents, in each
case, to the extent such disclosure is still accurate in all material respects (and not misleading).

         Section 7.6 Reasonable Best Efforts Governmental Authority Approvals and
Cooperation. The Buyer shall and shall cause its Affiliates to: (i) as promptly as practicable
following the date hereof, take all actions necessary to file or cause to be filed the filings required
of it or any of its Affiliates with any applicable Governmental Authority or required under
applicable Law in connection with the Transaction Documents and the Transactions; (ii) at the
earliest practicable date comply with (or properly reduce the scope of) any formal or informal
request for additional information or documentary material received by it or any of its Affiliates
from any Governmental Authority; (iii) consult and cooperate with the Seller and its Affiliates and
their respective Representatives, and consider in good faith the views of the Seller and its Affiliates
and their respective Representatives, in connection with any analyses, appearances, presentations,
memoranda, briefs, arguments, opinions and proposals made or submitted by or on behalf of any
party hereto in connection with proceedings under or relating to any applicable Laws (including
in connection with any so called “second request”, subpoena, interrogatory or deposition by any
regulatory authority) and (iv) without limiting the foregoing, use their respective reasonable best
efforts to take or cause to be taken all actions, and do or cause to be done, and assist and cooperate
with the other parties hereto in doing, all things reasonably necessary, proper or advisable on its
part under this Agreement and applicable Laws to consummate and make effective the
Transactions as promptly as reasonably practicable, including negotiating, preparing and filing as
promptly as reasonably practicable all documentation to effect all necessary notices, reports and
other filings, to obtain as promptly as reasonably practicable all Consents necessary or advisable
to be obtained from any third party in connection with the execution, delivery and performance of
this Agreement and the consummation of the Transactions. The Selling Entities shall (A) as
promptly as practicable following the date hereof, take all actions necessary to file or cause to be
filed the filings required of it or any of its Affiliates under any applicable Laws in connection with
this Agreement and the Transactions; (B) consult and cooperate with the Buyer, and consider in
good faith the views of the Buyer, in connection with any filings, analyses, appearances,
presentations, memoranda, briefs, arguments, opinions and proposals made or submitted by or on
behalf of any party hereto in connection with proceedings under or relating to any applicable Laws
(including in connection with any so called “second request”, subpoena, interrogatory or
deposition by any regulatory authority) and (C) without limiting the foregoing and subject to
Section 2.5(g), use, their respective reasonable best efforts to take or cause to be taken all actions,
and do or cause to be done, and assist and cooperate with the other parties hereto in doing, all
things reasonably necessary, proper or advisable on its part under this Agreement and applicable
Laws to consummate and make effective the Transactions as promptly as reasonably practicable,
including negotiating, preparing and filing as promptly as reasonably practicable all
documentation to effect all necessary notices, reports and other filings and to obtain as promptly
as reasonably practicable all Consents necessary or advisable to be obtained from any third party
in connection with the execution, delivery and performance of this Agreement and the
consummation of the Transactions. Each of the Buyer and the Selling Entities will promptly notify
the other parties hereto (including the Seller) of any written communication made to or received
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by such party or its Affiliates or their respective Representatives from any Governmental Authority
regarding the Transactions, and, subject to applicable Law, if practicable, permit the other parties
hereto to review in advance any proposed substantive written communication to any such
Governmental Authority and consider in good faith and incorporate such other parties’ hereto
reasonable comments, not agree to participate in any substantive meeting or discussion with any
such Governmental Authority in respect of any filing, investigation or inquiry concerning this
Agreement or the Transactions unless, to the extent reasonably practicable, it consults with the
such other parties in advance and, to the extent permitted by such Governmental Authority, gives
such other parties the opportunity to attend, and furnish such other parties with copies of all
correspondence, filings and written communications between them and their Affiliates and their
respective Representatives on one hand and any such Governmental Authority or its respective
staff on the other hand, with respect to this Agreement and the Transactions.

       Section 7.7     Employee Matters.

                (a)    From and after the date hereof, the Buyer may, in coordination with the
Seller, contact and communicate with the employees of Seller regarding employment opportunities
with the Buyer; provided such contact and communications shall not interfere with the Selling
Entities’ operations. At least five (5) Business Days prior to the Closing, the Buyer shall make a
written offer of employment, the form of which Seller will have had a reasonable opportunity to
review and comment on, to commence as of the Closing, to each of the Employees listed in Section
7.7 of the Disclosure Schedule (each such Employee, an “Offered Employee”). The Buyer shall
be entitled to modify Section 7.7 of the Disclosure Schedule until the date that is six (6) Business
Days prior to the Closing. Each Offered Employee who receives and accepts such an offer of
employment with the Buyer is referred to herein as a “Transferred Employee”, and the Buyer shall
employ each Transferred Employee in accordance with such accepted offer as of the Closing.

                 (b)     The provisions of this Section 7.7 are for the sole benefit of the Buyer and
the Selling Entities and nothing herein, express or implied, is intended or shall be construed to
confer upon or give any Person (including for the avoidance of doubt any Employees or
Transferred Employees), other than the Buyer and the Selling Entities and their respective
permitted successors and assigns, any legal or equitable or other rights or remedies (with respect
to the matters provided for in this Section 7.7 or under or by reason of any provision of this
Agreement). Nothing contained herein, express or implied: (i) shall be construed to establish,
amend, or modify any benefit plan, program, agreement or arrangement, (ii) shall, subject to
compliance with the other provisions of this Section 7.7, alter or limit Buyer’s or any Selling
Entity’s ability to amend, modify or terminate any particular benefit plan, program, agreement or
arrangement or (iii) is intended to confer upon any current or former employee any right to
employment or continued employment for any period of time by reason of this Agreement, or any
right to a particular term or condition of employment. The Selling Entities shall retain all Liabilities
related to the employment or termination of employment of any current or former officer, director,
employee or service provider, in each case, by the Selling Entities and their Affiliates; provided
that the Buyer shall retain all Liabilities related to the employment or termination of employment
of any Transferred Employee by or with the Buyer arising following the Closing Date.

       Section 7.8     Tax Matters.


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                (a)     Any sales, use, goods and services, harmonized sales, real property,
property transfer or gains, gross receipts, documentary, stamp, registration, recording or similar
Tax payable in connection with the sale or transfer of the Purchased Assets and the assumption of
the Assumed Liabilities pursuant to this Agreement (“Transfer Taxes”) shall, to the extent not
subject to an exemption under the Bankruptcy Code, including Section 1146(a) of the Bankruptcy
Code be borne by the Buyer. The Buyer shall pay such Transfer Taxes in addition to the Purchase
Price, either to the appropriate Selling Entity or Selling Entities or to the relevant Governmental
Authorities, as required by applicable Law. The Selling Entities and the Buyer shall use their
commercially reasonable efforts and cooperate in good faith to reduce, mitigate and exempt the
sale and transfer of the Purchased Assets from any such Transfer Taxes. The Buyer, at its own
expense, shall prepare and file all necessary Tax Returns or other documents with respect to all
such Transfer Taxes and shall provide a copy of any such Tax Returns or other documents to
Selling Entities. Any reimbursement payment by the Buyer to a Selling Entity of Transfer Taxes
shall be treated by the Buyer and the Selling Entities as additional Purchase Price.

                (b)      After Closing, Buyer and Seller shall cooperate (and in the case of Seller
shall cause the other Selling Entities to cooperate) fully as and to the extent reasonably requested
by the other party, in connection with the filing of Tax Returns and the conduct of Tax Proceedings.
Such cooperation shall include (upon the other party’s request) the provision of records and
information which are reasonably relevant to any such Tax Return or Tax Proceeding and making
employees available on a mutually convenient basis to provide additional information and
explanation of any material provided hereunder; provided, however, that the Buyer and its
Affiliates shall not be required to disclose the contents of their Tax Returns to any Person. Any
reasonable expenses incurred in such cooperation or in furnishing such record and information
pursuant to this Section 7.8(b) shall be borne by the party requesting it.

                (c)     For purposes of allocating any Tax imposed with respect to the ownership
of the Purchased Assets or the ownership or operation of the Business that relates to a Straddle
Period, the parties shall use the following conventions for determining the portion of such Tax that
relates to a Pre-Closing Tax Period: (i) in the case of personal property and real property Taxes or
other similar Taxes imposed on a periodic basis, the amount of Taxes (or Tax refunds) attributable
to the Pre-Closing Tax Period shall be determined by multiplying the Taxes for the entire period
by a fraction, the numerator of which is the number of calendar days in the portion of the period
ending on the Closing Date and the denominator of which is the number of calendar days in the
entire period; and (ii) in the case of all other Taxes (including income Taxes, employment Taxes
and sales and use Taxes), the amount of Taxes attributable to the Pre-Closing Tax Period shall be
determined as if a separate return was filed for the period ending as of the end of the day on the
Closing Date using a “closing of the books methodology.”

                (d)     The Buyer and the Selling Entities shall, and shall cause their respective
Affiliates to, consistently treat the transactions described in Article II for all Tax purposes as a
fully taxable disposition of the Purchased Assets in exchange for the Purchase Price.

       Section 7.9     Submission for Bankruptcy Court Approval.

             (a)    Each of the Selling Entities and the Buyer acknowledges that this
Agreement and the sale of the Purchased Assets to the Buyer, the assignment of the Assumed

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Agreements to the Buyer and the assumption of the Assumed Liabilities by the Buyer are subject
to Bankruptcy Court approval. The Buyer acknowledges that (i) to obtain such approval, the
Selling Entities must demonstrate that they have taken reasonable steps to obtain the highest and
otherwise best offer possible for the Purchased Assets (as further set out in Section 7.10), and (ii)
the Buyer must provide adequate assurance of future performance as required under the
Bankruptcy Code with respect to each Assumed Agreement. The Buyer agrees that it will promptly
take such actions as are reasonably requested by the Seller or the Selling Entities to assist in
obtaining entry of the Sale Order and a finding of adequate assurance of future performance by the
Buyer of the Assumed Agreements, including furnishing affidavits or other documents or
information for filing with the Bankruptcy Court for the purposes, among others, of providing
necessary assurances of performance by the Buyer under this Agreement and demonstrating that
the Buyer is a “good faith” purchaser under section 363(m) of the Bankruptcy Code. The Selling
Entities shall give notice under the Bankruptcy Code of the request for the relief specified in the
Motions to all Persons entitled to such notice, including all Persons that have asserted
Encumbrances in the Purchased Assets and all non-debtor parties to the Assumed Agreements,
and other appropriate notice, including such additional notice as the Bankruptcy Court shall direct
or as the Buyer may reasonably request, and provide appropriate opportunity for hearing, to all
parties entitled thereto, of all motions, Orders, hearings, or other Proceedings in the Bankruptcy
Court relating to this Agreement or the Transactions. The Selling Entities shall be responsible for
making all appropriate filings relating thereto with the Bankruptcy Court, which filings shall be
submitted, to the extent practicable, to the Buyer prior to their filing with the Bankruptcy Court
for the Buyer’s prior review.

                 (b)    Each Selling Entity and the Buyer shall promptly consult with one another
regarding pleadings which any of them intends to file with the Bankruptcy Court (i) in connection
with, or which might reasonably affect the Bankruptcy Court’s approval of the Sale Order or (ii)
that relate to this Agreement, the Transactions or the Transaction Documents, in each case, at least
two (2) days prior to making any such filing. Each Selling Entity shall promptly provide the Buyer
and its counsel with copies of all notices, filings and Orders of the Bankruptcy Court that such
Selling Entity receives pertaining to the motion for approval of the Bidding Procedures Order or
the Sale Order or any other Order related to any of the Transactions, but only to the extent such
papers are not publicly available on the Bankruptcy Court’s docket or otherwise made available to
the Buyer and its counsel.

                (c)     If the Bidding Procedures Order, the Sale Order, or any other Orders of the
Bankruptcy Court relating to this Agreement or the Transactions shall be appealed by any Person
(or if any petition for certiorari or motion for reconsideration, amendment, clarification,
modification, vacation, stay, rehearing or reargument shall be filed with respect to the Bidding
Procedures Order, the Sale Order or other such Order), subject to rights otherwise arising from this
Agreement, the Selling Entities shall promptly notify the Buyer thereof and promptly provide a
copy of the related filing. The Selling Entities shall also provide the Buyer with notice of any
filings with the Bankruptcy Court filed in connection with any such appeal. The Selling Entities
agree to use commercially reasonable efforts to defend against or prosecute such appeal, petition
or motion and obtain an expedited resolution of any such appeal, petition or motion, including
drafting pleadings and attending hearings, and the Buyer shall use commercially reasonable efforts
to assist the Selling Entities in such defense or prosecution and any efforts to obtain an expedited
resolution thereof to the extent reasonably requested by the Selling Entities.

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       Section 7.10 Competing Bids; Overbid Procedures; Adequate Assurance.

                (a)    The Buyer and the Selling Entities acknowledge that the Selling Entities
must take reasonable steps to demonstrate that they have sought to obtain the highest or otherwise
best price for the Purchased Assets, including giving notice thereof to the creditors of the Selling
Entities and other interested parties, providing information about the Selling Entities’ business to
prospective bidders, entertaining higher and better offers from such prospective bidders, and, if
additional qualified prospective bidders desire to bid for the Purchased Assets, conducting an
auction (the “Auction”), in each case, as and to the extent set forth in the Bidding Procedures
Order.

                 (b)     The bidding procedures to be employed with respect to this Agreement and
any Auction shall be those reflected in the Bidding Procedures Order as of the date hereof. The
Buyer agrees to be bound by and accept the terms and conditions of the Bidding Procedures Order
as approved by the Bankruptcy Court as of the date hereof. The Buyer and each Selling Entity
agrees that this Agreement and the consummation of the Transactions are subject to the right of
the Selling Entities and their Affiliates and Representatives to seek, solicit, invite, encourage,
consider, discuss and negotiate higher or better Competing Bids in accordance with the Bidding
Procedures Order. From the date hereof (and any prior time) and until the date of entry of the Sale
Order by the Bankruptcy Court with respect to this Agreement and the Transactions, the Selling
Entities and their Affiliates are permitted to and are permitted to cause their Representatives and
Affiliates to, initiate contact with, solicit or encourage submission of any inquiries, proposals or
offers by, any Person (in addition to the Buyer and its Affiliates and Representatives) in connection
with a Competing Bid, including, to (and to cause their Representatives and Affiliates to) respond
to any inquiries or offers to purchase all or any part of the Purchased Assets, (including supplying
information relating to the Business and the assets of the Selling Entities to prospective
purchasers).

               (c)     If an Auction is conducted, and the Buyer is not the prevailing bidder at the
Auction but is the next highest bidder at the Auction, the Buyer shall serve as a back-up bidder
(the “Back-Up Bidder”) and keep the Buyer’s bid to consummate the Transactions on the terms
and conditions set forth in this Agreement (as the same may be improved upon in the Auction as
agreed to by the Buyer and the Selling Entities) open and irrevocable, and the Buyer shall not
terminate this Agreement in accordance with Section 9.1(b)(ii) or Section 9.1(b)(iii),
notwithstanding any right of the Buyer to otherwise terminate this Agreement pursuant to
Article IX hereof, until the earlier of (i) the Outside Date, (ii) the date of the consummation of an
Alternative Transaction and (iii) the termination of this Agreement in accordance with the terms
hereof. Following the Sale Hearing and prior to the Outside Date, if the prevailing bidder in the
Auction terminates their prevailing bid prior to consummation of an Alternative Transaction, the
Buyer (if designated as the Back-Up Bidder) will be deemed to have the new prevailing bid, and
the Selling Entities will be authorized, without further Order of the Bankruptcy Court, to
consummate the Transactions with the Buyer on the terms and subject to the conditions set forth
in this Agreement (as the same may be improved upon in the Auction as agreed to by the Buyer
and the Selling Entities).

             (d)     The Buyer shall provide adequate assurance as required under the
Bankruptcy Code of the future performance by the Buyer of each Assumed Agreement. The Buyer

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agrees that it will promptly take all actions reasonably required to assist in obtaining a Bankruptcy
Court finding that there has been an adequate demonstration of adequate assurance of future
performance under the Assumed Agreements, such as furnishing affidavits, non-confidential
financial information and other documents or information for filing with the Bankruptcy Court and
making the Buyer’s Representatives available to testify before the Bankruptcy Court.

                (e)     The Selling Entities and the Buyer agree, and the Selling Entities shall
include in any motion to approve or other documents filed in support of entry of the Sale Order
shall reflect the fact, that the provisions of this Agreement, including this Section 7.10, are
reasonable, were a material inducement to the Buyer to enter into this Agreement and are designed
to achieve the highest and best price for the Purchased Assets and Assumed Liabilities.

        Section 7.11 Non-Contact. From the date hereof until the earlier to occur of the Closing
and the date that this Agreement is validly terminated in accordance with its terms, except for (i)
any meetings between the Buyer and its Affiliates, on the one hand, and the Offered Employees,
on the other hand, in accordance with Section 7.7, and/or (ii) any contacts between the Buyer, its
Affiliates and its and their Representatives, on the one hand, and any officer, customer or supplier
of any Selling Entity, on the other hand, in each case for the purpose of making effective the
Transactions, for which the Buyer provided the Seller with advance written notice and an
opportunity to participate in such contacts, none of the Buyer, its Affiliates and its and their
Representatives acting on their behalf shall initiate or maintain contact with any person known by
the Buyer, its Affiliates or such Representatives to be a director, officer, employee, supplier,
customer, partner, accountant, stockholder, insurer or creditor of any Selling Entity or any of its
Affiliates regarding the contemplated Transaction without the prior express written permission of
the Seller.

        Section 7.12 Wrong Pocket.

                (a)      Subject to the terms of this Agreement (including Section 2.5 and
Section 7.4(c)) and the other Transaction Documents, during the period ending on the earlier of
(x) the liquidation or dissolution of the Selling Entities, and (y) the date that is one (1) year
following the Closing, if either the Buyer or any Selling Entity becomes aware that any right,
property or asset forming part of the Purchased Assets has not been transferred to the Buyer or that
any right, property or asset not forming part of the Purchased Assets has been transferred to the
Buyer, it shall promptly notify the such other parties hereto and the Buyer or the Selling Entity, as
applicable, shall, as soon as reasonably practicable thereafter, ensure that such right, property or
asset (and any related Liability) is transferred at the expense of the party that is seeking the assets
to be transferred to it and with any necessary prior Consent, to (i) the Buyer, in the case of any
right, property or asset forming part of the Purchased Assets which was not transferred to the Buyer
at or in connection with the Closing, or (ii) the Seller, in the case of any right, property or asset not
forming part of the Purchased Assets which was transferred to the Buyer at the Closing.

                (b)     The Selling Entities, on the one hand, and the Buyer, on the other hand, each
agree that, after the Closing, each will, to the extent permitted by applicable Law and subject to
Section 7.4(c), hold in trust for the other’s benefit and accounts and will promptly transfer and
deliver to the other, from time to time as and when received by such party or its Affiliates, any
cash, checks with appropriate endorsements, payment of an account, trade, note receivable or other

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payment or other property or assets that such party or its Affiliates may receive on or after the
Closing which properly belongs to such other party or their respective Affiliates pursuant to the
terms of this Agreement.

        Section 7.13 Insurance. From and after the Closing, the Business and the Purchased
Assets shall cease to be insured by the Selling Entities’ current and historical insurance policies or
programs or by any of their current and historical self-insured programs, and neither the Buyer nor
its Affiliates shall have any access, right, title or interest to or in any such insurance policies,
programs or self-insured programs (including to all Claims and rights to make Claims and all rights
to proceeds) to cover any Purchased Assets or any loss arising from the operation of the Business,
in each case, including with respect to all known and incurred but not reported Claims. The Selling
Entities or any of their respective Affiliates may amend, at the Closing, any insurance policies and
ancillary arrangements in the manner they deem appropriate to give effect to this Section 7.13,
provided, that nothing herein shall be deemed to effect an assignment of any insurance policies
that, pursuant to their terms and conditions, may not be assigned without the insurer’s consent.

        Section 7.14 Acknowledgements. The Buyer agrees, warrants and represents that (a) the
Buyer is purchasing the Purchased Assets on an “AS IS”, “WHERE IS” and “WITH ALL
FAULTS” basis based solely on the Buyer’s own investigation of the Purchased Assets and (b)
except for the representations and warranties of the Selling Entities set forth in Article V, neither
the Selling Entities nor any of the Seller’s Representatives has made any warranties,
representations or guarantees, express, implied or statutory, written or oral, respecting the
Purchased Assets, any part of the Purchased Assets, the financial performance of the Purchased
Assets or the Business, or the physical condition of the Purchased Assets. The Buyer further
acknowledges that the consideration for the Purchased Assets specified in this Agreement has been
agreed upon by the Selling Entities and the Buyer after good-faith arms-length negotiation in light
of the Buyer’s agreement to purchase the Purchased Assets “AS IS”, “WHERE IS” and “WITH
ALL FAULTS.” The Buyer agrees, warrants and represents that, except as set forth in this
Agreement (including the representations and warranties of the Selling Entities set forth in Article
V), the Buyer has relied, and shall rely, solely upon its own investigation of all such matters, and
that the Buyer assumes all risks with respect thereto.

        Section 7.15 Name Change. The Selling Entities shall, as promptly as practicable (but in
no event later than six (6) months) after the Closing, cease using and displaying (other than in their
corporate and business names) any Seller Brand Names that are included in the Purchased Assets,
and in accordance with such requirement, the Selling Entities shall use commercially reasonable
efforts to, no later than one year after the Closing, legally change their corporate and business
names (to the extent such names include any such Seller Brand Names or a confusingly similar
Trademark) to names that are not confusingly similar to such Seller Brand Names, and file notices
of any such name changes with the Bankruptcy Court. Under no circumstance shall the Selling
Entities, after the Closing, use or otherwise exploit the Seller Brand Names included in the
Purchased Assets or any other indicia confusingly similar to the Seller Brand Names included in
the Purchased Assets, or Copyrights included in the Purchased Assets as a source identifier in
connection with any product, service or domain name. Any use of the Seller Brand Names by the
Selling Entities as permitted under this Section 7.15 shall be consistent in all material respects
(including with respect to quality) with that in effect prior to the Closing and shall not reflect
negatively on the Seller Brand Names or the business conducted by Buyer thereunder.

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        Section 7.16 IP License. Effective as of the Closing, and to the extent it has rights to
freely do so (including without payment obligation to a third party), the Buyer hereby grants to the
Selling Entities a non-exclusive, fully paid-up, royalty-free, perpetual, irrevocable, sublicensable
license to the Seller IP solely to the extent that such Seller IP is used in connection with the
Excluded Assets as of the Closing and necessary for the Selling Entities to use, operate, transfer,
dispose of or otherwise manage the Excluded Assets, in whole or in part; provided that,
notwithstanding the foregoing, such license (a) shall not be used or otherwise exercised in
connection with the production or sale of vehicles, (b) shall be subject to maintenance in all cases
of the confidentiality of any and all Trade Secrets included in such Seller IP, and (c) shall be
revocable and limited to six (6) months solely with respect to the Trademarks included in the Seller
IP (and, for clarity, any use of such Trademarks shall be in accordance with Section 7.15).

        Section 7.17 Elaphe License Agreement. As promptly as practicable after the date hereof,
the Seller shall use reasonable best efforts and reasonably cooperate with Buyer in accordance with
the Seller’s and Buyer’s obligations under Section 2.5(g) to amend the Elaphe License Agreement
(the “Elaphe Amendment”) to (a) permit the Licensee to use the Licensed Products for any vehicle
designed, manufactured, used or sold by Licensee or its Affiliates in the Territory (in each case, as
defined in the Elaphe License Agreement) and (b) name the Buyer or its designee as the Licensee
(as defined in the Elaphe License Agreement).

        Section 7.18 Servers. The Selling Entities will use reasonable best efforts to, prior to the
Closing, (a) segregate information and data constituting Purchased Assets from information and
data constituting Excluded Assets, on the Purchased Servers and the Excluded Servers,
respectively, and (b) minimize the number of servers necessary to contain the information and data
constituting Excluded Assets. As soon as reasonably practicable after completion of such
segregation of data and information and prior to the Closing, the Seller will deliver to the Buyer
an executed certificate of an officer of the Seller certifying that such segregation has been
completed.

                                         ARTICLE VIII

                                 CONDITIONS TO CLOSING

        Section 8.1 Conditions to Each Party’s Obligations to Effect the Closing. The respective
obligations of each of the Selling Entities and the Buyer to consummate the Transactions shall be
subject to the satisfaction or, to the extent permitted by applicable Law, waiver in a joint writing
by the Buyer and the Seller, at or prior to the Closing, of the following conditions (provided that
such waiver shall only be effective as to the obligations of the Selling Entities, in the case of a
waiver by the Seller, and the Buyer, in the case of the Buyer):

              (a)    no Governmental Authority, including the Bankruptcy Court, shall have
enacted, issued, promulgated, enforced or entered any Law or Order (whether temporary,
preliminary or permanent) that enjoins, restrains, makes illegal or otherwise prohibits the
consummation of the Transactions (any such Order, a “Legal Restraint”); and

               (b)    the Bankruptcy Court shall have entered an Order substantially in the form
attached hereto as Exhibit A, as may be modified or amended with the written consent of the Seller

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and the Buyer (the “Sale Order”), and such Sale Order shall be a Final Order.

        Section 8.2 Conditions to Obligations of the Buyer. The obligation of the Buyer to
consummate the Transactions shall be subject to the fulfillment at or prior to the Closing of the
following additional conditions, any of which may be waived in writing by the Buyer in its sole
discretion:

               (a)    the Selling Entities shall have performed and complied in all material
respects with the covenants contained in this Agreement which are required to be performed and
complied with by them on or prior to the Closing Date;

                (b)     (i) each Fundamental Representation shall be true and correct in all respects
as of the date of this Agreement and as of the Closing Date as though made at and as of such time
(except for those representations and warranties which address matters only as of a specific date
in which case such representation or warranty shall have been true and correct as of such date), (ii)
the representations and warranties of the Selling Entities set forth in the last sentence of Section
5.5(c) shall be true and correct in all material respects as of the date of this Agreement and as of
the Closing Date as though made at and as of such time and (iii) the representations and warranties
of the Selling Entities set forth in Article V (other than the Fundamental Representations and the
representations and warranties set forth in the last sentence of Section 5.5(c)) (without giving effect
to any materiality or Material Adverse Effect qualifications set forth therein) shall be true and
correct as of the date of this Agreement and as of the Closing Date as though made at and as of
such time (except for those representations and warranties which address matters only as of a
specific date in which case such representation or warranty shall have been true and correct as of
such date), except for such failures to be true and correct as has not resulted in and would not
reasonably be expected to result in a Material Adverse Effect;

                (c)     the Buyer shall have received a duly executed certificate from an officer of
the Seller to the effect that the conditions set forth in Section 8.2(a) and (b) have been satisfied;
and

               (d)     the Buyer shall have received the items to be delivered to it pursuant to
Section 4.2.

        Section 8.3 Conditions to Obligations of the Selling Entities. The obligation of the
Selling Entities to consummate the Transactions shall be subject to the fulfillment at or prior to the
Closing of the following additional conditions, any of which may be waived in writing by the
Seller in its sole discretion:

              (a)    the Buyer shall have performed and complied in all material respects with
the covenants and agreements contained in this Agreement which are required to be performed
and complied with by the Buyer on or prior to the Closing Date;

                (b)     the representations and warranties of the Buyer set forth in Article VI
(without giving effect to any materiality qualifications set forth therein) shall be true and correct
as of the date of this Agreement and as of the Closing Date as though made at and as of such time
(except for those representations and warranties which address matters only as of a specific date
in which case such representation or warranty shall have been true and correct as of such date),
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except for such failures to be true and correct as would not reasonably be expected, individually
or in the aggregate, to prevent the Transactions;

               (c)     the Seller shall have received a duly executed certificate from an officer of
the Buyer to the effect that the conditions set forth in Section 8.3(a) and (b) have been satisfied;
and

               (d)     the Seller shall have received the items to be delivered to it pursuant to
Section 4.3.

        Section 8.4 Frustration of Closing Conditions. None of the Selling Entities or the Buyer
may rely on or assert the failure of any condition set forth in Article VIII to be satisfied if such
failure was proximately caused by such party’s failure to comply with this Agreement in all
material respects.

                                           ARTICLE IX

                                   TERMINATION; WAIVER

        Section 9.1 Termination. Subject to Section 7.10(c), this Agreement may be terminated
at any time prior to the Closing by:

               (a)     mutual written agreement of the Seller and the Buyer;

                (b)    written notice of either the Seller or the Buyer to such other party, and
subject to Section 7.10, if:

                      (i)     following the date hereof a Legal Restraint has come into effect that
       has become final and nonappealable; provided, that (x) the Seller may not terminate this
       Agreement pursuant to this Section 9.1(b)(i) if the existence of such Legal Restraint was
       proximately caused by a Selling Entity’s material breach of any of its obligations hereunder
       and (y) the Buyer may not terminate this Agreement pursuant to this Section 9.1(b)(i) if
       the existence of such Legal Restraint was proximately caused by the Buyer’s material
       breach of any of its obligations hereunder;

                        (ii) (x) any Selling Entity enters into a binding Contract for one or more
       Alternative Transactions with one or more Persons other than the Buyer or its Affiliates,
       or (y) the Bankruptcy Court approves an Alternative Transaction other than with the Buyer
       or its Affiliates;

                       (iii) the Closing shall not have occurred on or before October 31, 2023
       (the “Outside Date”); provided, that the right to terminate this Agreement under this
       Section 9.1(b)(iii) shall not be available to any party hereto if such party or its Affiliates is
       then in material breach of this Agreement that proximately caused the failure of the Closing
       to occur prior to such date; provided, further, that the right to terminate this Agreement
       pursuant to this Section 9.1(b)(iii) shall not be available to the Seller or the Buyer, as
       applicable, if the other party or parties hereto or their respective Affiliates have initiated
       proceedings prior to the Outside Date to specifically enforce this Agreement which such

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       proceedings are still pending; or

                      (iv)    (x) the Bankruptcy Cases applicable to the Selling Entities are,
       without the Seller’s consent, converted into cases under Chapter 7 of the Bankruptcy Code
       or dismissed, or (y) without the Seller’s consent, a trustee under the Bankruptcy Code is
       appointed in the Bankruptcy Cases applicable to the Selling Entities.

               (c)     the Seller if:

                      (i)     any of the representations and warranties of the Buyer contained in
       Article VI shall be inaccurate or shall have become inaccurate, and the condition set forth
       in Section 8.3(b) would not then be satisfied; provided, that at the time of such termination
       no Selling Entity is in breach of any of its representations, warranties, covenants or
       agreements contained herein, which breach would give rise to the failure of a condition in
       Section 8.2(a) or 8.2(b) to be satisfied;

                      (ii)     the Buyer shall have failed to perform or comply with any of the
       covenants or agreements contained in this Agreement to be performed and complied with
       by the Buyer and the condition set forth in Section 8.3(a) would not then be satisfied;
       provided, that at the time of such termination no Selling Entity is in breach of any of its
       representations, warranties, covenants or agreements contained herein, which breach
       would give rise to the failure of a condition in Section 8.2(a) or 8.2(b) to be satisfied;

                       (iii) (A) all of the conditions set forth in Section 8.1 and Section 8.2 have
       been satisfied, or waived by the Buyer (other than those conditions that by their nature
       cannot be satisfied until the Closing, but which conditions are, at the time the notice of
       termination is delivered by the Seller to the Buyer, capable of being satisfied if the Closing
       were to occur at such time), (B) the Seller has confirmed in writing to the Buyer that all of
       the conditions set forth in Sections 8.1 and 8.3 have been satisfied, or waived by the Seller
       (other than those conditions that by their nature cannot be satisfied until the Closing, but
       which conditions are, at the time the notice of termination is delivered by the Seller to the
       Buyer, capable of being satisfied if the Closing were to occur at such time), (C) the Seller
       has confirmed in writing to the Buyer that the Selling Entities are ready, willing and able
       to effect the Closing and (D) the Buyer does not consummate the Closing within five (5)
       Business Days following the receipt by the Buyer of such notice; or

                      (iv)    until the earlier of (A) the conclusion of the Auction and (b) the entry
       of the Sale Order, any Selling Entity or the board of directors (or similar governing body)
       of any Selling Entity determines that proceeding with the Transactions or failing to
       terminate this Agreement would be inconsistent with its fiduciary duties;

provided, however, for purposes of clauses (i) and (ii) of this Section 9.1(c) if an inaccuracy in any
of the representations and warranties of the Buyer or a failure to perform or comply with a covenant
or agreement by the Buyer is curable by the Buyer, then the Seller may not terminate this
Agreement under this Section 9.1(c) on account of such inaccuracy or failure (x) prior to the earlier
of (1) the Outside Date and (2) the date that is thirty (30) days following the delivery of written



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notice to the Buyer of such breach if such inaccuracy or failure shall have not been fully cured
during such period.

               (d)     the Buyer if:

                       (i)     any of the representations and warranties of the Selling Entities
       contained in Article V shall be inaccurate as of the date of this Agreement, or shall have
       become inaccurate as of a date subsequent to the date of this Agreement (as if made on and
       as of such subsequent date), and the condition set forth in Section 8.2(b) would not then be
       satisfied; provided, that at the time of such termination the Buyer is not in breach of any of
       its representations, warranties, covenants or agreements contained herein, which breach
       would give rise to the failure of a condition in Section 8.3(a) or 8.3(b) to be satisfied; or

                       (ii)    the Selling Entities shall have failed to perform or comply with any
       of the covenants or agreements contained in this Agreement to be performed and complied
       with by the Selling Entities and the condition set forth in Section 8.2(a) would not then be
       satisfied; provided, that at the time of such termination the Buyer is not in breach of any of
       its representations, warranties, covenants or agreements contained herein, which breach
       would give rise to the failure of a condition in Section 8.3(a) or 8.3(b) to be satisfied;

                      (iii) (A) the Sale Hearing is not held on or before October 18, 2023, or if
       the Sale Hearing is delayed due to the Bankruptcy Court’s unavailability, the next Business
       Day on which the Bankruptcy Court is available, or (B) the Bankruptcy Court has not
       entered the Sale Order on or before October 21, 2023, or if approval of the Sale Order is
       delayed due to the Bankruptcy Court’s unavailability, the next Business Day on which the
       Bankruptcy Court is available; provided that, in each case of clauses (A) and (B), the Buyer
       shall not have the right to terminate this Agreement pursuant to this Section 9.1(d)(iii) if
       the Buyer is in material breach of this Agreement in a manner which results in the failure
       to achieve any of the foregoing milestones;

                     (iv)   if the Bankruptcy Cases are dismissed or converted to a case under
       Chapter 7 of the Bankruptcy Code, and neither such dismissal nor conversion expressly
       contemplates the Transactions;

                      (v)    the Selling Entities publicly announce any plan of reorganization
       that would prevent the Closing of the Transactions from occurring in accordance with the
       terms of this Agreement;

                       (vi)    Buyer is not the winning bidder or the Back-Up Bidder at the
       Auction; or

                       (vii)   the Selling Entities withdraw or seek authority to withdraw the Sale
       Motion.

provided, however, for purposes of clauses (i) and (ii) of this Section 9.1(d), that if an inaccuracy
in any of the representations and warranties of the Selling Entities or a failure to perform or comply
with a covenant or agreement by any of the Selling Entities is curable by it, then the Buyer may
not terminate this Agreement under this Section 9.1(d) on account of such inaccuracy or failure

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(x) prior to the earlier of (1) the Outside Date and (2) the date that is thirty (30) days following the
delivery of written notice to the Seller of such breach if such inaccuracy or failure shall have not
been fully cured during such period.

         Section 9.2 Procedure and Effect of Termination. In the event of the valid termination
of this Agreement pursuant to Section 9.1, written notice thereof shall forthwith be given by the
terminating party to the other party, specifying the provision pursuant to which the Agreement is
being terminated, and this Agreement shall terminate and the Transactions shall be abandoned,
without further action by any of the parties hereto; provided, however, that (a) none of the Selling
Entities or the Buyer shall be relieved of or released from any Liability for any failure to
consummate the Transactions when required pursuant to this Agreement or arising from any
intentional breach by such party of any provision of this Agreement; provided, further, however,
that if this Agreement is terminated in circumstances under which the Deposit is required to be
delivered to the Selling Entities pursuant to Section 3.2 and the Termination Fee is required to be
paid to the Selling Entities, subject to the Selling Entities’ rights under Section 10.12, the Selling
Entities’ receipt of the Deposit and the Termination Fee in accordance with this Agreement shall
be the sole and exclusive remedy of Selling Entities against Buyer and any of its Affiliates for any
Liability, damage or other loss suffered as a result of any breach of any representation, warranty,
covenant or agreement in this Agreement or the failure of the Transactions except in the case of
Fraud, and upon payment of such Deposit and the Termination Fee, the Buyer and its Affiliates
shall have no further monetary Liability relating to or arising out of this Agreement or the
Transactions, and (b) this Section 9.2, Section 3.2, Section 7.3, Article X and the Confidentiality
Agreement shall remain in full force and effect and survive any termination of this Agreement. If
this Agreement is terminated in circumstances constituting a Buyer Default Termination, without
limitation to the Seller’s rights pursuant to Section 3.2, Buyer shall pay to the Seller, by wire
transfer of immediately available funds to an account designated by the Seller, an amount equal to
$4,000,000 (the “Termination Fee”) no later than three (3) Business Days following the later of (i)
the date of such termination and (ii) the date on which the Seller provides wire transfer instructions
to Buyer. If Buyer fails to pay the Termination Fee pursuant to this Section 9.2 on or prior to the
date such amounts are due hereunder, Buyer shall pay, or cause to be paid, to the Seller (i) the
reasonable and documented out-of-pocket costs and expenses incurred by the Selling Entities or
their respective Affiliates in any action seeking to enforce such Termination Fee (including
reasonable and documented attorneys’ fees and expenses incurred by the Selling Entities or their
respective Affiliates in connection with such action) (collectively, the “Enforcement Costs”) and
(ii) interest on the amount of the Termination Fee or portion thereof from the date due through the
date of actual payment at the prime lending rate prevailing at such time, as published in The Wall
Street Journal, plus two percent (2%) per annum. The Selling Entities and the Buyer acknowledge
and agree that the Termination Fee is not a penalty, but rather is liquidated damages in a reasonable
amount that will compensate the Selling Entities in the circumstances in which the Termination
Fee is payable for the efforts and resources expended and the opportunities foregone while
negotiating this Agreement and in reliance on this Agreement and on the expectation of the
consummation of the Transactions, which amount would otherwise be uncertain and incapable of
accurate determination.

       Section 9.3 Extension; Waiver. At any time prior to the Closing, the Seller, on the one
hand, or the Buyer, on the other hand, may, to the extent permitted by applicable Law (a) extend
the time for the performance of any of the obligations or other acts of the Buyer (in the case of an

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agreed extension by the Seller) or the Selling Entities (in the case of an agreed extension by the
Buyer), (b) waive any inaccuracies in the representations and warranties of the Buyer (in the case
of a wavier by the Seller) or the Selling Entities (in the case of a waiver by the Buyer) contained
herein or in any document delivered pursuant hereto, (c) waive compliance with any of the
agreements of the Buyer (in the case of a wavier by the Seller) or the Selling Entities (in the case
of a waiver by the Buyer) contained herein, or (d) waive any condition to the Buyer’s or the Selling
Entities’ obligations hereunder. Any agreement on the part of the Seller, on the one hand, or the
Buyer, on the other hand, to any such extension or waiver contemplated by the previous sentence
shall be valid only if set forth in a written instrument signed on behalf of the Seller or the Buyer,
as applicable. The failure or delay of any party hereto to assert any of its rights under this
Agreement or otherwise shall not constitute a waiver of those rights, nor shall any single or partial
exercise of any right under this Agreement preclude any other or further exercise of any rights
hereunder.

                                              ARTICLE X

                               MISCELLANEOUS PROVISIONS

        Section 10.1 Amendment and Modification. This Agreement may be amended, modified
or supplemented, or the terms hereof waived, only by a written instrument signed on behalf of each
of the Seller and the Buyer.

        Section 10.2 Survival. None of the representations and warranties of any party hereto in
this Agreement, in any instrument delivered pursuant to this Agreement, or in the Schedules or
Exhibits attached hereto shall survive the Closing, and, except in the case of Fraud, the parties
hereto shall not, and shall not be entitled to, make any Claim or initiate any action against any
other party hereto, its Affiliates or their respective Representatives with respect to any such
representation or warranty from or after the Closing. None of the covenants or agreements of the
parties in this Agreement shall survive the Closing, and no party hereto shall, or shall be entitled
to, make any Claim or initiate any action against any other party with respect to any such covenant
or agreement from or after the Closing, other than (a) the covenants and agreements of the parties
contained in this Article X, Article III and Article IV and (b) those other covenants and agreements
contained herein that by their terms apply, or that are to be performed in whole or in part, after the
Closing, which shall survive the consummation of the Transaction until fully performed in
accordance with its terms.

        Section 10.3 Notices. All notices, consents, waivers and other communications required
or permitted under, or otherwise made in connection with, this Agreement shall be in writing and
shall be deemed to have been duly given or made (a) when delivered in person, (b) upon
confirmation of receipt when transmitted by email, (c) upon receipt after dispatch by registered or
certified mail (postage prepaid, return receipt requested), or (d) on the next Business Day if
transmitted by national overnight courier (with written confirmation of delivery), in each case,
addressed as follows (or to such other addresses and Representatives as a party may designate by
notice to the other parties):

               (a)     If to the Seller to:


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                     Lordstown Motors Corp.
                     27000 Hills Tech Court
                     Farmington Hills, MI 48331
                     Attention: General Counsel
                     Email: legal@lordstownmotors.com

                     with a copy (which shall not constitute notice) to:

                     White & Case LLP
                     Southeast Financial Center
                     200 South Biscayne Boulevard, Suite 4900
                     Miami, Florida 33131
                     Attention: Thomas E Lauria
                     Email: tlauria@whitecase.com

                     and

                     White & Case LLP
                     1221 Avenue of the Americas
                     New York, NY 10020
                     Attention: Gregory Pryor
                                David Turetsky
                                Adam Cieply
                     Email:     gpryor@whitecase.com
                                david.turetsky@whitecase.com
                                adam.cieply@whitecase.com

              (b)    If to the Buyer or the Guarantor, to:

                     LAS Capital LLC
                     96004 Sea Breeze Way
                     Fernandina Beach, FL 32034
                     Attention: Stephen M. Fleming
                     Email: smf@flemingpllc.com

                     with a copy (which shall not constitute notice) to:

                     Skadden, Arps, Slate, Meagher & Flom LLP
                     One Manhattan West
                     New York, NY 10001
                     Attention: Ron E. Meisler; Robert D. Drain; Richard L. Oliver
                     Email: ron.meisler@skadden.com; robert.drain@skadden.com;
                     richard.oliver@skadden.com

       Section 10.4 Assignment; No Third Party Beneficiaries.

              (a)     Neither this Agreement nor any of the rights, interests or obligations
hereunder shall be assigned by any party (whether by operation of law or otherwise) without the

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prior written consent of Buyer and the Seller, and any such assignment shall be null and void;
provided, however, that the rights of the Buyer under this Agreement may be assigned by the
Buyer, without the prior written consent of the Seller, to one or more of the Buyer’s Affiliates, so
long as (A) such Affiliate is designated in writing by the Buyer to the Seller prior to the Closing,
(B) the Buyer shall continue to remain obligated in full hereunder and (C) any such assignment
would not reasonably be expected to impede or delay the Closing; provided, further, that the
Selling Entities may assign some or all of its rights or delegate some or all of their obligations
hereunder to successor entities pursuant to a plan of reorganization confirmed or a liquidation
approved by the Bankruptcy Court. No assignment by any party hereto shall relieve such party
(including an assignment by the Buyer to any of its Affiliates) of any of its obligations hereunder.
Subject to the foregoing, this Agreement and all of the provisions hereof shall be binding upon,
inure to the benefit of and be enforceable by the parties and their respective successors and
permitted assigns, including, in the case of the Selling Entities, the trustee in the Bankruptcy Cases.

                (b)    This Agreement is for the sole benefit of the parties hereto and their
permitted assigns, and nothing herein, express or implied, is intended to or will confer upon any
other Person any legal or equitable benefit, Claim, cause of action, remedy or right of any kind,
except that Section 10.7 is intended for the benefit of and is enforceable by the Nonparty Affiliates;
provided, that in each case such party will be subject to all the limitations and procedures of this
Agreement as if it were a party hereunder.

        Section 10.5 Severability. Whenever possible, each provision of this Agreement shall be
interpreted in such manner as to be effective and valid under applicable Law, but if any provision
of this Agreement is held to be invalid, illegal or unenforceable in any respect under any applicable
Law in any jurisdiction, such invalidity, illegality or unenforceability shall not affect the validity,
legality or enforceability of any other provision of this Agreement in such jurisdiction or affect the
validity, legality or enforceability of any provision in any other jurisdiction, and the invalid, illegal
or unenforceable provision shall be interpreted and applied so as to produce as near as may be the
economic result intended by the parties hereto. Upon determination that any term or other
provision is invalid, illegal or incapable of being enforced, the parties hereto shall negotiate in
good faith to modify this Agreement so as to eliminate such invalidity, illegality or incapability of
enforcement and to effect the original intent of the parties as closely as possible in an acceptable
manner to the end that the Transactions are fulfilled to the extent possible.

       Section 10.6 Governing Law. Except to the extent the mandatory provisions of the
Bankruptcy Code apply, this Agreement, and all Claims and causes of action arising out of, based
upon, or related to this Agreement or the negotiation, execution or performance hereof, shall be
governed by, and construed, interpreted and enforced in accordance with, the Laws of the State of
Delaware, without regard to choice or conflict of law principles that would result in the application
of any Laws other than the Laws of the State of Delaware.

        Section 10.7 Non-Recourse. Except to the extent otherwise set forth in the
Confidentiality Agreement, all Claims, obligations, liabilities, or causes of action (whether in
contract or in tort, in law or in equity, or granted by statute) that may be based upon, in respect of,
arise under, out or by reason of, be connected with, or relate in any manner to the Transaction
Documents, or the negotiation, execution, or performance of this Agreement and the other
Transaction Documents (including any representation or warranty made in, in connection with, or

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as an inducement to, this Agreement), may be made only against the parties hereto. No Person who
is not a party hereto, including any past, present or future director, officer, employee, incorporator,
member, partner, manager, stockholder, Affiliate, agent, attorney, representative or assignee of,
and any financial advisor or lender to, any party hereto, or any past, present or future director,
officer, employee, incorporator, member, partner, manager, stockholder, Affiliate, agent, attorney,
representative or assignee of, and any financial advisor or lender to, any of the foregoing
(collectively, the “Nonparty Affiliates”), shall have any Liability (whether in contract or in tort, in
law or in equity, or granted by statute) for any Liabilities or causes of action arising under, out of,
in connection with, or related in any manner to the Transactions or Transaction Documents or
based on, in respect of, or by reason of the Transactions or Transaction Documents or their
negotiation, execution, performance, or breach (other than as set forth in the Confidentiality
Agreement), and, to the maximum extent permitted by Law, each party hereto hereby waives and
releases all such Liabilities and causes of action against any such Nonparty Affiliates (except
pursuant to the Transaction Documents to which they are a party). Without limiting the foregoing,
to the maximum extent permitted by Law, except to the extent otherwise set forth in the
Confidentiality Agreement, each party hereto disclaims any reliance upon any Nonparty Affiliate
with respect to the performance of the Transaction Documents or any representation or warranty
made in, in connection with, or as an inducement to this Agreement.

       Section 10.8 Submission to Jurisdiction; WAIVER OF JURY TRIAL.

                (a)     Any action, Claim, suit or Proceeding arising out of, based upon or relating
to this Agreement or the Transactions shall be brought solely in the Bankruptcy Court (or any court
exercising appellate jurisdiction over the Bankruptcy Court). Each party hereby irrevocably
submits to the exclusive jurisdiction of the Bankruptcy Court (or any court exercising appellate
jurisdiction over the Bankruptcy Court) in respect of any action, Claim, suit or Proceeding arising
out of, based upon or relating to this Agreement or any of the rights and obligations arising
hereunder, and agrees that it will not bring any action arising out of, based upon or related thereto
in any other court; provided, however, that, if the Bankruptcy Cases are dismissed, any action,
Claim, suit or Proceeding arising out of, based upon or relating to this Agreement or the
Transactions shall be heard and determined solely in the Chancery Court of the State of Delaware
and any state appellate court therefrom within the State of Delaware (or, if the Chancery Court of
the State of Delaware declines to accept jurisdiction over a particular matter, any state or federal
court within the State of Delaware and any direct appellate court therefrom). Each party hereby
irrevocably waives, and agrees not to assert as a defense, counterclaim or otherwise, in any such
action, Claim, suit or Proceeding, (a) any Claim that it is not personally subject to the jurisdiction
of the above named courts for any reason other than the failure to serve process in accordance with
Section 10.3, (b) any Claim that it or its property is exempt or immune from jurisdiction of any
such court or from any legal process commenced in such courts (whether through service of notice,
attachment prior to judgment, attachment in aid of execution of judgment, execution of judgment
or otherwise) and (c) to the fullest extent permitted by applicable Law, any Claim that (i) the suit,
action or Proceeding in such court is brought in an inconvenient forum, (ii) the venue of such suit,
action or Proceeding is improper or (iii) this Agreement or any other agreement or instrument
contemplated hereby or entered into in connection herewith, or the subject matter hereof or thereof,
may not be enforced in or by such courts. Each party agrees that notice or the service of process
in any action, Claim, suit or Proceeding arising out of, based upon or relating to this Agreement


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or any of the rights and obligations arising hereunder or thereunder, shall be properly served or
delivered if delivered in the manner contemplated by Section 10.3.

          (b)  EACH OF THE PARTIES HERETO IRREVOCABLY WAIVES TO THE
FULLEST EXTENT PERMITTED BY APPLICABLE LAW ANY AND ALL RIGHT SUCH
PARTY MAY HAVE TO TRIAL BY JURY IN ANY ACTION, CLAIM, SUIT OR
PROCEEDING (WHETHER BASED IN CONTRACT, TORT OR OTHERWISE) BETWEEN
THE PARTIES HERETO ARISING OUT OF, BASED UPON OR RELATING TO THIS
AGREEMENT OR THE NEGOTIATION, EXECUTION OR PERFORMANCE HEREOF.

        Section 10.9 Counterparts. This Agreement, the agreements referred to herein, and each
other agreement or instrument entered into in connection herewith or therewith or contemplated
hereby or thereby, and any amendments hereto or thereto, may be executed in one (1) or more
counterparts, each of which will be deemed to be an original of this Agreement or such amendment
and all of which, when taken together, will constitute one and the same instrument, and to the
extent signed and delivered by means of a photographic, photostatic, DocuSign, portable document
format (.pdf), or similar reproduction of such signed writing using DocuSign or electronic mail
shall be treated in all manner and respects as an original agreement or instrument and shall be
considered to have the same binding legal effect as if it were the original signed version thereof
delivered in person. No party hereto or to any such agreement or instrument shall raise the use of
DocuSign or electronic mail to deliver a signature or the fact that any signature or agreement or
instrument was transmitted or communicated through the use of DocuSign or electronic mail as a
defense to the formation or enforceability of a contract and each such party forever waives any
such defense.

        Section 10.10 Incorporation of Schedules and Exhibits. All Schedules and all Exhibits
attached hereto and referred to herein are hereby incorporated herein by reference and made a part
of this Agreement for all purposes as if fully set forth herein.

        Section 10.11 Entire Agreement. This Agreement (including all Schedules and all
Exhibits), the other Transaction Documents and the Confidentiality Agreement constitute the
entire agreement among the parties with respect to the subject matter hereof and supersede all prior
agreements and understandings among the parties with respect thereto.

        Section 10.12 Remedies. The parties hereto agree that irreparable damage would occur if
any of the provisions of this Agreement were not performed in accordance with their specific terms
or were otherwise breached or threatened to be breached and that an award of money damages
would be inadequate in such event. Accordingly, it is acknowledged that the parties hereto shall
be entitled to equitable relief, without proof of actual damages, including an injunction or
injunctions or Orders for specific performance to prevent breaches of this Agreement and to
enforce specifically the terms and provisions of this Agreement (including any Order sought by
the Selling Entities to cause the Buyer to perform its agreements and covenants contained in this
Agreement), in addition to any other remedy to which they are entitled at law or in equity as a
remedy for any such breach or threatened breach. Each party hereto further agrees that no other
party hereto or any other Person shall be required to obtain, furnish or post any bond or similar
instrument in connection with or as a condition to obtaining any remedy referred to in this
Section 10.12, and each party hereto irrevocably waives any right it may have to require the

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obtaining, furnishing or posting of any such bond or similar instrument, subject only to the
immediately succeeding sentence. Each party hereto further agrees that the only permitted
objection that it may raise in response to any action for equitable relief is that it contests the
existence of a breach or threatened breach of this Agreement. If a court of competent jurisdiction
has declined to specifically enforce the obligations of the Buyer to consummate the Closing
pursuant to a Claim for specific performance brought against the Buyer and has instead granted an
award of damages for such alleged breach, then Selling Entities may enforce such award.

       Section 10.13 Bulk Sales or Transfer Laws. Each of the Buyer and the Selling Entities
hereby waives compliance by the Selling Entities with the provisions of the bulk sales or transfer
Laws of all applicable jurisdictions.

         Section 10.14 Disclosure Schedule. It is expressly understood and agreed that (a) the
disclosure of any fact or item in any section of the Disclosure Schedule shall qualify any other
sections of this Agreement to the extent (notwithstanding the absence of a specific cross reference)
it is reasonably apparent on its face that such disclosure relates to such other sections, (b) the
disclosure of any matter or item in the Disclosure Schedule shall not be deemed to constitute an
acknowledgement that such matter or item is required to be disclosed therein, or otherwise imply,
that any such matter is material or creates a measure for materiality for purposes of this Agreement,
and (c) the mere inclusion of an item in the Disclosure Schedule as an exception to a representation
or warranty shall not be deemed an admission that such item represents a material exception or
material fact, event or circumstance or that such item has resulted in and would reasonably be
expected to result in a Material Adverse Effect.

        Section 10.15 Mutual Drafting; Headings; Information Made Available. The parties
hereto participated jointly in the negotiation and drafting of this Agreement and the language used
in this Agreement shall be deemed to be the language chosen by the parties to express their mutual
intent. If an ambiguity or question of intent or interpretation arises, then this Agreement will
accordingly be construed as drafted jointly by the parties hereto, and no presumption or burden of
proof will arise favoring or disfavoring any party by virtue of the authorship of any of the
provisions of this Agreement. The descriptive headings and table of contents contained in this
Agreement are included for convenience of reference only and shall not affect in any way the
meaning or interpretation of this Agreement. To the extent this Agreement refers to information
or documents to be made available (or delivered or provided) to the Buyer or its Representatives,
the Selling Entities shall be deemed to have satisfied such obligation if the Seller or any of its
Representatives have made such information or document available (or delivered or provided such
information or document) to the Buyer or any of its Representatives, whether in an electronic data
room, via electronic mail, in hard copy format or otherwise on or before 12:01 a.m. New York
Time on the date immediately preceding the date hereof.

       Section 10.16 Conflicts; Privileges.

              (a)      It is acknowledged by each of the parties hereto that the Selling Entities
have retained White & Case LLP (“W&C”) to act as their counsel in connection with the
Transactions and the Bankruptcy Cases (the “Current Representation”) and that W&C has not
acted as counsel for any other Person in connection with the Transactions and that no other party
to this Agreement or Person has the status of a client of W&C for conflict of interest or any other

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purposes as a result thereof. The Buyer hereby agrees that, following the Closing, W&C may
represent any Selling Entity in any matter involving or arising from the Current Representation,
including any interpretation or application of this Agreement or any other agreement entered into
in connection with the Transactions, and including for the avoidance of doubt any dispute between
or among Buyer or any of its Affiliates, including, after the Closing, any Selling Entity, even
though the interests of such Selling Entity may be directly adverse to the Buyer or any of its
Affiliates, and even though W&C may have, prior to the Closing, represented any Selling Entity
or the Business in a substantially related matter, or may be, following the Closing, handling
ongoing matters for the Selling Entities, the Buyer or their respective Affiliates. Additionally, the
Buyer hereby waives, on behalf of its and each of its Affiliates, any Claim they have or may have
that, W&C has a conflict of interest arising out of any representation described in this
Section 10.16(a). The Buyer further agrees that, as to all communications between W&C, on the
one hand, and any of any Selling Entity, or the Business (or any of their respective directors,
officers, employees, or other representatives), on the other hand, that relate in any way to the
Current Representation, any attorney-client privilege or an expectation of client confidence or any
other rights to any evidentiary privilege belong to such Selling Entity, is retained by such Selling
Entity and may be controlled by such Selling Entity and shall not pass to or be claimed by the
Buyer. The parties hereto further agree that W&C and its Representatives and employees are third-
party beneficiaries of this Section 10.16.

                (b)      Notwithstanding anything to the contrary set forth in Section 2.2, if a
dispute arises between the Buyer, on the one hand, and a third party other than any Selling Entity,
on the other hand, the Buyer may assert the attorney-client privilege to prevent the disclosure of
the Deal Communications to such third party; provided, however, that the Buyer may not waive
such privilege without the prior written consent of the Seller (which such consent shall not be
unreasonably withheld, conditioned or delayed). If the Buyer or any of its respective directors,
officers, employees or other representatives is legally required by governmental Order or otherwise
to access or obtain a copy of all or a portion of the Deal Communications, the Buyer shall, to the
extent legally permissible, (i) reasonably promptly notify the Seller in writing (including by
making specific reference to this Section 10.16(b)), (ii) agree that the Seller may seek a protective
Order and (iii) use, at the Seller’s sole cost and expense, commercially reasonable efforts to assist
therewith.

       Section 10.17 Guaranty.

                (a)      The Guarantor hereby unconditionally and irrevocably guarantees to the
Selling Entities, until the earlier of (a) 60 days following the termination of this Agreement unless
prior to such date one or more Selling Entities shall have commenced a Proceeding against the
Buyer or the Guarantor alleging that any Guaranteed Obligations (as defined below) are due and
owing, in which case this Section 10.17 shall survive and shall terminate upon the final, non-
appealable resolution of all such Proceedings by a court of competent jurisdiction and the
satisfaction by the Buyer or the Guarantor of any obligations finally determined or agreed to be
owed by the Buyer or the Guarantor, (b) the occurrence of the Closing and the consummation of
the Transactions and (c) the full, complete, due and punctual payment by the Buyer (and any
permitted assignees thereof) of the Buyer’s obligations under this Agreement (subject to the Cap),
including to pay the Cash Purchase Price and other amounts payable pursuant to this Agreement
(such obligations, the “Guaranteed Obligations”); provided, that in no event shall the Guarantor’s

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aggregate liability under this Agreement exceed (including in the case of Fraud) the sum of (i) the
Purchase Price and (ii) amounts necessary to pay all reasonable and documented out-of-pocket
costs and expenses incurred by the Selling Entities or their respective Affiliates in any Proceeding
seeking to enforce the terms of this Agreement against the Buyer or the Guarantor (including
reasonable and documented attorneys’ fees and expenses incurred by the Selling Entities or their
respective Affiliates in connection with such Proceeding) (such amount, the “Cap”). The foregoing
sentence is an absolute, unconditional and irrevocable guaranty of the full, complete and punctual
discharge and performance of the Guaranteed Obligations (subject to the Cap) without any set-off,
restriction, condition, deduction or defense for or on account of any claim or counterclaim of any
kind, other than defenses provided to the Buyer herein with respect to any such obligation, subject
to the limitations set forth below. Notwithstanding anything to the contrary contained in this
Section 10.17, any payment made by or on behalf of the Buyer to the Selling Entities with respect
to the Guaranteed Obligations shall reduce the total obligations of the Guarantor under this Section
10.17 by such payment amount.

                (b)     When pursuing its rights and remedies hereunder against the Guarantor, no
Selling Entity shall be under any obligation to pursue such rights and remedies as it may have
against the Buyer or any other Person for the Guaranteed Obligations or any right of offset with
respect thereto prior to or contemporaneously with proceeding against the Guarantor, or demand
payment therefrom more than once. Any release by any Selling Entity of the Buyer or any such
other Person or any right of offset, shall not relieve the Guarantor of any Liability hereunder, and
shall not impair or affect the rights and remedies, whether express, implied or available as a matter
of Law, of the Selling Entities. Subject to the terms and conditions hereof and applicable Law, the
Guarantor waives (i) any and all rights or defenses arising by reason of any Law which would
otherwise require any election of remedies by any Selling Entity, (ii) any and all legal and equitable
defenses available to a guarantor (other than the full and complete satisfaction of such Guaranteed
Obligations by the Buyer), including any defenses which may be available by virtue of any
valuation, stay moratorium Law or other similar Law in effect as of the date of this Agreement, or
in effect thereafter, any right to require the marshalling of assets of the Buyer or any other Person,
and all suretyship defenses generally (other than the indefeasible satisfaction in full of the
Guaranteed Obligations in accordance with their terms or defenses to the payment of the
Guaranteed Obligations that would be available to the Buyer under this Agreement), (iii)
promptness, diligence, notice of the acceptance of this Section 10.17 and of the Guaranteed
Obligations, presentment, demand of payment, notice of non-performance, default, dishonor and
protest, order, notice of the incurrence of any Guaranteed Obligations, and other notices of any
kind (other than notices expressly required to be provided to the Buyer pursuant to this
Agreement), including any notice of any amendment of this Agreement or waiver or other similar
action granted pursuant to this Agreement and any notice of acceptance, and (iv) all notice of the
creation, renewal, extension or accrual of any of the Guaranteed Obligations and notice of or proof
of reliance by the Seller upon this Section 10.17. The guaranty under this Section 10.17 is a
primary guarantee of performance and payment and not just of collection. All payments under
this Section 10.17 shall be made in lawful money of the United States, in immediately available
funds.

             (c)     The Guarantor represents and warrants to the Seller as follows: (i) the
Guarantor has the requisite legal capacity, power and authority to execute and deliver this
Agreement and to perform the Guarantor’s obligations hereunder; (ii) this Agreement constitutes

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a valid and binding obligation of the Guarantor, and is enforceable against the Guarantor in
accordance with its terms, except as limited by the limitations on enforceability imposed by
applicable bankruptcy, insolvency, reorganization, moratorium or other similar Laws affecting the
enforcement of creditors’ rights generally or by general equitable principles; (iii) none of the
execution, delivery or performance by the Guarantor of this Agreement will result in a violation
of any Laws to which the Guarantor is subject or bound, and there is no action, suit, proceeding
pending or, to the Guarantor’s knowledge, threatened against the Guarantor or affecting the
Guarantor with respect to any of the transactions contemplated by this Section 10.17; and (iv) from
the date of this Agreement to the termination of Guarantor’s obligations under this Section 10.17,
the Guarantor shall have access to sufficient funds immediately available to pay and perform all
of the Guarantor’s obligations under this Section 10.17. Except for the representations and
warranties contained in Article V, no Selling Entity nor any other Person on behalf of any Selling
Entity makes any representation, warranty or statement of any kind or nature (whether in written,
electronic or oral form) with respect to any the Purchased Assets, Assumed Liabilities or
otherwise, including any representation or warranty as to the quality, merchantability, fitness for
a particular purpose or condition of any Selling Entity’s businesses, operations, assets, Assumed
Liabilities, prospects or any portion thereof. Except for the representations and warranties
contained in Article V, all representations, warranties and statements of any kind or nature
(whether in written, electronic or oral form) are, in each case, specifically disclaimed by the Selling
Entities.



                                              *****




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                    IN WITNESS WHEREOF, the parties hereto have caused this Asset Purchase Agreement
            to be executed as of the date first written above.


                                                                    LORDSTOWN MOTORS CORP.


                                                                    By:
                                                                          Name: Adam Kroll
                                                                          Title: Chief Financial Officer


                                                                    LORDSTOWN EV CORPORATION


                                                                    By:
                                                                          Name: Adam Kroll
                                                                          Title: Chief Financial Officer


                                                                    LORDSTOWN EV SALES LLC


                                                                    By:
                                                                          Name: Adam Kroll
                                                                          Title: Chief Financial Officer




                                           [Signature Page to Asset Purchase Agreement]
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                                    LAS CAPITAL LLC
                                    By: LAS Management LLC, managing
                                    member

                                    By: ____________________________
                                    Name: Julio Rodriguez
                                    Title: Manager




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                                    ____________________________
                                    Stephen S. Burns




           [Signature Page to Asset Purchase Agreement]
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                         Exhibit A

                     Form of Sale Order

                       (See attached)
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                    Chapter 11
    In re
                                                                     Case No. 23-10831 (MFW)
                                        1
    Lordstown Motors Corp., et al.,
                                                                     (Jointly Administered)

                                            Debtors.
                                                                     Re: Docket Nos. 16, 237, [__]


        ORDER (I) AUTHORIZING AND APPROVING THE SALE OF CERTAIN OF
          THE DEBTORS’ ASSETS FREE AND CLEAR OF ALL LIENS, CLAIMS,
       ENCUMBRANCES, AND INTERESTS; (II) AUTHORIZING THE DEBTORS TO
      ENTER INTO AND PERFORM THEIR OBLIGATIONS UNDER THE PURCHASE
      AGREEMENT; (III) AUTHORIZING THE ASSUMPTION AND ASSIGNMENT OF
         CERTAIN EXECUTORY CONTRACTS IN CONNECTION THEREWTIH;
                   (IV) AUTHORIZING THE SALE TRANSACTION;
                        AND (V) GRANTING RELATED RELIEF


             Upon the motion [D.I. 16] (the “Motion”)2 of the above-captioned debtors and debtors-in-

possession (the “Debtors”) for entry of an order (this “Order”), pursuant to sections 105(a), 363,

365, 503 and 507 of title 11 of the United States Code (the “Bankruptcy Code”) and Rules 2002,

6004, 6006(a), 9006, 9007, 9008 and 9014 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”) (i) authorizing and approving the entry into and performance under the

terms and conditions of that certain Asset Purchase Agreement, dated as of September 29, 2023

(including the exhibits and schedules, and as amended, supplemented, amended and restated or

otherwise modified from time to time, the “Asset Purchase Agreement”) by and among LAS



1
         The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors
Corporation (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service
address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
2
        Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in
the Motion or the Asset Purchase Agreement (as defined herein) or the Bidding Procedures Order (as defined herein).



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Capital LLC (the “Buyer”) and the Debtors; (ii) authorizing the assumption and assignment of

certain executory contracts (the “Assumed Contracts”) pursuant to the Asset Purchase

Agreement; (iii) approving the sale of certain assets of the Debtors in the above-captioned chapter

11 cases (the “Chapter 11 Cases”) as set forth in Section 2.1 of the Asset Purchase Agreement

(the “Purchased Assets”) free and clear of all liens, claims, encumbrances and other interests in

accordance with and subject to the terms and conditions contained in the Asset Purchase

Agreement and this Order; (iv) authorizing the consummation of the sale and each of the

transactions contemplated by the Asset Purchase Agreement and this Order (the “Sale

Transaction”); and (v) granting related relief; and upon the Declaration of [●] in Support of the

Debtors’ Sale Motion [D.I. [●]] (the “[●] Declaration”); and the United States Bankruptcy Court

for the District of Delaware (the “Court”) having entered an order on August 8, 2023 [D.I. 237]

(the “Bidding Procedures Order”) approving, among other things, the dates, deadlines, and

bidding procedures (as the same have been amended, modified or extended from time to time in

accordance with the terms of the Bidding Procedures Order and the Asset Purchase Agreement, as

applicable, the “Bidding Procedures”) with respect to, and notice of, the proposed sale of

substantially all the assets of the Debtors; and due and sufficient notice of the Motion having been

given under the particular circumstances; and it appearing that no other or further notice need be

provided; and the Court having held a hearing on October 18, 2023 (the “Sale Hearing”) to

approve the Sale Transaction; and the Court having reviewed and considered (a) the relief sought

in the Motion with respect to the Sale Transaction, (b) the objections to the Motion or the Sale

Transaction, (c) all other pleadings filed in support of the Motion, and (d) the arguments of counsel,

and the evidence proffered or adduced at the Sale Hearing and any other hearing related to the

Motion; and all parties in interest having been heard, or having had the opportunity to be heard,

                                                  2

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regarding the approval of the Sale Transaction and the other relief requested in the Motion; and it

appearing that the relief requested in the Motion and granted herein is in the best interests of the

Debtors, their estates, creditors and other parties in interest; and upon the record of the Sale

Hearing and the Chapter 11 Cases; and after due deliberation thereon; and good cause appearing

therefore, it is hereby,

             FOUND, DETERMINED, AND CONCLUDED THAT:3

             A.          Jurisdiction and Venue. This Court has jurisdiction to consider the Motion under

28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference, dated February 29,

2012 (Sleet, C.J.). This is a core proceeding under 28 U.S.C. § 157(b)(2)(M) and (N) that the

Court can decide by a final order under the United States Constitution. Venue of these Chapter 11

Cases and this Motion is proper in this District under 28 U.S.C. §§ 1408 and 1409.

             B.          Final Order. This Order constitutes a final order within the meaning of 28 U.S.C.

§158(a). Notwithstanding Bankruptcy Rules 6004(h) and 6006(d), and to any extent necessary

under Bankruptcy Rule 9014 and Rule 54(b) of the Federal Rules of Civil Procedure, as made

applicable by Bankruptcy Rule 7054, this Court expressly finds that there is no just reason for

delay in, and good and sufficient cause for, the immediate implementation of this Order, and

expressly directs entry of judgment as set forth herein.

             C.          Legal Predicates. The predicates for the relief requested by this Motion are sections

105(a), 363, 365, 503 and 507 of the Bankruptcy Code and Bankruptcy Rules 2002, 6004, 6006(a),




3
         The findings, determinations, and conclusions set forth herein constitute this Court’s findings of fact and
conclusions of law pursuant to Bankruptcy Rule 7052, made applicable to this proceeding pursuant to Bankruptcy
Rule 9014. To the extent any of the following findings of fact constitute conclusions of law, they are adopted as such.
To the extent any of the following conclusions of law constitute findings of fact, they are adopted as such.
                                                           3

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9006, 9007, 9008 and 9014 and applicable Local Rules for the United States Bankruptcy Court for

the District of Delaware (the “Local Rules”).

          D.          Petition Date. On June 27, 2023 (the “Petition Date”), each Debtor commenced

with this Court a voluntary case under chapter 11 of the Bankruptcy Code (collectively, the

“Chapter 11 Cases”). The Chapter 11 Cases are being jointly administered for procedural

purposes only pursuant to Bankruptcy Rule 1015(b). Since the Petition Date, the Debtors have

continued to operate their businesses and manage their properties as debtors in possession pursuant

to sections 1107 and 1108 of the Bankruptcy Code.

          E.          Committee. The Office of the United States Trustee for the District of Delaware

appointed (i) the official committee of unsecured creditors on July 11, 2023 (the “Committee”),

and (ii) the official committee of equity security holders on September 7, 2023, for these Chapter

11 Cases. No trustee or examiner has been appointed in these Chapter 11 Cases.

          F.          Bidding Procedures Order. On August 8, 2023, this Court entered the Bidding

Procedures Order (i) approving the Bidding Procedures; (ii) authorizing, but not directing, the

Debtors to designate one or more Stalking Horse Bidder(s) and approving procedures to seek

approval of Bid Protections; (iii) scheduling the Auction and Sale Hearing; (iv) approving the form

and manner of notice of the Bidding Procedures, the Bid Deadline, the Auction, the deadline to

object to the sale, and all other relevant procedures, protections, schedules and agreements; (v)

establishing the Assumption and Assignment Procedures, including notice of proposed cure

amounts (the “Cure Amounts”) and relevant objection deadlines; and (vi) granting related relief.

No appeal, motion to reconsider or similar pleading has been filed with respect to the Bidding

Procedures Order, and the Bidding Procedures Order is a final order of the Court. The Bidding



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Procedures Order has not been vacated, withdrawn, rescinded or amended and remains in full force

and effect.

          G.          Compliance with Bidding Procedures Order. As demonstrated by (i) the [●]

Declaration, (ii) the other testimony and evidence proffered or adduced at the Sale Hearing, if any,

and (iii) the representations of counsel made on the record at the Sale Hearing, the Debtors and

their professionals have marketed the Purchased Assets and conducted the sale process in

compliance with the Bidding Procedures Order, and the sale process, [including the Auction] was

duly noticed and conducted in a non-collusive, fair, and good faith manner. The Debtors have

afforded all potential buyers a full and fair opportunity to make higher and better offers than the

Asset Purchase Agreement. The Buyer has acted in good faith, in a non-collusive manner and in

compliance with the terms of the Bidding Procedures. In accordance with the Bidding Procedures,

the Debtors determined that the bid submitted by the Buyer and memorialized by the Asset

Purchase Agreement is the Successful Bid. The Asset Purchase Agreement constitutes the highest

and best offer for the Purchased Assets and will provide a greater recovery for the Debtors’ estates

than would be provided by any other available alternative. The Debtors’ determination that the

Asset Purchase Agreement constitutes the highest and best offer for the Purchased Assets

constitutes a valid and sound exercise of the Debtors’ business judgment.

          H.          Buyer’s Disclosure. Buyer disclosed to the Debtors in its Bid all information

required by the Bid Procedures concerning the identity of Buyer and its affiliates. Buyer’s

disclosures comply with the disclosure requirements of the Bid Procedures and are sufficient to

provide the Debtors and the Committee complete and accurate information concerning all material

connections between the Buyer and the Debtors, its affiliates and their respective current or former

directors and officers. Buyer’s disclosures establish that (i) the majority equityholder of the Buyer

                                                    5

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(the “Buyer Majority Equityholder”) is the founder and was the Chief Executive Officer of

Lordstown Motors Corp., and (ii) one of the indirect managers of Buyer (the “Buyer Manager”)

was the Chief Financial Officer of Lordstown Motors Corp.                  Each of the Buyer Majority

Equityholder and Buyer Manager resigned from his respective position and ceased being an

employee of Lordstown Motors Corp. on June 14, 2021 (the “Resignation Date”).

          I.          Notice. As evidenced by the affidavits of service and publication previously filed

with the Court [D.I.s 100, 270, 350, 353, 369, 415, __], and based on the record at the Sale Hearing,

including representations of counsel, (i) due, proper, timely, adequate and sufficient notice of the

Motion, the Bidding Procedures, the Auction, the Sale Hearing, the Sale Transaction, and the

relevant objection deadlines, the Assumption and Assignment Procedures (including the objection

deadline with respect to any Cure Amount and the assumption and assignment of the Assumed

Contracts), the designation rights set forth in Section 2.5 of the Asset Purchase Agreement, and

the Cure Amounts has been provided in accordance with sections 102(l), 363, and 365 of the

Bankruptcy Code, Bankruptcy Rules 2002, 6004, 6006, 9006, 9007 and 9014, and the applicable

Local Rules, and in compliance with the Bidding Procedures Order to each party entitled to such

notice, (ii) such notice was good and sufficient, and appropriate under the particular circumstances,

and (iii) no other or further notice of the Motion, the Bidding Procedures, the Auction, the Sale

Hearing, the Sale Transaction, the Assumption and Assignment Procedures (including the

objection deadline with respect to any Cure Amount), the assumption and assignment of the

Assumed Contracts (including the designation rights set forth in Section 2.5 of the Asset Purchase

Agreement), or the Cure Amounts is or shall be required. With respect to entities whose identities

are not reasonably ascertained by the Debtors, publication of the Sale Notice once in the national

edition of The Wall Street Journal on August 11, 2023, and the Automotive News on August 14,

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2023, and the posting of the Sale Notice on the Debtors’ restructuring website was each sufficient

and reasonably calculated under the circumstances to reach such entities. [D.I. 344].

          J.          Notice of the Debtors’ assumption, assignment, transfer, and/or sale to the Buyer

of the Assumed Contracts, together with the Debtors’ Notice of Assumption and Assignment of

Executory Contracts and Unexpired Leases in Connection with Sale and Cure Costs [D.I. 280],

Supplemental Notice of (I) Potential Assumption and Assignment of Executory Contracts and

Unexpired Leases and (II) Cure Amounts [D.I. 482], and Second Supplemental Notice of (I)

Potential Assumption and Assignment of Executory Contracts and Unexpired Leases and (II) Cure

Amounts [D.I. ___] (together, the “Cure Notices”), pursuant to the Asset Purchase Agreement has

been provided to the counterparties for such Assumed Contracts. As to each Assumed Contract,

the Cure Amount set forth in the Asset Purchase Agreement, is sufficient for the Debtors to comply

fully with the requirements of sections 365(b)(1)(A) and (B) of the Bankruptcy Code. Each of the

non-Debtor parties to the Assumed Contracts has had a fair and reasonable opportunity to object

to the Cure Amounts set forth in the Cure Notices, subject to the applicable objection deadline

provided in the Bidding Procedures Order.

          K.          Corporate Authority. Each Debtor (i) has full corporate power and authority to

execute the Asset Purchase Agreement and all other documents contemplated thereby and hereby

(collectively, the “Transaction Documents”), and the Sale Transaction has been duly and validly

authorized by all necessary corporate action of each of the applicable Debtors, (ii) has all of the

corporate power and authority necessary to consummate the transactions contemplated by this

Order and the Transaction Documents, (iii) has taken all corporate action and formalities necessary

to authorize and approve the Transaction Documents and the Debtors’ consummation of the

transactions contemplated thereby and hereby, including as required by their respective

                                                      7

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organizational documents, (iv) has duly executed and delivered the Asset Purchase Agreement,

and (v) no government, regulatory or other consents or approvals, other than those expressly

provided for in the Transaction Documents, if any, are required for the Debtors to enter into the

Transaction Documents, to consummate the Sale Transaction, or to perform their obligations under

the Transaction Documents. The consummation of the Sale Transaction and performance under

the Transaction Documents do not violate or conflict with any applicable law.

          L.          Opportunity to Object. A fair and reasonable opportunity to object and to be heard

with respect to the Motion and the relief requested therein, has been given to all interested persons

and entities, including the following: (i) all counterparties to the Assumed Contracts, (ii) all known

parties holding or asserting Interests on, in, or against the Purchased Assets, (iii) all parties that

have requested notice pursuant to Bankruptcy Rule 2002 as of the time of service, and (iv) all

applicable federal, state, and local taxing and regulatory authorities.

          M.          Sale in Best Interest. Approval of the Motion and the Transaction Documents, and

the consummation of the sale of the Purchased Assets pursuant to the Asset Purchase Agreement

at this time is in the best interests of the Debtors, their creditors, their estates, and other parties in

interest.

          N.          Business Judgment.     Sound business reasons exist for the Sale Transaction.

Entry into the Transaction Documents, and the consummation of the transactions contemplated

thereby, including the Sale Transaction and the assumption and assignment of the Assumed

Contracts, constitutes an exercise of the Debtors’ sound business judgment and such acts are in the

best interests of each Debtor, its estate, and all parties in interest. The Court finds that each Debtor

has articulated good and sufficient business reasons justifying the Sale Transaction. Such business

reasons include, but are not limited to, the following: (i) the Asset Purchase Agreement constitutes

                                                      8

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the highest and best offer for the Purchased Assets; (ii) the Buyer has agreed to assume the

Assumed Liabilities; (iii) the Sale Transaction maximizes the value of the Debtors’ estates; and

(iv) unless the Sale Transaction and all of the other transactions contemplated by the Transaction

Documents are concluded expeditiously, as provided for in the Motion, the Bidding Procedures,

and pursuant to the Asset Purchase Agreement, recoveries to creditors and, if there is sufficient

value, other stakeholders, may be diminished.

          O.          The Debtors and their professionals actively marketed the Purchased Assets to

potential buyers, as set forth in the Motion and in accordance with the Bidding Procedures Order.

The bidding and auction process set forth in the Bidding Procedures Order and the Bidding

Procedures afforded a full and fair opportunity for any entity to make a higher or otherwise better

offer to purchase the Purchased Assets than the offer memorialized by the Asset Purchase

Agreement. Based upon the record of these proceedings, all creditors and other parties in interest

and all prospective bidders have been afforded a reasonable and fair opportunity to bid for the

Purchased Assets.

          P.          No other person or entity or group of persons or entities has offered to purchase the

Purchased Assets for an amount that would give equal or greater economic value to the Debtors

and their estates in the aggregate than the value being provided pursuant to the Asset Purchase

Agreement. Among other things, the Sale Transaction is the best alternative available to the

Debtors to maximize the return to their estates. The terms and conditions of the Asset Purchase

Agreement, including the consideration to be realized by the Debtors, are fair and reasonable.

Given all of the circumstances of the Chapter 11 Cases and the adequacy and fair value of the

consideration provided under the Asset Purchase Agreement, approval of the Motion, the Asset

Purchase Agreement, and the transactions contemplated thereby and hereby, including the Sale

                                                        9

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Transaction and the assumption and assignment of the Assumed Contracts, is in the best interest

of the Debtors, their estates and creditors, and all other parties in interest.

          Q.          Arms-Length Sale. The Transaction Documents were negotiated, proposed, and

entered into by the Debtors and the Buyer without collusion, in good faith, and at arm’s-length.

None of the Debtors or any of the Buyer Parties, or any of their respective representatives has

engaged in any conduct that would cause or permit the Transaction Documents, or the

consummation of the Sale Transaction, to be avoidable or avoided, or for costs or damages to be

imposed, under section 363(n) of the Bankruptcy Code, or has acted in bad faith or in any improper

or collusive manner with any entity in connection therewith. Specifically, the Buyer has not acted

in a collusive manner with any person or entity and the Purchase Price was not controlled by any

agreement among bidders.

          R.          Good Faith Buyer. The Buyer is a good faith Buyer for value within the meaning

of section 363(m) of the Bankruptcy Code and, as such, is entitled to full protections afforded

under section 363(m) of the Bankruptcy Code and any other applicable or similar bankruptcy and

non-bankruptcy law. The Buyer and its management, members, managers, officers, directors,

employees, agents and representatives have proceeded in good faith in all respects in connection

with these Chapter 11 Cases and the Sale Transaction. Furthermore, the Buyer is not an “insider”

(as defined under section 101(31) of the Bankruptcy Code) of any Debtor. Without limiting the

foregoing: (i) the Buyer recognized that the Debtors were free to deal with any other party

interested in purchasing the Purchased Assets; (ii) the Buyer complied in all respects with the

provisions in the Bidding Procedures Order; (iii) the Buyer agreed to subject its bid to the

competitive Bidding Procedures set forth in the Bidding Procedures Order; (iv) all consideration

to be provided by the Buyer in connection with the Sale Transaction have been disclosed; (v) no

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common identity of directors, officers or controlling stockholders exists among the Buyer and the

Debtors; (vi) the negotiation and execution of the Transaction Documents were at arm’s-length

and in good faith, and at all times each of the Buyer and the Debtors were represented by competent

counsel of their choosing; and (vii) the Buyer has not acted in a collusive manner with any person

or entity. The Buyer will be acting in good faith within the meaning of section 363(m) of the

Bankruptcy Code in closing the transactions contemplated by the Asset Purchase Agreement and

the Transaction Documents.

          S.          Property of the Estate. The Purchased Assets constitute property of the Debtors’

estates and title thereto is vested in the Debtors’ estates within the meaning of section 541(a) of

the Bankruptcy Code.

          T.          Free and Clear Sale. The Debtors may sell the Purchased Assets free and clear of

all Encumbrances, claims (including any “claims” as defined in section 101(5) of the Bankruptcy

Code), rights, obligations, Liabilities, setoff (to the extent not taken prepetition) and other interests

of any kind or nature whatsoever against the Debtors or the Purchased Assets (other than Permitted

Encumbrances and the Assumed Liabilities), including, without limitation, other than Permitted

Encumbrances and the Assumed Liabilities, any Liabilities, debts, or obligations arising under or

out of, in connection with, or in any way relating to, any acts or omissions, indentures, loan

agreements, instruments, leases, agreements, collective bargaining agreements, conditional sale or

other title retention agreements, suits, judgments, demands, guaranties, contractual commitments,

licenses, restrictions, options, rights of first refusal, offsets (to the extent not taken prepetition),

Contracts, rights of recovery, claims for reimbursement, contribution, indemnity, exoneration,

products liability, breach of warranty, alter-ego, environmental liabilities, labor and employment

claims (whether or not under a labor agreement), employee pension or benefit plan claims

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(including multiemployer benefit plan claims), including any withdrawal or termination liability

thereunder, workers’ compensation claims, retiree medical benefits claims, liabilities related to the

Employee Retirement Income Security Act of 1974, liabilities related to the Worker Adjustment

and Retraining Notification Act of 1988, liabilities related to the Internal Revenue Code, or any

other liability relating to the Debtors’ current and former employees, claims for taxes of or against

the Debtors or their assets, any derivative, vicarious, transfer or successor liability claims, and any

other rights or causes of action (whether in law or in equity, under any law, statute, rule or

regulation of the United States, any state, territory, or possession thereof or the District of

Columbia), whether arising prior to or subsequent to the Petition Date, whether known or

unknown, choate or inchoate, filed or unfiled, scheduled or unscheduled, noticed or unnoticed,

recorded or unrecorded, perfected or unperfected, allowed or disallowed, asserted or unasserted,

material or non-material, disputed or undisputed, matured or unmatured, liquidated or

unliquidated, or contingent or non-contingent, and whether imposed by agreement, understanding,

law, equity or otherwise, including, without limitation, any and all claims otherwise arising under

doctrines of successor liability, in each case, arising under or out of, in connection with, or in any

way related to the Debtors (or their predecessors), the Debtors’ interests in the Purchased Assets,

the operation of the Debtors’ businesses before the Closing, or the transfer of the Debtors’ interests

in the Purchased Assets to the Buyer, and all Excluded Liabilities (collectively, and excluding any

Permitted Encumbrances and Assumed Liabilities, the “Interests”), because, with respect to each

person or entity asserting an Interest, one or more of the standards set forth in sections 363(f)(1)-

(5) of the Bankruptcy Code has been satisfied. Each person or entity with an Interest in or against

the Purchased Assets: (i) has, subject to the terms and conditions of this Order, consented to the

Sale Transaction or is deemed to have consented to the Sale Transaction; (ii) could be compelled

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in a legal or equitable proceeding to accept money satisfaction of such Interest; or (iii) otherwise

falls within one or more of the other subsections of section 363(f) of the Bankruptcy Code. All

holders of Interests who did not object or withdrew objections to the Sale Transaction are deemed

to have consented to the Sale Transaction pursuant to section 363(f)(2) of the Bankruptcy Code.

All holders of Interests are adequately protected—thus satisfying section 363(e) of the Bankruptcy

Code—by having their Interests, if any, attach to the proceeds of the Sale Transaction ultimately

attributable to the property against or in which they assert such Interests, or other specifically

dedicated funds, in the same order of priority and with the same validity, force, and effect that such

holder had prior to the Sale Transaction, subject to any rights, claims, and defenses of the Debtors

or their estates, as applicable.

          U.          The Buyer would not have entered into the Asset Purchase Agreement and would

not consummate the transactions contemplated thereby, including the Sale Transaction and the

assumption and assignment of the Assumed Contracts, (i) if the transfer of the Purchased Assets

was not free and clear of all Interests, including rights or claims based on any successor or

transferee liability, of any kind or nature whatsoever (except as expressly set forth in the Asset

Purchase Agreement or this Order with respect to Permitted Encumbrances and Assumed

Liabilities) or (ii) if the Buyer, or any Affiliates of the Buyer, or any past, present or future

members, partners, principals, or equity security holders (or equivalent), whether direct or indirect,

lenders, subsidiaries, parents, divisions, funds, agents, representatives, insurers, attorneys,

successors or assigns of the Buyer, or any of the directors, managers, officers, employees, agents,

representatives, attorneys, contractors, subcontractors, independent contractors, owners, or

insurance companies of any of the foregoing (collectively, and each in their capacity as such,

“Buyer Parties”) would, or in the future could, be liable for any such Interests. The Buyer will

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not consummate the transactions contemplated by the Asset Purchase Agreement, including the

Sale Transaction and the assumption and assignment of the Assumed Contracts, unless this Court

expressly orders that none of the Buyer, the other Buyer Parties, or the Purchased Assets will have

any Liability whatsoever with respect to, or be required to satisfy in any manner, whether at law

or equity, or by payment, setoff, or otherwise, directly or indirectly, any Interest.

          V.          Not transferring the Purchased Assets to the Buyer free and clear of all Interests

would adversely impact the Debtors’ efforts to maximize the value of their estates, and the transfer

of the Purchased Assets to the Buyer other than pursuant to a transfer that is free and clear of all

Interests would be of substantially less benefit to the Debtors’ estates. The total consideration to

be provided under the Asset Purchase Agreement reflects the Buyer’s reliance on this Order to

provide the Buyer, pursuant to sections 105(a) and 363(f) of the Bankruptcy Code, with title to

and possession of the Purchased Assets free and clear of all Interests.

          W.          Assumption of Executory Contracts. The Debtors have demonstrated that it is an

exercise of their sound business judgment to assume and assign the Assumed Contracts to the

Buyer in connection with the consummation of the Sale Transaction, and the assumption and

assignment of the Assumed Contracts is in the best interests of the Debtors and their estates. The

Assumed Contracts being assigned to the Buyer are an integral part of the Asset Purchase

Agreement and the Sale Transaction and, accordingly, such assumption and assignment of the

Assumed Contracts is reasonable, enhances the value of the Debtors’ estates, and does not

constitute unfair discrimination.

          X.          Cure/Adequate Assurance. In accordance with the Asset Purchase Agreement, the

Debtors or the Buyer, as applicable, have (i) cured, or have provided adequate assurance of cure,

of any default existing under any of the Assumed Contracts, within the meaning of sections

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365(b)(1)(A) and 365(f)(2)(A) of the Bankruptcy Code, and (ii) provided compensation or

adequate assurance of compensation to any party for any actual pecuniary loss to such party

resulting from a default prior to the date hereof under any of the Assumed Contracts within the

meaning of section 365(b)(1)(B) of the Bankruptcy Code. The Buyer has provided adequate

assurance of future performance of and under the Assumed Contracts within the meaning of

sections 365(b)(1)(C) and 365(f)(2)(B) of the Bankruptcy Code.

          Y.          Prompt Consummation. The sale of the Purchased Assets must be approved and

consummated promptly to preserve the value of the Purchased Assets. Therefore, time is of the

essence in consummating the Sale Transaction, and the Debtors and the Buyer intend to close the

Sale Transaction as soon as reasonably practicable. The Debtors have demonstrated compelling

circumstances and a good, sufficient, and sound business purpose and justification for the

immediate approval and consummation of the transactions contemplated by the Asset Purchase

Agreement, the Transaction Documents and this Order, including the Sale Transaction. The

Buyer, being a good faith Buyer under section 363(m) of the Bankruptcy Code, may close the Sale

Transaction contemplated by the Asset Purchase Agreement at any time after entry of this Order,

subject to the terms and conditions of the Asset Purchase Agreement. Accordingly, there is cause

to lift the stay contemplated by Bankruptcy Rules 6004 and 6006 with regards to the transactions

contemplated by this Order.

          Z.          No Fraudulent Transfer. The Transaction Documents were not entered into for the

purpose of hindering, delaying or defrauding creditors under the Bankruptcy Code or under the

laws of the United States, any state, territory, possession or the District of Columbia, and none of

the parties to the Transaction Documents are consummating the Sale Transaction for any other

fraudulent or otherwise improper purpose.

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          AA.         Fair Consideration. The consideration provided by the Buyer for the Purchased

Assets pursuant to the Asset Purchase Agreement (i) is fair and reasonable, (ii) is the highest and

best offer for the Purchased Assets, (iii) will provide a greater recovery for the Debtors’ creditors

than would be provided by any other available alternative, and (iv) constitutes reasonably

equivalent value, fair consideration and fair value under the Bankruptcy Code and under the laws

of the United States, any state, territory, possession or the District of Columbia (including the

Uniform Fraudulent Conveyance Act, the Uniform Fraudulent Transfer Act, and the Uniform

Voidable Transactions Act), and any other applicable law.

          BB.         Buyer Not an Insider and No Successor Liability. Since the Resignation Date, prior

to the Closing Date, the Buyer was not an “insider” or “affiliate” of the Debtors, as those terms are

defined in the Bankruptcy Code, and no common identity of incorporators, directors or controlling

stockholders exists between the Buyer and the Debtors. The transfer of the Purchased Assets to

the Buyer, the assumption of the Assumed Liabilities by the Buyer and the consummation of the

Sale Transaction (including any individual elements of the Sale Transaction), except as otherwise

set forth in the Asset Purchase Agreement, do not, and will not, subject the Buyer Parties to any

Liability whatsoever, with respect to the operation of the Debtors’ businesses prior to the Closing

or by reason of such transfer under the laws of the United States, any state, territory, or possession

thereof, or the District of Columbia, based, in whole or in part, directly or indirectly, in any theory

of law or equity including any laws affecting antitrust, successor, transferee or vicarious liability.

Pursuant to the Asset Purchase Agreement, the Buyer is not purchasing all of the Debtors’ assets

in that the Buyer is not purchasing any of the Excluded Assets or assuming the Excluded

Liabilities, and the Buyer is not holding itself out to the public as a continuation of the Debtors.

None of the Buyer Parties, as a result of any action taken in connection with the Sale Transaction

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(including by consummating the Sale Transaction), is a successor to or a mere continuation of any

of the Debtors or their respective estates and there is no continuity or common identity between

the Buyer and the Debtors. The Sale Transaction does not amount to a consolidation, merger or

de facto merger of the Buyer and the Debtors and/or the Debtors’ estates. There is not substantial

continuity between any of the Buyer Parties and the Debtors, and there is no continuity of

enterprise between the Debtors and the Buyer Parties. None of the Buyer Parties constitute a

successor to the Debtors or the Debtors’ estates. The Buyer does not assume any obligations or

Liability of any Debtor or any Debtor’s estate, except as expressly provided in the Asset Purchase

Agreement.

          CC.         Binding Agreement. The Transaction Documents are, or upon the execution of

thereof by the parties thereto, will be, valid and binding contracts between the Debtors and the

Buyer and shall be enforceable pursuant to their terms. Notwithstanding anything contained

herein, the Transaction Documents or any further order of the Court to the contrary, the

Transaction Documents and consummation of the Sale Transaction shall be, to the extent provided

in the Transaction Documents, specifically enforceable against and binding upon the Debtors and

any estate representative, including any chapter 7 trustee or chapter 11 trustee appointed in any of

the Debtors’ cases, any plan administrator, litigation trustee or liquidation trustee appointed in the

Chapter 11 Cases or any successor cases, creditors and all other parties-in-interest, and shall not

be subject to rejection or avoidance by the foregoing parties or any other person or entity.

          DD.         Legal, Valid Transfer. The Debtors have full corporate power and authority (i) to

perform all of their obligations under the Transaction Documents and (ii) to consummate the Sale

Transaction. The transfer of the Purchased Assets to the Buyer will be a legal, valid, and effective

transfer of the Purchased Assets, and will vest the Buyer with all right, title, and interest of the

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Debtors in and to the Purchased Assets free and clear of all Interests, except as expressly as set

forth in the Asset Purchase Agreement. The Purchased Assets constitute property of the Debtors’

estates and good title to the Purchased Assets is vested in the Debtors’ estates within the meaning

of section 541(a) of the Bankruptcy Code. The Debtors are the sole and rightful owners of the

Purchased Assets, and no other person or entity has any ownership right, title, or interests therein.

          EE.         Not a Sub Rosa Plan. The Sale Transaction does not constitute a sub rosa chapter

11 plan or an element of such plan for the Debtors, for which approval has been sought without

the protections that a disclosure statement would afford.              The Sale Transaction does not

(i) impermissibly restructure the rights of the Debtors’ creditors or equity interest holders,

(ii) impair or circumvent voting rights with respect to any future plan proposed by the Debtors,

(iii) impermissibly dictate a plan of reorganization for the Debtors, or (iv) classify claims or equity

interests, compromise controversies, or extend debt maturities.

          FF.         Consummation is Legal, Valid and Binding. The consummation of the Sale

Transaction is legal, valid and properly authorized under all applicable provisions of the

Bankruptcy Code, including sections 105(a), 363(b), 363(f), 363(m), and 365 of the Bankruptcy

Code, and all of the applicable requirements of the Bankruptcy Code have been complied with in

respect of the transactions contemplated by the Asset Purchase Agreement and the other

Transaction Documents. The transactions contemplated under the Transaction Documents and

this Order (including the Sale Transaction) are inextricably linked and collectively constitute a

single, integrated transaction.

          GG.         Legal and Factual Bases. The legal and factual bases set forth in the Motion and at

the Sale Hearing establish just cause for the relief granted herein.



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IT IS THEREFORE ORDERED, ADJUDGED AND DECREED THAT:

                                               General Provisions

          1.          The Motion is GRANTED as set forth herein, and the Sale Transaction

contemplated thereby and by the Asset Purchase Agreement is approved, in each case, as set forth

in this Order.

          2.          This Court’s findings of fact and conclusions of law set forth in the Bidding

Procedures Order are incorporated herein by reference.

          3.          All objections to the Motion or the relief requested therein, the Transaction

Documents, the Sale Transaction, the entry of this Order, or the relief granted herein that have not

been withdrawn, waived, or settled, or not otherwise resolved pursuant to the terms hereof, if any,

are hereby DENIED and OVERRULED on the merits with prejudice. All withdrawn objections

are deemed withdrawn with prejudice. Those parties, including those holders of Interests, who did

not object to the Motion or the entry of this Order in accordance with the Bidding Procedures

Order, or who withdrew their objections thereto, are deemed to have consented to the relief granted

herein for all purposes, including, without limitation, pursuant to section 363(f)(2) of the

Bankruptcy Code. Those holders of Interests that have an Interest in the Purchased Assets and

who did object could be compelled in a legal or equitable proceeding to accept money satisfaction

of such Interest pursuant to section 363(f)(5) of the Bankruptcy Code or fall within one or more of

the other subsections of section 363(f) of the Bankruptcy Code and, therefore, are adequately

protected by having their Interests that constitute Interests in the Purchased Assets, if any, attach

solely to the proceeds of the Sale Transaction ultimately attributable to the property in which they

have an Interest, in the same order of priority and with the same validity, force and effect that such

holders had prior the Sale Transaction, subject to any claims, setoffs, deductions, offsets and

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defenses of the Debtors to such Interests. Any counterparty to an Assumed Contract that has not

actually filed with the Court an objection to the assumption or assignment of such Assumed

Contract as of the date specified in the Bidding Procedures Order is deemed to have consented to

such assumption and assignment.

                                   Approval of the Sale of the Purchased Assets

          4.          The Asset Purchase Agreement, including any amendments, supplements and

modifications thereto, all other Transaction Documents, and all of the terms and conditions therein,

are hereby APPROVED in all respects.

          5.          Pursuant to sections 363(b) and (f) of the Bankruptcy Code, the sale of the

Purchased Assets to the Buyer pursuant to the Asset Purchase Agreement free and clear of all

Interests is approved in all respects.

                                     Sale and Transfer of the Purchased Assets

          6.          The consideration provided by the Buyer for the Purchased Assets under the Asset

Purchase Agreement is fair and reasonable and shall be deemed for all purposes to constitute

reasonably equivalent value, fair value, and fair consideration under the Bankruptcy Code and the

laws of the United States, any state, territory, possession, or the District of Columbia, including

without limitation the Uniform Fraudulent Transfer Act, the Uniform Voidable Transactions Act,

the Uniform Fraudulent Conveyance Act, and any other applicable law. The Sale Transaction may

not be avoided or rejected by any person or entity, nor may any costs or damages be imposed or

awarded against the Buyer Parties, under section 363(n) or any other provision of the Bankruptcy

Code.

          7.          The Sale Transaction authorized herein shall be of full force and effect, regardless

of the Debtors’ lack or purported lack of good standing in any jurisdiction in which the Debtors

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are formed or authorized to transact business. The automatic stay imposed by section 362 of the

Bankruptcy Code is modified to the extent necessary, without further order of this Court, to

implement the Sale Transaction and the provisions of this Order, including, without limitation, to

allow the Buyer to: (a) deliver any notice provided for in the Asset Purchase Agreement and any

of the other Transaction Documents; (b) take any and all actions permitted under the Asset

Purchase Agreement and any of the other Transaction Documents in accordance with the terms

and conditions thereof; and (c) take any and all actions necessary or appropriate to implement the

Sale Transaction.

          8.          Subject to the terms, conditions, and provisions of this Order, all persons and

entities are hereby forever prohibited and barred from taking any action that would adversely affect

or interfere, or that would be inconsistent (a) with the ability of the Debtors to sell and transfer the

Purchased Assets to the Buyer, and assume and assign the Assumed Contracts, in accordance with

the terms of the Transaction Documents and this Order, (b) with the ability of the Buyer to acquire,

take possession of, use and operate the Purchased Assets and the Assumed Contracts in accordance

with the terms of the Transaction Documents and this Order and (c) with the ability of the Debtors

and the Buyer to consummate the transactions contemplated by the Transaction Documents or to

perform their respective obligations under any of the Transaction Documents; provided, however,

that the foregoing restriction shall not impair the right of any party in interest with the requisite

standing to appeal this Order in accordance with applicable law or opposing any appeal of this

Order.

          9.          Pursuant to sections 105, 363, and 365 of the Bankruptcy Code, the Debtors are

hereby authorized, empowered and directed to, and shall, take any and all actions necessary or

appropriate to (a) sell the Purchased Assets to the Buyer, (b) assume and assign the Assumed

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Agreements to the Buyer; (c) consummate the Sale Transaction in accordance with, and subject to

the terms and conditions of, this Order, the Asset Purchase Agreement, and the other Transaction

Documents, and (d) transfer and assign to the Buyer all right, title and interest (including common

law rights) to all property, licenses and rights to be conveyed in accordance with and subject to the

terms and conditions of the Transaction Documents, in each case without further notice to or order

of this Court. The Debtors are further authorized and directed to execute and deliver, and are

empowered to perform under, consummate and implement, the Transaction Documents, together

with all additional instruments and documents that may be reasonably necessary or desirable to

implement the Asset Purchase Agreement, including the related documents, exhibits and

schedules, and to take all further actions as may be reasonably requested by the Buyer for the

purposes of assigning, transferring, granting, conveying and conferring to the Buyer or reducing

to possession, the Purchased Assets, or as may be necessary or appropriate to the performance of

the Debtors’ obligations as contemplated by the Transaction Documents, without further notice to

or order of this Court. Neither the Buyer nor the Debtors shall have any obligation to proceed with

consummating the Sale Transaction until all conditions precedent to their obligations to do so

under the applicable Transaction Documents have been met, satisfied or waived.

          10.         Pursuant to sections 363(b), 363(f), and 365 of the Bankruptcy Code, the Purchased

Assets shall be transferred to the Buyer at Closing free and clear of all Interests. On and after the

Closing Date, any person or entity that has an Interest against or in the Purchased Assets is

authorized and directed to execute such documents and take all other actions as may be necessary

or reasonably requested by the Buyer to release its Interests in or against the Purchased Assets, if

any, as such Interests may have been recorded or otherwise exist. If any such person or entity shall

not have delivered to the Debtors prior to the Closing Date, in proper form for filing and executed

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by the appropriate parties, termination statements, instruments of satisfactions or releases of all

Interests that such person or entity has with respect to the Purchased Assets, or otherwise, then (a)

the Debtors are hereby authorized and directed to execute and file such statements, instruments,

releases and other documents on behalf of the person or entity with respect to the Purchased Assets,

(b) the Buyer is hereby authorized to file, register, or otherwise record a certified copy of this Sale

Order, which, once filed, registered or otherwise recorded, shall constitute conclusive evidence of

the release of all Interests in the Purchased Assets of any kind or nature; provided that,

notwithstanding anything in this Order, the Asset Purchase Agreement or other Transaction

Documents to the contrary, the provisions of this Order authorizing and approving the transfer of

the Purchased Assets free and clear of all Interests shall be self-executing, and neither the Debtors

nor the Buyer shall be required to execute or file releases, termination statements, assignments,

consents, or other instruments in order to effectuate, consummate, and implement the provisions

of this Order, the Asset Purchase Agreement or any of the other Transaction Documents, and (c)

upon consummation of the Sale Transaction, the Buyer may seek in this Court or any other court

to compel appropriate parties to execute termination statements, instruments of satisfaction, and

releases of all Interests that are extinguished or otherwise released pursuant to this Order with

respect to the Purchased Assets.

          11.         Following the Closing Date, the Buyer may, but shall not be required to, file or

record a certified copy of this Order in any filing or recording office in any federal, state, county,

or other jurisdiction in which the Debtors are formed or have real or personal property, or with any

other appropriate clerk or recorder, and such filing or recording shall be accepted and shall be

sufficient to release, discharge, and terminate any of the Interests as set forth in this Order as of

the Closing and/or to transfer and assign any of the Purchased Assets to the Buyer as of the Closing

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free and clear of any and all Interests. Subject to the occurrence of the Closing, this Order will be

construed, and constitute for any and all purposes, a full and complete general assignment,

conveyance and transfer to the Buyer of the Purchased Assets or a bill of sale transferring good

and marketable title in the Purchased Assets to the Buyer. Subject to the occurrence of the Closing,

this Order also shall be construed, and constitute for any and all purposes, a complete and general

assignment, conveyance and transfer of all right, title and interest of the Debtors and each of their

estates to the Buyer in the Assumed Contracts.                 Each and every federal, state, and local

governmental agency or department is hereby directed to accept any and all documents and

instruments necessary and appropriate to consummate the transactions contemplated by this Order,

the Asset Purchase Agreement and the other Transaction Documents.

          12.         At Closing, all of the Debtors’ right, title, and interest in and to, and possession of,

the Purchased Assets shall be immediately vested in the Buyer pursuant to sections 105(a), 363(b),

and 363(f) of the Bankruptcy Code. Such transfer shall constitute a legal, valid, enforceable, and

effective transfer of the Purchased Assets. All persons and entities who are presently, or on the

Closing Date may be, in possession of some or all of the Purchased Assets are hereby directed to

surrender possession of any and all portions of the Purchased Assets to the Buyer on the Closing

Date. The Buyer is not acquiring any of the Excluded Assets or assuming any of the Excluded

Liabilities (as defined in the Asset Purchase Agreement).

          13.         Except as expressly permitted by the Asset Purchase Agreement or this Order, all

persons and entities, including, but not limited to, all debt security holders, equity security holders,

governmental, tax, and regulatory authorities, lenders, trade creditors, dealers, employees,

litigation claimants, parties to executory contracts and unexpired leases, customers, licensors,

current and former employees and other creditors, and all holders of Interests against or in a Debtor

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or any of the Purchased Assets (whether legal or equitable, secured or unsecured, matured or

unmatured, contingent or noncontingent, senior or subordinated), arising under or out of, in

connection with, or in any way relating to, the Debtors, the Purchased Assets, the operation of the

Purchased Assets before the Closing, or the transactions contemplated by the Asset Purchase

Agreement, including the Sale Transaction or the transfer of the Purchased Assets and the

assumption and assignment of the Assumed Contracts, are forever barred, estopped, and

permanently enjoined from asserting, prosecuting, or otherwise pursuing such persons’ or entities’

Interests, whether by payment, setoff (to the extent it was not taken prepetition), or otherwise,

directly or indirectly (including, without limitation, taking any of the following actions: (a)

commencing or continuing in any manner any action or other proceeding; (b) enforcing, attaching,

collecting or recovering in any manner any judgment, award, decree, or order; (c) creating,

perfecting, or enforcing any Interest; (d) asserting an Interest as a setoff (to the extent it was not

taken prepetition) or right of subrogation of any kind against any obligation due; (e) commencing

or continuing any action in any manner or place that does not comply, or is inconsistent, with the

provisions of this Order or the agreements or actions contemplated or taken in respect thereof; or

(f) interfering with, preventing, restricting, prohibiting or otherwise enjoining the consummation

of the Sale Transaction), in the case of each of the foregoing, against the Buyer, the other Buyer

Parties, or any of their respective successors or assigns, their respective assets or property and the

Purchased Assets and the assumption and assignment of the Assumed Contracts. Following the

Closing Date, no party shall interfere with the Buyer’s title to use, enjoyment and operation of the

Purchased Assets based on or related to any such Interest or based on any action or failure to act

of the Debtors in the Chapter 11 Cases or any successor cases.



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          14.         To the extent provided by section 525 of the Bankruptcy Code, no governmental

unit may deny, revoke, suspend, or refuse to renew any permit, license or similar grant relating to

the operation of the Purchased Assets on account of the filing or pendency of the Chapter 11 Cases

or the consummation of the transactions contemplated by the Asset Purchase Agreement or any of

the other Transaction Documents, including the Sale Transaction and the transfer of the Purchased

Assets and the assumption and assignment of the Assumed Contracts. Each and every federal,

state, and local governmental agency or department is hereby authorized and directed to accept

any and all documents and instruments necessary and appropriate to consummate the Sale

Transaction set forth in the Asset Purchase Agreement.

          15.         Subject to the terms and conditions of this Order, the transfer of the Purchased

Assets to the Buyer pursuant to the Asset Purchase Agreement and the consummation of the Sale

Transaction and any related actions contemplated hereby and thereby constitute a legal, valid, and

effective transfer of the Purchased Assets, do not require any consents of any Person or entity other

than as specifically provided for in the Asset Purchase Agreement, and shall vest the Buyer with

all right, title, and interest of the Debtors in and to the Purchased Assets free and clear of all

Interests of any kind or nature whatsoever.

                                        Releases and No Successor Liability

          16.         None of the Buyer Parties is a “successor” to the Debtors or their estates by reason

of any theory of law or equity, and, except as otherwise expressly provided in the Asset Purchase

Agreement, none of the Buyer Parties shall assume, or be deemed to assume, or in any way be

responsible for any Liability or obligation of any of the Debtors and/or their estates with respect

to the Purchased Assets or otherwise (other than, in the case of the Buyer, the Assumed Liabilities),

including, but not limited to, under any bulk sales law, doctrine or theory of successor liability, or

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similar theory or basis of liability or responsibility for any claim against any Debtor or against an

insider of any Debtor, or similar liability. Except to the extent the Buyer assumes Assumed

Liabilities pursuant to the Asset Purchase Agreement, neither the purchase of the Purchased Assets

by the Buyer nor the fact that the Buyer is using any assets previously operated by the Debtors will

cause any of the Buyer Parties to be deemed a successor in any respect to the Debtors’ businesses

or operations or, except for the Assumed Liabilities, incur any Liability derived therefrom of any

kind or character, in whole or in part, directly or indirectly, including, but not limited to, an Interest

or Liability arising under: (a) any employment or labor agreements or the termination thereof; (b)

any pension, welfare, compensation or other employee benefit plans, agreements, practices and

programs, including, without limitation, any pension plan of or related to any of the Debtors or

any of the Debtors’ predecessors or any current or former employees of any of the foregoing, or

the termination of any of the foregoing; (c) the Debtors’ business operations or the cessation

thereof; (d) any litigation involving one or more of the Debtors; (e) any claims of any former

employees of any of the Debtors; and (f) any employee, workers’ compensation, occupational

disease or unemployment or temporary disability related law, including, without limitation, claims

that might otherwise arise under or pursuant to: (i) the Employee Retirement Income Security Act

of 1974, as amended; (ii) the Fair Labor Standards Act; (iii) Title VII of the Civil Rights Act of

1964; (iv) the Federal Rehabilitation Act of 1973; (v) the National Labor Relations Act; (vi) the

Worker Adjustment and Retraining Notification Act of 1988; (vii) the Age Discrimination and

Employee Act of 1967 and Age Discrimination in Employment Act, as amended; (viii) the

Americans with Disabilities Act of 1990; (ix) the Consolidated Omnibus Budget Reconciliation

Act of 1985; (x) the Multiemployer Pension Plan Amendments Act of 1980; (xi) state and local

discrimination laws; (xii) state and local unemployment compensation laws or any other similar

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state and local laws; (xiii) state workers’ compensation laws; (xiv) any other state, local or federal

employee benefit laws, regulations or rules or other state, local or federal laws, regulations or rules

relating to wages, benefits, employment or termination of employment with any or all of the

Debtors or any of the Debtors’ predecessors; (xv) any antitrust laws; (xvi) any product liability or

similar laws, whether state, federal or otherwise; (xvii) any environmental laws, rules, or

regulations, including, without limitation, under the Comprehensive Environmental Response,

Compensation, and Liability Act, 42 U.S.C. §§ 9601, et seq., or similar state statutes; (xviii) any

bulk sales or similar laws; (xix) any federal, state or local tax statutes, regulations or ordinances,

including, without limitation, the Internal Revenue Code of 1986, as amended; or (xx) any

common law doctrine of de facto merger or successor or transferee liability, successor-in-interest

liability theory or any other theory of or related to successor liability, whether known or unknown

as of the Closing Date, now existing or hereafter arising, whether asserted or unasserted, fixed or

contingent, or liquidated or unliquidated with respect to any of the Debtors or any obligations of

any of the Debtors arising prior to the Closing Date.

          17.         The Buyer has given substantial consideration under the Asset Purchase

Agreement, which consideration shall constitute valid and valuable consideration for the releases

of any potential claims of successor liability against the Buyer and which shall be deemed to have

been given in favor of the Buyer by all holders of Interests in or against the Debtors, or the

Purchased Assets. Upon consummation of the Sale Transaction, the Buyer shall not by reason of

(i) the purchase of the Purchased Assets by the Buyer or any action taken in connection with the

Asset Purchase Agreement or Sale Transaction, or (ii) the fact that the Buyer is using any assets

previously operated by the Debtors, be deemed to (a) be the successor to any Debtor or any assets

of any Debtor, (b) have, de facto or otherwise, merged with or into any Debtor or any Debtor’s

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estate, (c) have a common identity with any Debtor, (d) have a continuity of enterprise with any

Debtor, or (e) be a mere continuation, alter ego or substantial continuation of any Debtor.

          18.         Except to the extent the Buyer has specifically agreed in the Asset Purchase

Agreement, the Buyer shall not have any liability, responsibility or obligation for any Interests,

claims, Liabilities or other obligations of the Debtors or their estates, including any Interests,

claims, Liabilities or other obligations related to the Purchased Assets prior to the Closing Date.

Under no circumstances shall the Buyer be deemed a successor of or to the Debtors for any

Interests against, in or to the Debtors or the Purchased Assets. For the purposes of this paragraph

of this Order, all references to the Buyer shall also include the Buyer Parties.

          19.         Upon entry of this Order, subject to the occurrence of the Closing, to the fullest

extent permitted under applicable law, (a) (i) the Buyer, (ii) each of the affiliates of the Buyer, and

(iii) each of the current or former officers, directors, employees, partners, members, managers,

advisors, predecessors, successors and assigns of any of the persons or entities described in clause

(a)(i) or clause (a)(ii), (collectively, and each in their capacity as such, the “Buyer Releasing

Parties”) shall be deemed to release and discharge the Debtor Releasing Parties (as defined

below), and (b) (i) the Debtors, and (ii) each of the current officers, directors, employees, partners,

members, managers, advisors, predecessors, successors and assigns of the Debtors (collectively,

and each in their capacity as such, the “Debtor Releasing Parties,” and together with the Buyer

Releasing Parties, the “Releasing Parties”) shall be deemed to release and discharge the Buyer

Releasing Parties, in each case, from any and all claims, interests, obligations, rights, suits,

damages, causes of action, remedies, and liabilities whatsoever, including any derivative claims

that such Releasing Party (or someone on its behalf) would have been legally entitled to assert,

whether known or unknown, foreseen or unforeseen, existing or hereinafter arising, in law, equity,

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or otherwise, that such Releasing Party would have been legally entitled to assert in its own right

(whether individually or collectively) or on behalf of a holder of any claim against a Releasing

Party, based on or relating to, or in any manner arising from, in whole or in part, the Sale

Transaction, arising on or before the Closing Date; provided that this paragraph shall not (1) release

any Releasing Party from any claims or liabilities arising out of or relating to any act or omission

of a Releasing Party that constitutes actual fraud, bad faith, willful misconduct, or gross

negligence, each solely to the extent as determined by a final order of a court of competent

jurisdiction, or (2) release any Releasing Party from any claims, liabilities or obligations arising

under (x) this Order, (y) the Asset Purchase Agreement, and (z) the other Transaction Documents;

provided further, that this paragraph shall not release (A) any Buyer Releasing Parties from claims

that are Excluded Assets under the Asset Purchase Agreement or (B) any Releasing Parties from

any claims, interests, obligations, rights, suits, damages, causes of action, remedies, or liabilities

whatsoever of any Releasing Party arising out of, related to or in connection with any such

Releasing Party's role as a former director, officer, manager, officer, independent contractor,

employee or equity holder of any Debtor, including, without limitation, any indemnification

obligations, whether contractual or otherwise, or rights arising under insurance policies.

          20.         For the avoidance of any doubt, nothing in this Order or the Asset Purchase

Agreement shall release any of the Buyer Releasing Parties from any actions, causes of action,

claims, liabilities, demands, judgments, debts, or suits of any kind, nature and description

whatsoever relating to their role as a former director, officer, manager, independent contractor,

employee or equity holder of any Debtor.




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                                                Good Faith

          21.         The transactions contemplated by the Transaction Documents are undertaken by

the Buyer without collusion and in good faith, as that term is used in section 363(m) of the

Bankruptcy Code, and accordingly, the reversal or modification on appeal of the authorization

provided herein by this Order to consummate the Sale Transaction shall not alter, affect, limit, or

otherwise impair the validity of the sale of the Purchased Assets to the Buyer, including the transfer

of the Purchased Assets and the assumption, assignment and/or transfer of the Assumed Contracts.

The Buyer is a good faith Buyer of the Purchased Assets within the meaning of section 363(m) of

the Bankruptcy Code and, as such, is entitled to, and is hereby granted, the full rights, benefits,

privileges and protections of section 363(m) of the Bankruptcy Code. The Debtors and the Buyer

have acted, and will be acting, in good faith if they proceed to consummate the Sale Transaction

at any time after the entry of this Order.

          22.         As a good faith Buyer of the Purchased Assets, the Buyer has not entered into an

agreement with any other potential bidders and has not colluded with any of the other bidders,

potential bidders or any other parties interested in the Purchased Assets, and, therefore, neither the

Debtors nor any representative of or successor in interest to the Debtors’ estates nor any other

party in interest shall be entitled to bring any claim or cause of action against the Buyer or the

other Buyer Parties, and the Sale Transaction may not be avoided, in each case, pursuant to section

363(n) of the Bankruptcy Code, and no party shall be entitled to any damages or other recovery

pursuant to section 363(n) of the Bankruptcy Code in respect of the Asset Purchase Agreement,

any of the other Transaction Documents or the Sale Transaction.




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                          Assumption and Assignment of Assumed Contracts

          23.         Pursuant to sections 105(a), 363 and 365 of the Bankruptcy Code, and subject to

and conditioned upon the Closing Date, the Debtors’ assumption and assignment to the Buyer, and

the Buyer’s assumption on the terms set forth in the Asset Purchase Agreement (including pursuant

to the designation rights set forth in Section 2.5 of the Asset Purchase Agreement), of the Assumed

Contracts is hereby approved, and the requirements of section 365(b)(1) of the Bankruptcy Code

with respect thereto are hereby deemed satisfied.

          24.         The Buyer has provided adequate assurance of future performance for the Assumed

Contracts within the meaning of sections 365(b)(1)(C), 365(b)(3) (to the extent applicable) and

365(f)(2)(B) of the Bankruptcy Code.

          25.         The Debtors are hereby authorized and directed in accordance with sections 105(a),

363 and 365 of the Bankruptcy Code to (a) assume and assign to the Buyer, effective upon the

Closing Date (or such later date as provided in the Asset Purchase Agreement), the Assumed

Contracts free and clear of all Interests of any kind or nature whatsoever and (b) execute and

deliver to the Buyer such documents or other instruments as may be necessary to assign and

transfer the Assumed Contracts to the Buyer.

          26.         The Assumed Contracts shall be transferred to, and remain in full force and effect

for the benefit of, the Buyer in accordance with their respective terms, notwithstanding any

provision in any such Assumed Contract (including those of the type described in sections

365(b)(2) and (f) of the Bankruptcy Code) that prohibits, restricts, or conditions such assignment

or transfer and, pursuant to section 365(k) of the Bankruptcy Code, the Debtors shall be relieved

from any further liability with respect to the Assumed Contracts after such assignment to and

assumption by the Buyer, except as provided in the Asset Purchase Agreement.

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          27.         Upon the Closing Date or such other date as set forth in the Asset Purchase

Agreement, in accordance with sections 363 and 365 of the Bankruptcy Code, the Buyer shall be

fully and irrevocably vested in all right, title, and interest of the Debtors in each Assumed Contract

free and clear of Interests of any kind or nature whatsoever. The Debtors shall cooperate with, and

take all actions that are commercially reasonable and that have been reasonably requested by, the

Buyer to effectuate the foregoing, as further provided in the Asset Purchase Agreement.

          28.         Upon the Closing Date, Buyer shall be deemed to be substituted for all purposes as

a party to all Assumed Contracts in the place of the Debtors, and shall have any and all rights and

benefits of the Debtors under all such Assumed Contracts without interruption or termination of

any kind, and all terms thereof applicable to the Debtors shall apply to such entity as if such

Assumed Contracts were amended to replace the Debtors with such entity and all references in an

Assumed Contract to one or more of the Debtors or an affiliate of a Debtor shall be deemed

modified to be a reference to Buyer.

          29.         All counterparties to the Assumed Contracts shall be deemed to have consented to

such assumption and assignment under section 365(c)(1)(B) of the Bankruptcy Code and any other

applicable law, and the Buyer shall enjoy all of the Debtors’ rights, benefits, and privileges under

each such Assumed Contract as of the applicable date of assumption and assignment without the

necessity to obtain any non-Debtor parties’ written consent to the assumption or assignment

thereof.

          30.         Upon the Debtors’ assumption and assignment of the Assumed Contracts and

payment of the relevant Cure Amount, if any, by the Debtors or the Buyer (as applicable), no

default shall exist under any Assumed Contract and no counterparty to any such Assumed Contract

shall be permitted to declare or enforce a default by the Debtors or the Buyer thereunder or

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otherwise take action against the Buyer relating to any of the Debtors’ financial condition, change

in control, bankruptcy or failure to perform any of its pre-closing obligations under the relevant

Assumed Contract. Any provision in an Assumed Contract that prohibits or conditions the

assignment or sublease of such Assumed Contract (including the granting of a lien therein) or

allows the counterparty thereto to terminate, recapture, impose any penalty, declare a default,

condition a renewal or extension, or modify any term or condition upon any assignment or sublease

of such Assumed Contract, or upon the consummation or occurrence of any change of control of

any of the Debtors, constitutes an unenforceable anti-assignment provision that is void and of no

force and effect only in connection with the assumption and assignment of such Assumed Contract

to the Buyer. The failure of the Debtors (prior to Closing) or the Buyer (subsequent to Closing) to

enforce at any time one or more terms or conditions of any Assumed Contract shall not be a waiver

of such terms or conditions, or of the Debtors’ and the Buyer’s rights to enforce every term and

condition of the Assumed Contract. Nothing in this Order, the Motion, or in any notice or any

other document is or shall be deemed an admission by the Debtors that any Assumed Contract is

an executory contract or unexpired lease under section 365 of the Bankruptcy Code, or, subject to

the terms of the Asset Purchase Agreement, that any Contract must be assumed and assigned in

order to consummate the Sale Transaction.

          31.         Pursuant to section 365(f) of the Bankruptcy Code, the assignment by the Debtors

to the Buyer of the Assumed Contracts shall not be a default thereunder. All defaults or other

obligations of the Debtors under the Assumed Contracts arising or accruing prior to the Closing

Date (without giving effect to any acceleration clauses or any default provisions of the kind

specified in section 365(b)(2) of the Bankruptcy Code) shall be cured by the Debtors or the Buyer

(as applicable, as provided in the Asset Purchase Agreement) on or prior to the Closing Date (or

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as otherwise agreed with the counterparty to such Assumed Contract), and the Buyer shall have no

liability or obligation arising or accruing under the Assumed Contracts prior to the Closing, except

as otherwise expressly provided in the Asset Purchase Agreement.

          32.         As applicable, the Sale Transaction and assumption and assignment of the Assumed

Contracts approved herein includes the conveyance of all beneficial rights, easements, permits,

licenses, servitudes, rights-of-way, surface leases and other surface rights, and all contracts,

agreements, and instruments by which they are bound, appurtenant to, and used or held for use in

connection with the Assumed Contracts.

          33.         All counterparties to the Assumed Contracts shall cooperate and expeditiously

execute and deliver, upon the reasonable requests of the Buyer, and shall not charge the Buyer for,

any instruments, applications, consents, or other documents which may be required or requested

by any public or quasi-public authority or other party or entity to effectuate the applicable transfers

in connection with the Sale Transaction.

          34.         Each non-Debtor party to an Assumed Contract hereby is forever barred, estopped,

and permanently enjoined from raising or asserting against (a) the Debtors, the Buyer, the Buyer

Parties, or the property of such parties, any fee, acceleration, default, loss of rights, increase in

obligations, breach or claim of loss, penalty, or condition to assignment, existing, arising under or

related to the Assumed Contracts, existing as of the date that such Assumed Contracts are assumed,

or arising by reason of the consummation of transactions contemplated by the Asset Purchase

Agreement (including the Sale Transaction and the assumption and assignment of the Assumed

Contracts or any state of facts, events, circumstances or occurrences resulting therefrom),

including, without limitation, any breach related to or arising out of change-in-control provisions

in such Assumed Contracts, or any purported written or oral modification to the Assumed

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Contracts and (b) the Buyer (or its property, including the Purchased Assets) any claim,

counterclaim, breach, condition, or setoff (to the extent it was not taken prepetition) asserted, or

assertable against the Debtors existing prior to the Closing or arising by reason of the Closing

except for the Assumed Liabilities. Each non-Debtor party to an Assumed Contract is forever

barred, estopped and permanently enjoined from setting off (to the extent such setoff was not taken

prepetition) any amounts owed by them, including Cure Amounts, to the Buyer under an Assumed

Contract against amounts owed or asserted to be owed to them by any of the Debtors under any

Contract that is not assigned to the Buyer or any other Claim held by such counterparty against the

Debtors. Notwithstanding the foregoing sentence or any other provision of this Order or the Asset

Purchase Agreement to the contrary, the Sale Transaction is not entitled to a tax exemption under

section 1146(a) of the Bankruptcy Code.

          35.         Any party that may have had the right to consent to the assignment of an Assumed

Contract or a change of control with respect to the Debtors, or to assert or claim any default or

violation under an Assumed Contract as a result of or related to the assignment of an Assumed

Contract or a change of control with respect to the Debtors, is deemed to have consented to such

assignment for purposes of section 365 of the Bankruptcy Code or change of control, or is deemed

to have irrevocably waived any such default or violation, if such party failed to timely object to

the assumption and assignment of such Assumed Contract.

          36.         The Buyer shall not be required, pursuant to section 365(l) of the Bankruptcy Code

or otherwise, to provide any additional deposit or security with respect to any of the Assumed

Contracts to the extent not previously provided by the Debtors.

          37.         The deadline for a non-Debtor counterparty to file an objection to the stated Cure

Amounts in the Cure Notices as applicable (a “Cure Objection”) has expired and, to the extent

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any such party timely filed a Cure Objection, [all such Cure Objections have been resolved,

withdrawn, overruled, or continued to a later hearing by agreement of the parties.] To the extent

that any non-Debtor counterparty did not timely file a Cure Objection by the applicable objection

deadline listed in the Cure Notices (the “Cure Objection Deadline”), such party shall be deemed

to have consented to the (x) assumption and assignment of the Assumed Contract and (y) proposed

Cure Amount set forth on the Cure Notices.

          38.         Upon payment of any such Cure Amount with respect to an Assumed Contract as

provided for herein, the contract counterparties to such Assumed Contract are hereby enjoined

from taking any action against the Debtors, the Buyer, the other Buyer Parties or the Purchased

Assets with respect to any claim for breach or default under such Assumed Contract arising or

existing prior to the date such Assumed Contract is assumed by the applicable Debtor or any

pecuniary loss resulting therefrom.

          39.         To the extent a party is to receive a Cure Amount payment pursuant to the Order

and such party has asserted a lien against the Debtors’ or their customer’s assets or work such party

shall be required to execute a lien release, and provide evidence thereof to both the Debtors and

the Buyer, as a condition to receiving such cure payment.

          40.         The Cure Amounts represent the amounts owed that are accrued but unpaid and any

other amounts to cure any defaults existing under the Assumed Contracts as of the Closing Date.

The payment of the applicable Cure Amounts (if any) shall effect a cure of all defaults existing as

of the date that the applicable Assumed Contracts are assumed and shall compensate for any actual

pecuniary loss to such contract counterparty resulting from such default.




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                                            Additional Provisions

          41.         On the Closing Date, the Debtors and the Buyer are authorized to take such actions

as may be necessary or appropriate to obtain a release of any and all Interests in, on or against the

Purchased Assets, if any, and to the extent contemplated hereby and by the Asset Purchase

Agreement. This Order (a) shall be effective as a determination that, as of the Closing Date, (i) no

claims other than the Assumed Liabilities will be assertable against any Buyer Party or any of its

respective assets, in each case by reason of the purchase of the Purchased Assets by the Buyer or

any action taken by the Buyer in connection with the Asset Purchase Agreement or Sale

Transaction, or the fact that the Buyer is using any assets previously operated by the Debtors, (iii)

all Interests of any kind or nature whatsoever existing as to the Purchased Assets prior to the

Closing have been, and are, unconditionally released, discharged and terminated, and (iv) that the

conveyances described herein have been effected, and (b) is and shall be binding upon and shall

govern the acts of all persons and entities, including all filing agents, filing officers, title agents,

title companies, recorders of mortgages, recorders of deeds, registrars of deeds, registrars of

patents, trademarks, or other intellectual property, administrative agencies, governmental

departments, secretaries of state, federal, state, and local officials, and all other persons and entities

who may be required by operation of law or by reason of the duties of their office or contract, to

accept, file, register or otherwise record or release any documents or instruments, or who may be

required to report or insure any title or state of title in or to any of the Purchased Assets. Each of

the foregoing persons and entities is hereby directed to accept for filing any and all documents and

instruments necessary and appropriate to consummate the transactions contemplated by the Asset

Purchase Agreement and the other Transaction Documents. The Buyer and the Debtors shall take

such further steps and execute such further documents, assignments, instruments and papers as

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shall be reasonably requested by the other to implement and effectuate the transactions

contemplated in this paragraph. All Interests of record as of the date of this Order shall be

forthwith deemed removed and stricken as against the Purchased Assets. All persons and entities

described in this paragraph are authorized and specifically directed to strike all such recorded

Interests against the Purchased Assets from their records, official and otherwise.

          42.         If any person or entity that has filed statements or other documents or agreements

evidencing Interests in, on or against any of the Purchased Assets does not deliver to the Debtors

or the Buyer prior to the Closing Date, in proper form for filing and executed by the appropriate

parties, termination statements, instruments of satisfaction, releases of liens and easements, and

any other documents necessary for the purpose of documenting the release of all interests and other

interests that the person or entity has or may assert with respect to any of the Purchased Assets in

any required jurisdiction, the Debtors and/or the Buyer are hereby authorized to execute and file

such statements, instruments, releases and other documents on behalf of such person or entity with

respect to any of the Purchased Assets in any required jurisdiction. This Order constitutes

authorization under all applicable jurisdictions and versions of the Uniform Commercial Code and

other applicable law for the Buyer to file UCC and other applicable termination statements with

respect to all Interests in, on, or against the Purchased Assets.

          43.         The Debtors will cooperate with the Buyer and the Buyer will cooperate with the

Debtors, in each case to consummate the transactions contemplated in the Asset Purchase

Agreement and the other Transaction Documents in accordance with their terms and conditions,

and the Debtors will make such modifications or supplements to any bill of sale or other document

executed in connection with the Closing to facilitate such consummation as contemplated by the

Transaction Documents.

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          44.         The terms and provisions of the Transaction Documents and this Order shall be

binding in all respects upon, and shall inure to the benefit of, the Debtors and their respective

affiliates, successors and assigns, their estates, and their creditors and equity security holders, the

Buyer, and its respective affiliates, successors and assigns, and any affected third parties including,

but not limited to, all persons or entities asserting Interests in, on or against the Purchased Assets

(including all counterparties to the Assumed Contracts), notwithstanding any subsequent

appointment of any trustee(s) (including without limitation any plan administrators, litigation or

liquidation trustees appointed during the pendency of, or upon confirmation of a chapter 11 plan

in, these Chapter 11 Cases), examiner(s) or other fiduciary under any chapter of the Bankruptcy

Code, as to which trustee(s) (including without limitation any plan administrators, litigation or

liquidation trustees appointed during the pendency of, or upon confirmation of a chapter 11 plan

in, these Chapter 11 Cases), examiner(s) or other fiduciary such terms and provisions likewise

shall be binding.

          45.         The Buyer shall not be required to seek or obtain relief from the automatic stay

under section 362 of the Bankruptcy Code to enforce any of its remedies under the Asset Purchase

Agreement or any other Transaction Document. The automatic stay imposed by section 362 of

the Bankruptcy Code is modified solely to the extent necessary to implement the preceding

sentence, provided, however, that this Court shall retain exclusive jurisdiction over any and all

disputes with respect thereto.

          46.         The failure specifically to include any particular provisions of the Asset Purchase

Agreement or any other Transaction Documents in this Order shall not diminish or impair the

effectiveness of such provision, it being the intent of the Court that the Asset Purchase Agreement

and the other Transaction Documents be authorized and approved in their entirety.

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          47.         The Transaction Documents may be modified, amended or supplemented by the

parties thereto, in writing signed by all parties in accordance with the terms thereof, without further

order of the Court, provided that any such modification, amendment or supplement does not have

a material adverse effect on the Debtors’ estates. To the extent that any provision of the Asset

Purchase Agreement conflicts with or is, in any way, inconsistent with any provision of this Order,

this Order shall govern and control. To the extent that this Order is inconsistent with any prior

order or pleading with respect to the Motion, the terms of this Order shall govern.

          48.         Neither the Buyer nor the Debtors shall have an obligation to close the Sale

Transaction until all conditions precedent in the Asset Purchase Agreement to each of their

respective obligations to close the Sale Transaction have been met, satisfied, or waived in

accordance with the terms of the Asset Purchase Agreement.

          49.         Nothing in this Order shall modify or waive any closing conditions or termination

rights set forth in the Asset Purchase Agreement, and all such conditions and rights shall remain

in full force and effect in accordance with their terms.

          50.         Nothing contained in any chapter 11 plan confirmed in these Chapter 11 Cases, any

order of this Court confirming such plans, any order dismissing any of these Chapter 11 Cases or

any other order in these Chapter 11 Cases, including any order entered after any conversion of

these Chapter 11 Cases to a case under chapter 7 of the Bankruptcy Code, shall alter, conflict with,

or derogate from, the provisions of the Asset Purchase Agreement or the terms of this Order. To

the extent of any such conflict or derogation, the terms of this Order and the Asset Purchase

Agreement shall govern. The provisions of this Order, the Asset Purchase Agreement and the

other Transaction Documents, and any actions taken pursuant hereto or thereto, shall survive entry

of any order which may be entered confirming or consummating any chapter 11 plan of the

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Debtors, or which may be entered converting these Chapter 11 Cases from chapter 11 to chapter 7

of the Bankruptcy Code or dismissing these Chapter 11 Cases, and the terms and provisions of the

Asset Purchase Agreement and the other Transaction Documents, as well as the rights and interests

granted pursuant to this Order, the Asset Purchase Agreement and the other Transaction

Documents, shall continue in these Chapter 11 Cases or any superseding cases and shall be

specifically performable and enforceable against and binding upon the Debtors, their estates, all

creditors, all holders of equity interests in the Debtors, all holders of claim(s) (whether known or

unknown) against the Debtors, all holders of Interests (whether known or unknown) against, in or

on all or any portion of the Purchased Assets, the Buyer and their respective successors and

permitted assigns, and any trustee, responsible officer or other fiduciary hereafter appointed or

elected as a legal representative of the Debtors under chapter 7 or chapter 11 of the Bankruptcy

Code, including without limitation plan fiduciaries, plan administrators, litigation or liquidation

trustees appointed during the pendency of, or upon confirmation of a chapter 11 plan in, these

Chapter 11 Cases.

          51.         Any and all valid and perfected Interests in the Purchased Assets arising prior to

the Closing Date, other than any such Interests related to the Assumed Liabilities or Permitted

Encumbrances, shall attach to any proceeds of the Sale Transaction immediately upon receipt of

such proceeds by the Debtors in the order of priority, and with the same validity, force and effect

which they may have against such Purchased Assets as of immediately prior to the Closing Date,

subject to any rights, claims, and defenses of the Debtors, that the Debtors’ estates or any trustee

for any Debtor, as applicable, may possess with respect thereto.

          52.         To the extent applicable, notwithstanding any provision in the Sale Motion, the

Asset Purchase Agreement, this Order, and any implementing sale documents (collectively, “Sale

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Documents”), nothing shall: (1) authorize the assumption, sale, assignment or other transfer to

the Buyer of any federal (i) grants, (ii) grant funds, (iii) contracts, (iv) property, including but not

limited to, intellectual property and patents, (v) leases, (vi) agreements, (vii) certifications, (viii)

applications or other interests of the federal government (collectively, “Federal Interests”)

without compliance by the Debtors and the Buyer with all terms of the Federal Interests and with

all applicable non-bankruptcy law; (2) be interpreted to set cure amounts or to require the

government to novate, approve or otherwise consent to the assumption, sale, assignment or other

transfer of any Federal Interests; (3) waive, alter or otherwise limit the United States’ property

rights, including but not limited to, inventory, inventions, records, patents, intellectual property,

licenses, and data; (4) affect the setoff or recoupment rights or defenses of a governmental unit (as

defined in 11 U.S.C. § 101(27)); (5) authorize the assumption, transfer, sale or assignment of any

assets subject to the jurisdiction of federal non-bankruptcy recall laws without the assumption by

the Buyer of all recall obligations required, but not yet performed by the Debtors at the time of

such assumption, transfer, sale or assignment, including recall obligations that arise after the

assumption, transfer, sale or assignment of such assets; (6) authorize the assumption, transfer, sale

or assignment of any governmental unit’s (a) license, (b) permit, (c) registration, (d) authorization

or (e) approval, or the discontinuation of any obligation thereunder, without compliance with all

applicable legal requirements, obligations and approvals under non-bankruptcy laws; (7) release,

nullify, preclude or enjoin the enforcement of any police or regulatory liability to a governmental

unit that any entity would be subject to as the manufacturer, owner or operator of property; (8)

confer exclusive jurisdiction to the Bankruptcy Court except to the extent set forth in 28 U.S.C.

§ 1334 (as limited by any other provisions of the United States Code); (9) divest any tribunal of

any jurisdiction it may have under police or regulatory law to interpret this Order or to adjudicate

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any defense asserted under this Order; or (9) expand the scope of 11 U.S.C.§ 525. For the

avoidance of doubt and without limiting the foregoing, notwithstanding any provision in the Sale

Documents, nothing shall impair, affect, alter or modify any statutes (including, but not limited to,

Title 49 of the United States Code), regulations, rules, guidelines, standards, policies and

procedures of the Department of Transportation, including but not limited to, the National

Highway Traffic Safety Administration; provided, however, that nothing contained herein shall be

an admission or acknowledgment that any of the foregoing reservations of rights or remedies are

applicable to the Sale Transaction or the Purchased Assets.

          53.         The provisions of this Order are nonseverable and mutually dependent.

          54.         No bulk sales law or any similar law of any state or other jurisdiction applies in any

way to the Sale Transaction.

          55.         The Debtors and each other person or entity having duties or responsibilities under

the Transaction Documents or this Order, and their respective agents, representatives, and

attorneys, are authorized and empowered to carry out all of the provisions of the Asset Purchase

Agreement and the other Transaction Documents, to issue, execute, deliver, file and record, as

appropriate, the Asset Purchase Agreement, the other Transaction Documents and any related

agreements, and to take any action contemplated by the Asset Purchase Agreement, the other

Transaction Documents or this Order, and to issue, execute, deliver, file and record, as appropriate,

such other certificates, documents, contracts, instruments, releases, deeds, bills of sale,

assignments, or other agreements, and to perform such other acts as are consistent with, and

necessary, desirable or appropriate to, implement, effectuate and consummate the Transaction

Documents and this Order and the transactions contemplated thereby and hereby, all without

further application to, or order of, the Court. Without limiting the generality of the foregoing, this

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Order shall constitute all approvals and consents, if any, required by applicable business

corporation, trust and other laws of applicable governmental units with respect to the

implementation and consummation of the Asset Purchase Agreement, the other Transaction

Documents and this Order and the transactions contemplated thereby and hereby. The transfer of

the Purchased Assets to the Buyer pursuant to the Transaction Documents do not require any

consents other than specifically provided for in the Asset Purchase Agreement or as provided for

herein.

          56.         Nothing in this Order or the Asset Purchase Agreement

                      (i)    releases, nullifies, precludes, or enjoins the enforcement of any police or
                             regulatory liability of an entity to a governmental unit (as defined in section
                             101(27) of the Bankruptcy Code (a “Governmental Unit”)) under any police
                             or regulatory statutes or regulations that such entity would be subject to as
                             the owner or operator of the Purchased Assets after the Closing; provided,
                             however, for the avoidance of doubt, nothing herein shall subject the Buyer
                             to any liability to a Governmental Unit for penalties for days of violation prior
                             to the Closing, response costs incurred by a governmental unit prior to the
                             Closing, or other matters not related to conditions existing on or after the
                             Closing that require remediation or compliance under applicable non-
                             bankruptcy law by the owner or operator of the applicable Purchased Assets
                             regardless of who is responsible for the condition or when it arose. Nothing
                             in this paragraph should be construed to create for any governmental unit any
                             substantive right that does not already exist under law;
                      (ii)   authorizes the transfer or assignment of any governmental (a) license,
                             (b) permit, (c) registration, (d) authorization, or (e) approval, or the
                             discontinuation of any obligation thereunder, without compliance with all
                             applicable legal requirements and approvals under police or regulatory law;
                             or
                      (iii) divests any tribunal of any jurisdiction it may have under police or
                            regulatory law to interpret this Order or to adjudicate any defense asserted
                            under this Order.
          57.         Notwithstanding any provision in this Order or the Asset Purchase Agreement to

the contrary, the approval of the Asset Purchase Agreement and related transactions contemplated

in this Order shall not limit, restrict, prejudice, or otherwise impair (i) rights of any tort or wrongful

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death claimant to proceed or satisfy any judgment against the Debtors and their affiliates (but not

the Buyer) from the proceeds of the Debtors’ liability insurance policies covering such third party

claims that expired pursuant to their terms prior to the Petition Date, which policies are not being

assigned or transferred to the Buyer pursuant to the Sale Order and shall remain available to satisfy

third party claims to the same extent and in the same amounts as prior to the Petition Date; (ii) any

motion seeking relief against the Debtors (but not the Buyer) from the automatic stay in connection

with such claims; or (iii) the Debtors’ defenses and objections to such claims and related motions

to lift or modify the automatic stay against the Debtors. For the avoidance of doubt, any claims or

judgments of such tort or wrongful death claimants against the Debtors and their affiliates are

Excluded Liabilities under the Asset Purchase Agreement.

          58.         Until the entry of a final order of judgment or settlement in the litigation captioned

as In re Lordstown Motors Corp. Securities Litigation, Case No. 4:21-cv-00616 (DAR) (N.D.

Ohio) (the “Securities Litigation”), the Debtors (before the Closing Date) and the Buyer and any

other transferee of the Debtors’ books, records, documents, files, electronic data (in whatever

format, including native format), or any tangible object potentially relevant to the Securities

Litigation, wherever stored (collectively, the “Potentially Relevant Books and Records”) shall

preserve and maintain the Potentially Relevant Books and Records, and shall not destroy, abandon,

transfer, or otherwise render unavailable such Potentially Relevant Books and Records without

providing counsel to the plaintiffs in the Securities Litigation not less than sixty days’ advance

written notice of such proposed destruction with an opportunity to object and be heard by the

Bankruptcy Court, or if the Bankruptcy Court no longer has jurisdiction, another court of

competent jurisdiction. In the event the plaintiffs in the Securities Litigation timely object to any

such destruction, abandonment, or transfer, the Potentially Relevant Books and Records shall be

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preserved pending a final order of the Bankruptcy Court, or if the Bankruptcy Court no longer has

jurisdiction, another court of competent jurisdiction.

          59.         Notwithstanding the provisions of Bankruptcy Rule 6004 and Bankruptcy Rule

6006 or any applicable provisions of the Local Rules, this Order shall not be stayed for fourteen

(14) days after the entry hereof, but shall be effective and enforceable immediately upon entry,

and the fourteen (14) day stay provided in such rules is hereby expressly waived for cause shown

and shall not apply. Accordingly, the Debtors are authorized and empowered to close the Sale

Transaction immediately upon, and following, entry of this Order.

          60.         This Court shall retain jurisdiction to enforce and implement the terms and

provisions of this Order, the Asset Purchase Agreement, and the other Transaction Documents,

and all amendments thereto, any waivers and consents thereunder, and of each of the agreements

executed in connections therewith in all respects, including, but not limited to, retaining

jurisdiction to (a) compel delivery of the Purchased Assets to the Buyer free and clear of all

Interests, or compel the performance of other obligations owed by the Debtors, (b) compel delivery

of the purchase price or performance of other obligations owed to the Debtors, (c) resolve any

disputes arising under or related to the Asset Purchase Agreement, or any of the other Transaction

Documents except as otherwise provided therein, (d) interpret, implement, and enforce the

provisions of this Order, and (e) protect the Buyer and Buyer Parties against (i) claims made related

to any of the Excluded Liabilities, (ii) any claims of successor or vicarious liability related to the

Purchased Assets or Assumed Contracts, or (iii) any Interests (other than Assumed Liabilities or

Permitted Encumbrances) asserted in, on, or against the Debtors or the Purchased Assets, of any

kind or nature whatsoever.



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          61.         To the extent the Debtors or any trustee(s), receiver(s), responsible officer(s) or

other fiduciary appointed or elected, in these Chapter 11 Cases or any successor cases, receive,

hold, or otherwise come into possession after the Closing of any payment or asset that constitutes

Purchased Assets, such payment or asset shall be held in trust for the benefit of the Buyer and the

Debtors or any such trustee(s), receiver(s), responsible officer(s) or other fiduciary shall promptly

deliver or otherwise turn over such payment or asset to the Buyer.

          62.         The Debtors are authorized to take all actions necessary or appropriate to effectuate

the relief granted pursuant to this Order in accordance with the Motion.




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